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                                      EXHIBIT A


                          Monthly Statement for the Fee Period

                                       (attached)




30699837.1
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        August 24, 2023
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2369311

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending June 30, 2023                                                                        $3,103,943.50
                            Costs incurred and advanced                                                        176,738.91
                            Current Fees and Costs Due                                                     $3,280,682.41
                            Total Balance Due - Due Upon Receipt                                           $3,280,682.41




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        August 24, 2023
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2369311

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending June 30, 2023                                                                        $3,103,943.50
                            Costs incurred and advanced                                                        176,738.91
                            Current Fees and Costs Due                                                     $3,280,682.41
                            Total Balance Due - Due Upon Receipt                                           $3,280,682.41




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mailbox
Please refer all questions to billing@paulhastings.com
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                                                 PAUL HASTINGS LLP
                                                 200 Park Avenue, New York, NY 10166-3205
                                                 t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX               August 24, 2023
Trading
C/O FTX Trading Ltd.                                           Please Refer to
                                                               Invoice Number: 2369311

Attn: John J. Ray III/ Owl Hill Advisor, LLC                   PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending June 30, 2023


Case Administration - FTX Trading chapter 11 cases                                              $3,103,943.50




Date          Initials   Description                                        Hours           Rate        Amount

B110   Case Administration
06/01/2023    EG18       PH update telephone conference with K.                0.50    1,875.00           937.50
                         Hansen, G. Sasson regarding case matters
                         and UCC strategy
06/01/2023    GS13       Telephone conference with K. Hansen and               0.50    1,625.00           812.50
                         E. Gilad regarding ongoing litigation and
                         case matters
06/01/2023    KH18       Consider and update notes regarding UCC               0.90    2,075.00         1,867.50
                         strategy (.4); meeting with E. Gilad, G.
                         Sasson regarding Committee strategy for
                         upcoming matters (.5)
06/01/2023    ML30       Monitor pending dockets in DE, SDNY,                  1.60      540.00           864.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.5); update case calendars (.2)
06/02/2023    EG18       PH update telephone conference with K.                0.50    1,875.00           937.50
                         Hansen, G. Sasson regarding case matters
                         and UCC strategy
06/02/2023    GS13       Telephone conference with K. Hansen and               0.50    1,625.00           812.50
                         E. Gilad regarding ongoing litigation and
                         case matters
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Date          Initials   Description                                       Hours         Rate    Amount
06/02/2023    KH18       Meeting with E. Gilad, G. Sasson regarding            0.50   2,075.00   1,037.50
                         Committee strategy and case matters
06/02/2023    LK19       Analyze recent documents produced by the              0.50    855.00     427.50
                         Debtors for Committee conflicts (0.3);
                         emails with L. Hultgren (Jefferies) and G.
                         Sasson regarding UCC VDR conflicts (0.2)
06/02/2023    ML30       Monitor pending dockets in DE, SDNY,                  1.60    540.00     864.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.5); update case calendars (.2)
06/03/2023    IS6        Draft outstanding issues/task list                    1.10   1,290.00   1,419.00
06/03/2023    KH18       Review recently uploaded debtor                       1.00   2,075.00   2,075.00
                         documents/data for case strategy
                         consideration
06/04/2023    LK19       Review, revise issues/task list for K.                0.50    855.00     427.50
                         Hansen, K. Pasquale, E. Gilad, G. Sasson
06/04/2023    ML30       Review correspondence from L. Koch re                 0.70    540.00     378.00
                         updates to case issues/task list (.2); review
                         new information re same (.2); update case
                         issues/task list (.3)
06/05/2023    EG18       PH update telephone conference with K.                0.70   1,875.00   1,312.50
                         Hansen, G. Sasson regarding case matters
                         and UCC strategy
06/05/2023    GS13       Telephone conference with K. Hansen and               0.70   1,625.00   1,137.50
                         E. Gilad regarding ongoing case matters
06/05/2023    KH18       Meeting with E. Gilad, G. Sasson regarding            0.70   2,075.00   1,452.50
                         case matters and related Committee strategy
06/05/2023    ML30       Monitor pending dockets in DE, SDNY,                  1.80    540.00     972.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.6); update case calendars (.3)
06/06/2023    EG18       PH update telephone conference with K.                0.90   1,875.00   1,687.50
                         Hansen, I. Sasson regarding case matters
                         and UCC strategy
06/06/2023    IS6        Participate in portion of call with K.                0.60   1,290.00    774.00
                         Hansen, E. Gilad re next steps for
                         Committee and strategy related to
                         upcoming matters
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Date          Initials   Description                                   Hours         Rate    Amount
06/06/2023    KH18       Meeting with E. Gilad, I. Sasson regarding        0.90   2,075.00   1,867.50
                         Committee strategy for upcoming matters
06/06/2023    LK19       Email K. Hansen, K. Pasquale, E. Gilad, G.        0.40    855.00     342.00
                         Sasson regarding case issues and task list
                         (0.2); emails with M. Laskowski regarding
                         June 8, 2023 omnibus hearing (0.2)
06/06/2023    ML30       Monitor pending dockets in DE, SDNY,              1.70    540.00     918.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.5); update case calendars (.3)
06/07/2023    KH18       Review Wall Street Journal inquiry (.4);          0.80   2,075.00   1,660.00
                         discuss same with Joele Frank and Rachel
                         Chesley (FTI) (.4)
06/07/2023    ML30       Monitor pending dockets in DE, SDNY,              1.60    540.00     864.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.5); update case calendars (.2)
06/08/2023    ML30       Monitor pending dockets in DE, SDNY,              2.40    540.00    1,296.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (1.2); update case calendars (.3)
06/09/2023    ML30       Monitor pending dockets in DE, SDNY,              1.60    540.00     864.00
                         NY, DNJ (.9); review recent filings and
                         prepare end of day summary for working
                         group (.5); update case calendars (.2)
06/09/2023    MM57       Review recent ECF filings and update              0.10    540.00      54.00
                         working group re: summary of same
06/11/2023    EG18       PH update telephone conference with K.            1.30   1,875.00   2,437.50
                         Hansen, K. Pasquale, G. Sasson, I. Sasson
                         regarding pending case matters and
                         issues/task list
06/11/2023    GS13       Telephone conference with K. Hansen, K.           1.30   1,625.00   2,112.50
                         Pasquale, E. Gilad, I. Sasson regarding
                         ongoing case matters and litigation
06/11/2023    IS6        Strategy call with K. Hansen, E. Gilad, K.        1.30   1,290.00   1,677.00
                         Pasquale, G. Sasson re plan issues and next
                         steps.
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Date          Initials   Description                                     Hours        Rate    Amount
06/11/2023    KP17       Call with K. Hansen, I. Sasson, E. Gilad, G.       1.30   1,875.00   2,437.50
                         Sasson re meeting agenda and Committee
                         issues
06/11/2023    KH18       Telephone conference with E. Gilad, K.             1.30   2,075.00   2,697.50
                         Pasquale, G. Sasson, I. Sasson regarding
                         case plan, UCC strategy, and issues/task list
06/11/2023    LK19       Update case issues/task list for K. Hansen         0.20    855.00     171.00
                         and E. Gilad
06/12/2023    EG18       PH update telephone conference with K.             0.80   1,875.00   1,500.00
                         Hansen, G. Sasson regarding case matters
                         and UCC strategy
06/12/2023    GS13       Telephone conference with K. Hansen and            0.80   1,625.00   1,300.00
                         E. Gilad regarding ongoing case matters
                         and litigations
06/12/2023    KH18       Meeting with E. Gilad, G. Sasson regarding         0.80   2,075.00   1,660.00
                         case issues/task list for pending and
                         upcoming matters
06/12/2023    MM57       Review recent docket, ECF filings and              0.70    540.00     378.00
                         update calendars and working group re:
                         same
06/13/2023    LK19       Update Committee conflicts tracker (0.1);          0.30    855.00     256.50
                         review, revise issues/task list for K.
                         Hansen, K. Pasquale, E. Gilad, G. Sasson
                         (0.2)
06/13/2023    MM57       Correspond with L. Koch re: critical dates         1.10    540.00     594.00
                         (.1); review recent docket/ECF filings and
                         update calendars and working group re:
                         same (1.0)
06/14/2023    KH18       Review and comment on case issues/tasks            0.80   2,075.00   1,660.00
                         and upcoming UCC matters
06/14/2023    LK19       Email M. Magzamen regarding recent                 0.10    855.00      85.50
                         Genesis filings regarding estimation
06/14/2023    MM57       Correspond with I. Sasson re: case calendar        1.40    540.00     756.00
                         (.1); review upcoming dates and deadlines
                         and update case calendar (1.3)
06/15/2023    EG18       PH update telephone conference with K.             1.00   1,875.00   1,875.00
                         Hansen regarding case matters and UCC
                         strategy
             Case 22-11068-JTD           Doc 2254-2        Filed 08/28/23    Page 8 of 166


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Date          Initials   Description                                    Hours         Rate    Amount
06/15/2023    KH18       UCC strategy call with E. Gilad regarding          1.00   2,075.00   2,075.00
                         pending matters and issues/task list
06/15/2023    LK19       Update case issues/task list and correspond        0.10    855.00      85.50
                         with K. Hansen, K. Pasquale, E. Gilad, G.
                         Sasson regarding same
06/15/2023    MM57       Review recent docket/ECF filings and               0.60    540.00     324.00
                         update calendars and working group re:
                         same
06/16/2023    EG18       PH update telephone conference with K.             0.80   1,875.00   1,500.00
                         Hansen, K. Pasquale, G. Sasson, I. Sasson
                         regarding case matters and UCC strategy
06/16/2023    GS13       Telephone conference with K. Hansen, E.            0.80   1,625.00   1,300.00
                         Gilad, K. Pasquale, and I. Sasson to review
                         pending case matters and litigations
06/16/2023    IS6        UCC strategy call with K. Hansen, E. Gilad,        0.80   1,290.00   1,032.00
                         K. Pasquale, and G. Sasson re case plan
06/16/2023    KP17       Call with K. Hansen, E. Gilad, G. Sasson, I.       0.80   1,875.00   1,500.00
                         Sasson re Committee strategy and open
                         items
06/16/2023    KH18       Telephone call with E. Gilad, K. Pasquale,         0.80   2,075.00   1,660.00
                         G. Sasson, and I. Sasson regarding pending
                         and upcoming matters and strategy for
                         same
06/18/2023    KH18       Prepare response to WSJ requests                   0.40   2,075.00    830.00
06/18/2023    LK19       Update case issues/task list for G. Sasson         0.20    855.00     171.00
                         and I. Sasson
06/18/2023    LK19       Email M. Maksud regarding Debtors' VDR             0.10    855.00      85.50
                         and access to same
06/19/2023    CD19       Correspond with L. Koch re crypto news             0.40   1,125.00    450.00
                         updates and FTX implications
06/19/2023    EG18       PH update telephone conference with K.             0.80   1,875.00   1,500.00
                         Hansen, G. Sasson, I. Sasson regarding case
                         matters and UCC strategy
06/19/2023    GS13       Call with K. Hansen, E. Gilad, I. Sasson re:       0.80   1,625.00   1,300.00
                         ongoing case matters and litigation
06/19/2023    IS6        Call with K. Hansen, E. Gilad, G. Sasson re        0.80   1,290.00   1,032.00
                         Committee strategy and plan for upcoming
                         matters
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Date          Initials   Description                                     Hours         Rate    Amount
06/19/2023    KH18       Meeting with E. Gilad, G. Sasson, and I.            0.80   2,075.00   1,660.00
                         Sasson regarding upcoming matters and
                         strategy for same
06/19/2023    LK19       Update working group list, listservs, and           0.30    855.00     256.50
                         Committee roll call sheet (0.2); email G.
                         Sasson regarding Committee conflicts with
                         respect to Debtors' VDR (0.1)
06/19/2023    SAQ        Correspond with L. Koch regarding prior             0.10   1,125.00    112.50
                         news run updates from Jefferies re FTX
06/20/2023    LK19       Correspond with K. Hansen, K. Pasquale,             0.20    855.00     171.00
                         E. Gilad, G. Sasson regarding issues/task
                         list
06/20/2023    ML30       Monitor pending dockets in DE, SDNY,                2.30    540.00    1,242.00
                         NY, DNJ (.9); review recent filings and
                         update working group re same (.5); update
                         case calendars (.7); update case distribution
                         lists (.2)
06/21/2023    EG18       Telephone conference with G. Sasson                 0.60   1,875.00   1,125.00
                         regarding pending and upcoming case
                         matters
06/21/2023    GS13       Telephone conference with E. Gilad                  0.60   1,625.00    975.00
                         regarding ongoing litigation and case
                         matters
06/21/2023    KH18       Review and comment on WSJ inquiries                 0.80   2,075.00   1,660.00
06/21/2023    ML30       Monitor pending dockets in DE, SDNY,                1.40    540.00     756.00
                         NY, DNJ (.9); review recent filings and
                         update working group re same (.5)
06/22/2023    EG18       PH update telephone conference with K.              0.70   1,875.00   1,312.50
                         Hansen, K. Pasquale, G. Sasson regarding
                         case matters and UCC strategy
06/22/2023    GS13       Telephone conference with K. Hansen, E.             0.70   1,625.00   1,137.50
                         Gilad, and K. Pasquale to review ongoing
                         case matters and litigations
06/22/2023    KP17       Call with K. Hansen, E. Gilad, G. Sasson re         0.70   1,875.00   1,312.50
                         pending items and related UCC strategy
06/22/2023    KH18       Meeting with K. Pasquale, E. Gilad, G.              0.70   2,075.00   1,452.50
                         Sasson regarding UCC plan for pending and
                         upcoming case matters
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Date         Initials   Description                                    Hours        Rate    Amount
06/22/2023   LK19       Review, revise case issues/task list for K.       0.10    855.00      85.50
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
06/22/2023   ML30       Monitor pending dockets in DE, SDNY,              1.50    540.00     810.00
                        NY, DNJ (1.0); review recent filings and
                        update working group re same (.5)
06/23/2023   EG18       PH update telephone conference with K.            0.60   1,875.00   1,125.00
                        Hansen, G. Sasson, I. Sasson regarding case
                        matters and UCC strategy
06/23/2023   GS13       Telephone conference with K. Hansen, E.           0.60   1,625.00    975.00
                        Gilad, and I. Sasson regarding ongoing case
                        matters and litigations
06/23/2023   IS6        Call with K. Hansen, E. Gilad, and G.             0.60   1,290.00    774.00
                        Sasson re outstanding issues and next steps
06/23/2023   KH18       Telephone conference with E. Gilad, G.            0.60   2,075.00   1,245.00
                        Sasson, I. Sasson regarding case matters and
                        UCC next steps
06/23/2023   LK19       Review and revise case issues/task list for       0.20    855.00     171.00
                        K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson
06/23/2023   ML30       Monitor pending dockets in DE, SDNY,              2.20    540.00    1,188.00
                        NY, DNJ (1.0); review recent filings and
                        update working group re same (.8); update
                        case calendars (.2); prepare e-filing
                        privileges for K. Hansen in the Third
                        Circuit (.2)
06/25/2023   LK19       Email G. Sasson and I. Sasson regarding           0.10    855.00      85.50
                        issues/task list
06/25/2023   MM57       Review recent docket filings and update           0.10    540.00      54.00
                        working group
06/26/2023   DM26       Prepare for attorney appearance at 6/28/23        0.20    540.00     108.00
                        hearing and update calendar reminders
06/26/2023   EG18       PH update telephone conference with K.            0.90   1,875.00   1,687.50
                        Hansen, I. Sasson regarding case matters
                        and UCC strategy
06/26/2023   ECS3       Review proposed public communication in           0.50   1,550.00    775.00
                        response to press outreach
06/26/2023   IS6        Call with K. Hansen, E. Gilad re pending          0.90   1,290.00   1,161.00
                        matters and issues/task list
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Date         Initials   Description                                       Hours       Rate    Amount
06/26/2023   KH18       Call with E. Gilad, I. Sasson regarding case        0.90   2,075.00   1,867.50
                        issues/task list
06/26/2023   MM57       Review certain docketed filings for C. Diaz         1.00    540.00     540.00
                        (.1); review ECF filing notifications (.2);
                        correspond with K. Pasquale regarding
                        6/28/23 hearing preparation (.2); review
                        recent docket filings and update working
                        group regarding same (.5)
06/27/2023   EG18       Analyze next steps for UCC regarding plan           0.60   1,875.00   1,125.00
                        and upcoming case matters
06/27/2023   LK19       Update issues/task list for K. Hansen, K.           0.20    855.00     171.00
                        Pasquale, E. Gilad, G. Sasson
06/27/2023   MM57       Review recent docket/ECF filings and                0.70    540.00     378.00
                        update working group and calendars re:
                        same
06/28/2023   LK19       Review documents recently uploaded to               1.10    855.00     940.50
                        Debtors' VDR for committee conflicts
                        (0.7); email G. Sasson and L. Hultgren
                        (Jefferies) regarding VDR committee
                        conflicts (0.3); update issues/task list for K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
                        (0.1)
06/28/2023   MM57       Review recent ECF filings and update                0.30    540.00     162.00
                        working group re: same
06/29/2023   EG18       PH update telephone conference with K.              0.80   1,875.00   1,500.00
                        Pasquale, G. Sasson, I. Sasson regarding
                        case matters and UCC strategy
06/29/2023   GS13       Telephone conference with E. Gilad, K.              0.80   1,625.00   1,300.00
                        Pasquale, I. Sasson to review ongoing case
                        issues and litigations
06/29/2023   IS6        Call with K. Pasquale, E. Gilad, G. Sasson          0.80   1,290.00   1,032.00
                        re UCC plan for upcoming matters
06/29/2023   KP17       Call with E. Gilad, I. Sasson, G. Sasson re         0.80   1,875.00   1,500.00
                        plan issues and pending matters
06/29/2023   MM57       Review recent ECF filings and update                0.10    540.00      54.00
                        working group re: same
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Official Committee of Unsecured Creditors of FTX Trading                                        Page 9
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Invoice No. 2369311




Date         Initials   Description                                     Hours        Rate     Amount
06/30/2023   LK19       Update issues/task list and correspond with        0.10    855.00        85.50
                        K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson regarding same
             Subtotal: B110 Case Administration                           76.20              98,577.50




B111   Schedules and Statements of Financial Affairs
06/08/2023   LK19       Review global notes to SoFAs and SoALs             0.50    855.00      427.50
                        regarding margin loans (0.4); email G.
                        Sasson and B. Bromberg (FTI) regarding
                        same (0.1)
             Subtotal: B111 Schedules and Statements of                    0.50                427.50
                       Financial Affairs




B112   General Creditor Inquiries
06/05/2023   GS13       Telephone conference with FTI regarding            0.50   1,625.00     812.50
                        communications with creditors
06/05/2023   KH18       Telephone conferences with creditors               0.90   2,075.00    1,867.50
                        regarding case inquiries
06/06/2023   KH18       Telephone conferences with creditors               1.10   2,075.00    2,282.50
                        regarding case and claim questions
06/07/2023   CD19       Correspond with creditor re case questions         0.60   1,125.00     675.00
                        (.3); correspond with G. Sasson re same (.3)
06/09/2023   GS13       Telephone conference with creditor                 0.50   1,625.00     812.50
                        regarding case matters and questions
06/12/2023   FM7        Review creditor correspondence regarding           0.20   1,875.00     375.00
                        3008 tokens
06/13/2023   CD19       Review creditor inquiries regarding case           0.30   1,125.00     337.50
                        matters (.2); correspond with G. Sasson re
                        same (.1)
06/14/2023   CD19       Revise UCC website FAQs re bar dates               1.40   1,125.00    1,575.00
06/14/2023   JI2        Emails with individual creditor re claims bar      0.60   1,125.00     675.00
                        date questions (.2); call with individual
                        creditor re claims bar date questions (.4)
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Date         Initials   Description                                   Hours         Rate    Amount
06/15/2023   CD19       Correspond with G. Sasson re outreach re          0.50   1,125.00    562.50
                        creditor question (.2); correspond with FTI
                        re same (.3)
06/15/2023   KC27       Review creditor FAQ (.6); revise same (.2);       0.90    915.00     823.50
                        correspond with G. Sasson regarding same
                        (.1)
06/20/2023   CD19       Revise FAQ section of UCC website re              0.60   1,125.00    675.00
                        customer bar date
06/20/2023   GS13       Call with creditor re: customer bar date          0.50   1,625.00    812.50
                        questions
06/22/2023   KP17       Call with creditor re case updates and            0.30   1,875.00    562.50
                        pending matters
06/26/2023   CD19       Review Epiq creditor log re creditor              2.30   1,125.00   2,587.50
                        questions and responses (.3); correspond
                        with G. Sasson re same (.2); update
                        Committee website content (.6); correspond
                        with G. Sasson, L. Koch and K. Catalano re
                        same (.9); correspond with D. Baldo (FTI)
                        re same (.1); revise FAQs re customer bar
                        date (.2)
06/26/2023   CD19       Correspond with creditor re proof of claim        0.20   1,125.00    225.00
                        questions
06/26/2023   KH18       Discussion with creditor on case issues and       0.90   2,075.00   1,867.50
                        inquiries
06/26/2023   KC27       Review UCC page on Epiq webpage (.1);             0.90    915.00     823.50
                        update same (.6); correspond with G.
                        Sasson and C. Diaz on same (.2)
06/26/2023   LK19       Emails with G. Sasson and C. Diaz                 0.40    855.00     342.00
                        regarding key documents for UCC website
06/27/2023   CD19       Correspond with G. Sasson re creditor             1.60   1,125.00   1,800.00
                        questions (.1); correspond with different
                        creditor re bar date questions (.2);
                        correspond with G. Sasson re same (.1);
                        review bar date motion and related
                        documents regarding response to creditor
                        (.2); call with creditor re same (.5);
                        correspond with G. Sasson and K. Catalano
                        re UCC website revisions (.5)
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Date         Initials   Description                                    Hours         Rate     Amount
06/28/2023   CD19       Correspond with creditor re proof of claim         1.20   1,125.00    1,350.00
                        questions (.4); correspond with G. Sasson re
                        same (.1); review and revise Debtors' and
                        Committee's FAQ re customer bar date (.6);
                        revise Committee tweets re same (.1)
06/28/2023   CD19       Correspond with D. Baldo re Committee              0.50   1,125.00     562.50
                        website FAQs (.2); revise same (.2);
                        correspond with G. Sasson re same (.1)
             Subtotal: B112 General Creditor Inquiries                    16.90              22,406.50




B113   Case Analysis/Pleading Analysis
06/01/2023   FM7        Review 5036 relief from stay motion (0.2);         0.40   1,875.00     750.00
                        review notice of sale F&C regarding 5025
                        (0.2)
06/01/2023   IS6        Review SBF motion to compel                        0.40   1,290.00     516.00
06/02/2023   NMN        Draft criminal docket update re: S.                2.60    915.00     2,379.00
                        Bankman-Fried
06/04/2023   IS6        Review government opposition to SBF                0.50   1,290.00     645.00
                        motion re Commodities' argument
06/04/2023   JI2        Review government responses to SBF                 1.20   1,125.00    1,350.00
                        pretrial motions (.4); revise summary of
                        same (.8)
06/04/2023   NMN        Update criminal docket summary re: S.              0.20    915.00      183.00
                        Bankman-Fried based on J. Iaffaldano's
                        comments
06/05/2023   NMN        Update criminal docket summary re: S.              0.20    915.00      183.00
                        Bankman-Fried based on I. Sasson's
                        comments
06/09/2023   NMN        Draft criminal docket update re: S.                0.60    915.00      549.00
                        Bankman-Fried
06/10/2023   IS6        Analyze recently filed pleadings regarding         1.50   1,290.00    1,935.00
                        other cryptocurrency bankruptcy cases
06/12/2023   JI2        Review and revise summaries re SBF                 0.80   1,125.00     900.00
                        criminal proceeding (.6); emails with N.
                        Nicholson re same (.2)
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Date         Initials   Description                                      Hours        Rate     Amount
06/12/2023   NMN        Draft criminal docket update re: S.                 0.30    915.00      274.50
                        Bankman-Fried
06/13/2023   NMN        Draft criminal docket update re: S.                 1.20    915.00     1,098.00
                        Bankman-Fried
06/14/2023   NMN        Draft criminal docket update re: S.                 1.30    915.00     1,189.50
                        Bankman-Fried
06/16/2023   CD19       Review D1 Ventures motion for return of             1.00   1,125.00    1,125.00
                        postpetition deposits (.7); review petition re
                        examiner (.3)
             Subtotal: B113 Case Analysis/Pleading Analysis                12.20              13,077.00




B115   Meetings and Communications with Debtors
06/01/2023   BK12       Update call with J. Ray, UCC, K. Hansen,            0.50   1,625.00     812.50
                        E. Sibbitt, E. Gilad, G. Sasson, C. Daniel,
                        C. Diaz regarding FTX 2.0
06/01/2023   CD19       Call with Debtors' management, K. Hansen,           0.50   1,125.00     562.50
                        E. Gilad, G. Sasson, E. Sibbitt, C. Daniel,
                        B. Kelly re FTX 2.0
06/01/2023   CD5        Participate in FTX 2.0 update call with             0.50   1,700.00     850.00
                        Debtors, their professionals, K. Hansen, E.
                        Gilad, G. Sasson, E. Sibbitt, B. Kelly, C.
                        Diaz
06/01/2023   EG18       Participate in telephone conference with J.         0.50   1,875.00     937.50
                        Ray and FTX 2.0 subcommittee, K.
                        Hansen, G. Sasson, C. Daniel, E. Sibbitt, B.
                        Kelly, C. Diaz
06/01/2023   ECS3       Telephone conference with Debtors,                  0.50   1,550.00     775.00
                        Debtor counsel, K. Hansen, E. Gilad, G.
                        Sasson, B. Kelly, C. Daniel, C. Diaz
                        regarding 2.0
06/01/2023   GS13       Telephone conference with John Ray,                 0.50   1,625.00     812.50
                        Debtors' professionals, K. Hansen, E.
                        Gilad, E. Sibbitt, C. Daniel, B. Kelly, C.
                        Diaz regarding 2.0
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Date         Initials   Description                                      Hours       Rate    Amount
06/01/2023   KH18       Participate in 2.0 meeting with Debtors, E.        1.60   2,075.00   3,320.00
                        Gilad, E. Sibbitt, G. Sasson, C. Daniel, B.
                        Kelly, C. Diaz (.5); follow up analysis re 2.0
                        exchange and terms (1.1)
06/05/2023   BL10       Participate in sales update call with S&C, B.      0.60   1,290.00    774.00
                        Kelly, E. Gilad, G. Sasson, F. Merola, E.
                        Burns
06/05/2023   BK12       Participate in M&A update call with A.             1.10   1,625.00   1,787.50
                        Cohen, M. Wu, E. Gilad, G. Sasson, F.
                        Merola, B. Levine, E. Burns (.6); follow-up
                        review of certain issues discussed (.5)
06/05/2023   EHG        Conference with Sullivan and Cromwell, E.          0.60   1,125.00    675.00
                        Gilad, G. Sasson, B. Kelly, F. Merola, B.
                        Levine regarding sale processes
06/05/2023   EG18       Telephone conference with S&C M&A, B.              0.60   1,875.00   1,125.00
                        Kelly, G. Sasson, F. Merola, B. Levine, E.
                        Burns regarding venture investment sale
                        process
06/05/2023   FM7        Telephone conference with S&C, E. Gilad,           0.60   1,875.00   1,125.00
                        G. Sasson, B. Kelly, B. Levine, E. Burns
                        regarding M&A update and ventures
                        portfolio
06/05/2023   GS13       Telephone conference with S&C, Jefferies,          0.60   1,625.00    975.00
                        E. Gilad, B. Kelly, B. Levine, F. Merola, E.
                        Burns regarding pending sale transactions
06/06/2023   EG18       Telephone conference with Debtors, Ad              1.10   1,875.00   2,062.50
                        Hoc Committee, K. Hansen, K. Pasquale,
                        G. Sasson, I. Sasson regarding
                        plan/restructuring updates
06/06/2023   GS13       Telephone conference with S&C, K.                  1.10   1,625.00   1,787.50
                        Hansen, K. Pasquale, E. Gilad, I. Sasson
                        regarding proposed plan waterfall deck
06/06/2023   IS6        Call with S&C, Freshfields (ad hoc                 1.10   1,290.00   1,419.00
                        committee), K. Hansen, K. Pasquale, G.
                        Sasson, E. Gilad re plan issues
06/06/2023   KP17       Call with S&C, ad hoc group, K. Hansen, E.         1.10   1,875.00   2,062.50
                        Gilad, G. Sasson, I. Sasson re plan issues
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06/06/2023   KH18       Telephone conference with Debtors, Ad             1.10   2,075.00   2,282.50
                        Hoc Committee, E. Gilad, K. Pasquale, G.
                        Sasson, I. Sasson regarding
                        plan/restructuring updates
06/07/2023   GS15       Telephone conference with D. Hariton              0.30   1,600.00    480.00
                        (S&C) re potential asset disposition tax
                        consequences and IRS process
06/07/2023   KH18       Telephone conference with S&C regarding           0.70   2,075.00   1,452.50
                        restructuring process and case matters
06/08/2023   CD19       Hearing debrief with Debtors, K. Hansen,          1.20   1,125.00   1,350.00
                        K. Pasquale, I. Sasson regarding JPL lift stay
                        motion and motion to seal
06/08/2023   GS13       Telephone conference with E. Simpson              0.30   1,625.00    487.50
                        regarding FTX Europe
06/08/2023   IS6        Meeting with J. Ray, S&C, K. Hansen, K.           1.20   1,290.00   1,548.00
                        Pasquale, C. Diaz re plan and JPL issues
06/08/2023   KP17       Post-hearing debrief meeting with Debtors,        1.20   1,875.00   2,250.00
                        K. Hansen, C. Diaz, I. Sasson regarding
                        sealing motion and JPL lift stay motion
06/08/2023   KH18       Hearing debrief with Debtors, K. Pasquale,        1.20   2,075.00   2,490.00
                        C. Diaz, I. Sasson re JPL lift stay request
                        and sealing motion
06/12/2023   BL10       Update call with Sullivan & Cromwell, K.          0.50   1,290.00    645.00
                        Hansen, E. Gilad, G. Sasson, E. Levine, B.
                        Kelly, F. Merola, E. Burns regarding M&A
                        portfolio
06/12/2023   BK12       Call with Debtors, K. Pasquale, G. Sasson,        1.20   1,625.00   1,950.00
                        E. Gilad re: investment in [5005] (.5);
                        participate in M&A update call with M. Wu,
                        A. Cohen, G. Sasson, E. Gilad, K. Hansen,
                        F. Merola, B. Levine, E. Levine, E. Burns
                        (.5); follow-up review of issues discussed
                        (.2)
06/12/2023   EHG        Conference with Sullivan and Cromwell, K.         0.50   1,125.00    562.50
                        Hansen, E. Gilad, G. Sasson, B. Kelly, F.
                        Merola, B. Levine, E. Levine regarding sale
                        processes
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Date         Initials   Description                                    Hours        Rate    Amount
06/12/2023   EG18       Telephone conference with Debtors, G.             0.60   1,875.00   1,125.00
                        Sasson, I. Sasson regarding customer bar
                        date motion
06/12/2023   EG18       Telephone conference with S&C, K.                 0.50   1,875.00    937.50
                        Pasquale, B. Kelly, G. Sasson regarding
                        [5005]
06/12/2023   EG18       Sales transaction update telephone                0.50   1,875.00    937.50
                        conference with S&C, K. Hansen, B. Kelly,
                        F. Merola, G. Sasson, E. Levine, B. Levine,
                        E. Burns
06/12/2023   EML1       Telephone conference regarding M&A                0.50   1,475.00    737.50
                        portfolio with S&C, G. Sasson, E. Gilad, K.
                        Hansen, B. Kelly, E. Burns, F. Merola, B.
                        Levine
06/12/2023   FM7        Telephone conference with S&C, K.                 0.50   1,875.00    937.50
                        Hansen, E. Gilad, G. Sasson, B. Kelly, E.
                        Burns, E. Levine, B. Levine regarding M&A
                        update
06/12/2023   GS13       Telephone conference with S&C., E. Gilad,         0.60   1,625.00    975.00
                        I. Sasson regarding bar date order
06/12/2023   GS13       Telephone conference with S&C, J. Ray, E.         0.50   1,625.00    812.50
                        Gilad, K. Pasquale, B. Kelly regarding 5005
                        and ventures assets
06/12/2023   GS13       Telephone conference with Debtors,                0.50   1,625.00    812.50
                        Jefferies, K. Hansen, B. Kelly, E. Gilad, F.
                        Merola, B. Levine, E. Levine, E. Burns
                        regarding sale matters
06/12/2023   GS15       Telephone conference with S&C tax and             0.60   1,600.00    960.00
                        A&M re update on audits and case process
                        re tax matters
06/12/2023   IS6        Call with S&C, E. Gilad, G. Sasson re             0.60   1,290.00    774.00
                        comments on customer bar date and related
                        motion
06/12/2023   KP17       Call with Debtors' advisors, E. Gilad, G.         0.50   1,875.00    937.50
                        Sasson, B. Kelly re [5005] issues
06/12/2023   KH18       Conference with Debtors, Jefferies, G.            0.50   2,075.00   1,037.50
                        Sasson, E. Gilad, E. Levine, B. Levine, E.
                        Burns, B. Kelly, F. Merola re sale
                        transactions and T2000
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06/13/2023   EG18       Telephone conference with PWP regarding          0.50   1,875.00    937.50
                        FTX 2.0 RFP process
06/14/2023   EG18       Case update telephone conference with            0.80   1,875.00   1,500.00
                        Debtors, K. Pasquale, G. Sasson, I. Sasson
06/14/2023   GS13       Telephone conference with A. Dietderich          1.00   1,625.00   1,625.00
                        and B. Glueckstein, K. Pasquale, E. Gilad,
                        I. Sasson regarding ongoing case matters
                        (.8); prepare questions and notes for same
                        (.2)
06/14/2023   GS13       Telephone conference with S&C regarding          0.50   1,625.00    812.50
                        revised customer bar date motion
06/14/2023   IS6        Call with Debtors, G. Sasson, E. Gilad, K.       0.80   1,290.00   1,032.00
                        Pasquale regarding restructuring matters
                        and upcoming filings
06/14/2023   KP17       Call with S&C, E. Gilad, G. Sasson, I.           0.80   1,875.00   1,500.00
                        Sasson re case items and upcoming matters
06/15/2023   BK12       Attend UCC call with J. Ray, K. Cofsky, K.       0.90   1,625.00   1,462.50
                        Hansen, E. Gilad, G. Sasson, K. Pasquale,
                        E. Sibbitt, C. Daniel, F. Merola, L.
                        Greenbacker re: reboot
06/15/2023   CD5        Participate in call with Debtors, UCC and        0.90   1,700.00   1,530.00
                        K. Hansen, E. Gilad, F. Merola, K.
                        Pasquale, G. Sasson, B. Kelly, L.
                        Greenbacker, E. Sibbitt
06/15/2023   EG18       Update telephone conference with Debtors,        0.90   1,875.00   1,687.50
                        K. Hansen, G. Sasson, K. Pasquale, C.
                        Daniel, B. Kelly, F. Merola, L. Greenbacker,
                        E. Sibbitt regarding 2.0 process
06/15/2023   ECS3       Participate in UCC call with Debtors, J.         0.90   1,550.00   1,395.00
                        Ray, K. Hansen, K. Pasquale, G. Sasson, E.
                        Gilad, C. Daniel, B. Kelly, F. Merola, L.
                        Greenbacker regarding FTX 2.0 and related
                        process update
06/15/2023   FM7        Participate in J. Ray telephone conference       0.90   1,875.00   1,687.50
                        with UCC, K. Hansen, E. Gilad, K.
                        Pasquale, G. Sasson, C. Daniel, F. Merola,
                        E. Sibbitt, B. Kelly, L. Greenbacker
                        regarding reboot
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Date         Initials   Description                                      Hours       Rate    Amount
06/15/2023   GS13       Telephone conference with K. Cofsky                0.90   1,625.00   1,462.50
                        (PWP), K. Hansen, K. Pasquale, E. Gilad,
                        E. Sibbitt, B. Kelly, C. Daniel, F. Merola, L.
                        Greenbacker regarding 2.0
06/15/2023   KP17       Participate in Project Focus subcommittee          1.10   1,875.00   2,062.50
                        meeting with Debtors' advisors, K. Hansen,
                        G. Sasson, E. Sibbitt, E. Gilad, B. Kelly, C.
                        Daniel, F. Merola, L. Greenbacker (.9); call
                        with FTI, A&M re token issue (.2)
06/15/2023   KH18       Telephone conference with K. Cofsky                0.90   2,075.00   1,867.50
                        (PWP), G. Sasson, E. Gilad, K. Pasquale, E.
                        Sibbitt, C. Daniel, B. Kelly, F. Merola, L.
                        Greenbacker, B. Kelly re 2.0
06/15/2023   LED        Attend call with UCC, Debtors, J. Ray, K.          0.90   1,425.00   1,282.50
                        Hansen, E. Gilad, G. Sasson, K. Pasquale,
                        E. Sibbitt, C. Daniel, B. Kelly, F. Merola
                        regarding FTX 2.0 and related documents
06/16/2023   EG18       Telephone conference with PWP regarding            0.50   1,875.00    937.50
                        2.0 process
06/16/2023   GS13       Emails with A. Kranzley regarding 5082 lift        0.60   1,625.00    975.00
                        stay motion, D1 Ventures motion for return
                        of postpetition deposits, and related issues
06/19/2023   BL10       Sales update call with S&C, B. Kelly, G.           0.40   1,290.00    516.00
                        Sasson, E. Levine, E. Gilad
06/19/2023   BK12       Participate in M&A update call with M. Wu          0.60   1,625.00    975.00
                        (S&C), J. MacDonald (S&C), E. Gilad, G.
                        Sasson, E. Levine, B. Levine (0.4); review
                        notes from prior M&A update calls with
                        S&C (0.2)
06/19/2023   EG18       Telephone conference with Debtors, B.              0.40   1,875.00    750.00
                        Kelly, G. Sasson, E. Levine, B. Levine
                        regarding sale transactions update and
                        treatment of open derivative positions
06/19/2023   EML1       Attend sales update discussion with S&C, B.        0.40   1,475.00    590.00
                        Kelly, E. Gilad, G. Sasson, B. Levine
06/19/2023   GS13       Call with A&M re: customer claims                  0.60   1,625.00    975.00
                        calculations
06/19/2023   GS13       Call with S&C, Jefferies, E. Gilad, B. Kelly,      0.40   1,625.00    650.00
                        E. Levine, B. Levine re: pending asset sales
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06/20/2023   EG18       Telephone conference with Debtors, G.             0.50   1,875.00    937.50
                        Sasson, K. Pasquale, I. Sasson, K. Catalano
                        regarding bar date motion and order
06/20/2023   GS13       Call with A. Kranzley, E. Gilad, K.               0.50   1,625.00    812.50
                        Pasquale, I. Sasson, K. Catalano re:
                        customer bar date order
06/20/2023   IS6        Call with S&C, G. Sasson, K. Pasquale, E.         0.50   1,290.00    645.00
                        Gilad, K. Catalano re comments to
                        customer bar date order
06/20/2023   KP17       Call with S&C, E. Gilad, G. Sasson, I.            0.50   1,875.00    937.50
                        Sasson, K. Catalano re customer bar date
                        issues
06/20/2023   KC27       Attend meeting with Debtors' counsel, G.          0.90    915.00     823.50
                        Sasson, E. Gilad, K. Pasquale, I. Sasson
                        regarding customer proof of claim process
                        (.5); prepare summary of same (.2);
                        correspond with C. Diaz regarding same (.2)
06/21/2023   EG18       Telephone conference with Debtors, K.             0.80   1,875.00   1,500.00
                        Hansen, K. Pasquale regarding general case
                        matters
06/21/2023   KP17       Call with S&C, K. Hansen, E. Gilad re case        0.80   1,875.00   1,500.00
                        updates and pending matters
06/21/2023   KH18       Telephone conference with Debtors, K.             0.80   2,075.00   1,660.00
                        Pasquale, E. Gilad regarding pending and
                        upcoming case matters
06/22/2023   CD19       Call with J. Ray, Debtors' professionals, K.      0.50   1,125.00    562.50
                        Hansen, E. Gilad, G. Sasson, C. Daniel, K.
                        Pasquale, E. Sibbitt, F. Merola, L.
                        Greenbacker re FTX 2.0
06/22/2023   CD5        Participate in call with Debtors, UCC             0.50   1,700.00    850.00
                        subcommittee, E. Gilad, K. Pasquale, K.
                        Hansen, E. Sibbitt, G. Sasson, F. Merola, L.
                        Greenbacker, C. Diaz regarding FTX 2.0
06/22/2023   EG18       Telephone conference with Debtors, UCC            0.70   1,875.00   1,312.50
                        subcommittee, G. Sasson, K. Hansen, K.
                        Pasquale, E. Sibbitt, C. Daniel, F. Merola, L.
                        Greenbacker, C. Diaz regarding FTX 2.0
                        (0.5); review updated 2.0 outreach deck
                        from PWP (0.2)
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Date         Initials   Description                                    Hours        Rate    Amount
06/22/2023   ECS3       Catch-up call with Debtors, UCC 2.0               0.50   1,550.00    775.00
                        subcommittee, K. Hansen, E. Gilad, K.
                        Pasquale, G. Sasson, F. Merola, M. Griffin,
                        LK Greenbacker, C. Diaz regarding FTX
                        2.0
06/22/2023   FM7        Participate in UCC telephone conference           0.50   1,875.00    937.50
                        with J. Ray, K. Hansen, E. Gilad, G. Sasson,
                        E. Sibbitt, C. Daniel, K. Pasquale, L.
                        Greenbacker, C. Diaz regarding reboot
                        update
06/22/2023   GS13       Review Debtors' 2.0 presentation (.6);            1.10   1,625.00   1,787.50
                        telephone conference with J. Ray, Debtors,
                        E. Gilad, K. Hansen, K. Pasquale, E.
                        Sibbitt, C. Daniel, F. Merola, L.
                        Greenbacker, C. Diaz regarding same (.5)
06/22/2023   KP17       Call with Debtors' professionals, K.              0.70   1,875.00   1,312.50
                        Hansen, E. Gilad, G. Sasson, C. Daniel, E.
                        Sibbitt, F. Merola, C. Diaz, L. Greenbacker
                        re Project Focus update (.5); review
                        Debtors' deck re same (.2)
06/22/2023   KH18       Telephone conference with Debtors, 2.0            0.50   2,075.00   1,037.50
                        subcommittee, E. Gilad, K. Pasquale, G.
                        Sasson, E. Sibbitt, C. Daniel, F. Merola, L.
                        Greenbacker, C. Diaz regarding 2.0
06/22/2023   LED        Attend call with Debtors, K. Hansen, E.           0.50   1,425.00    712.50
                        Gilad, E. Sibbitt, G. Sasson, C. Daniel, K.
                        Pasquale, F. Merola, C. Diaz regarding FTX
                        2.0
06/23/2023   EG18       Telephone conference with Debtors, G.             0.50   1,875.00    937.50
                        Sasson, K. Hansen, K. Pasquale regarding
                        interim report on commingling of funds
06/23/2023   GS13       Telephone conference with S&C                     0.50   1,625.00    812.50
                        investigators, E. Gilad, K. Hansen, K.
                        Pasquale regarding Debtors' report on
                        commingling
06/23/2023   KP17       Call with S. Rand (Quinn Emanuel) re              0.30   1,875.00    562.50
                        MDL
06/23/2023   KP17       Call with S&C, K. Hansen, E. Gilad, G.            0.50   1,875.00    937.50
                        Sasson re Debtors' second interim report re
                        commingling of assets
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Date         Initials   Description                                   Hours         Rate    Amount
06/23/2023   KH18       Review J. Ray report regarding                    1.30   2,075.00   2,697.50
                        commingling of funds (.8); call with
                        Debtors, E. Gilad, K. Pasquale, G. Sasson
                        regarding same (.5)
06/24/2023   KP17       Call with PWP, S&C, K. Hansen re [5065]           1.00   1,875.00   1,875.00
                        (.6); call with A. Dietderich re same (.1);
                        email to Debtors re same (.3)
06/24/2023   KH18       Discussions with Debtors, K. Pasquale             1.40   2,075.00   2,905.00
                        regarding 5065 (.6); follow up review of
                        5065 issues/documents (.8)
06/26/2023   BL10       Call with S&C, B. Kelly, G. Sasson, F.            0.30   1,290.00    387.00
                        Merola, E. Burns regarding pending and
                        upcoming transactions
06/26/2023   BK12       Participate in M&A update call with S&C,          0.30   1,625.00    487.50
                        G. Sasson, F. Merola, B. Levine, E. Burns
06/26/2023   EHG        Conference with Sullivan & Cromwell, B.           0.30   1,125.00    337.50
                        Kelly, G. Sasson, F. Merola, B. Levine
                        regarding sale processes
06/26/2023   FM7        Review agenda for S&C M&A telephone               0.50   1,875.00    937.50
                        conference (0.2); participate in M&A update
                        telephone conference with S&C, B. Kelly,
                        G. Sasson, B. Levine, E. Burns (0.3)
06/26/2023   GS13       Telephone conference with S&C regarding           0.30   1,625.00    487.50
                        claims portal and bar date pleadings
06/26/2023   GS13       Telephone conference with S&C, B. Kelly,          0.30   1,625.00    487.50
                        F. Merola, B. Levine, E. Burns regarding
                        sale documents and venture transactions
06/27/2023   EG18       Telephone conference with PWP regarding           0.50   1,875.00    937.50
                        2.0
06/28/2023   EG18       Telephone conference with Debtors, K.             1.20   1,875.00   2,250.00
                        Pasquale, G. Sasson, I. Sasson regarding
                        case updates
06/28/2023   GS13       Telephone conference with A. Dietderich,          1.20   1,625.00   1,950.00
                        A. Kranzley and B. Glueckstein (S&C), K.
                        Pasquale, E. Gilad, I. Sasson regarding
                        ongoing case matters and litigations
06/28/2023   IS6        Call with S&C, K. Pasquale, E. Gilad, G.          1.20   1,290.00   1,548.00
                        Sasson regarding case updates
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06/28/2023   KP17       Call with S&C, E. Gilad, G. Sasson, I.             1.20   1,875.00   2,250.00
                        Sasson re pending case matters
06/29/2023   CD19       Call with Debtors' professionals, John Ray,        1.10   1,125.00   1,237.50
                        K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson, C. Daniel, F. Merola, L.
                        Greenbacker. M. Griffin re FTX 2.0
                        updates (.8); analyze deck prepared on same
                        (.3)
06/29/2023   CD5        Participate in call with Debtors and UCC,          0.80   1,700.00   1,360.00
                        K. Hansen, K. Pasquale, E. Gilad, E.
                        Sibbitt, G. Sasson, F. Merola, C. Diaz, M.
                        Griffin, L. Greenbacker regarding FTX 2.0
06/29/2023   EG18       Pre-telephone conference with I. Sasson            1.60   1,875.00   3,000.00
                        regarding plan terms, issues (.3); telephone
                        conference with S&C, K. Pasquale, I.
                        Sasson regarding plan (1.3)
06/29/2023   EG18       Telephone conference with Debtors, K.              0.80   1,875.00   1,500.00
                        Hansen, K. Pasquale, C. Daniel, G. Sasson,
                        E. Sibbitt, F. Merola, L. Greenbacker, M.
                        Griffin, C. Diaz regarding 2.0 process
06/29/2023   ECS3       Telephone conference with Debtors, UCC,            0.80   1,550.00   1,240.00
                        K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson, C. Daniel, F. Merola, C. Diaz, M.
                        Griffin, I. Sasson, L. Greenbacker regarding
                        2.0 reboot
06/29/2023   FM7        Update telephone conference with J. Ray,           0.80   1,875.00   1,500.00
                        K. Hansen, K. Pasquale, E. Gilad, E.
                        Sibbitt, G. Sasson, C. Daniel, M. Griffin, L.
                        Greenbacker, C. Diaz regarding reboot
06/29/2023   GS13       Telephone conference with PWP, S&C, J.             1.30   1,625.00   2,112.50
                        Ray, K. Hansen, E. Gilad, F. Merola, E.
                        Sibbitt, K. Pasquale, C. Daniel, C. Diaz, L.
                        Greenbacker, M. Griffin regarding 2.0 (.8);
                        telephone conference with S&C regarding
                        FTX Europe issues (.5)
06/29/2023   IS6        Call with S&C, K. Pasquale, E. Gilad re            1.60   1,290.00   2,064.00
                        plan issues (1.3); pre-call with E. Gilad re
                        same (.3)
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Date         Initials   Description                                      Hours        Rate      Amount
06/29/2023   KP17       Call with Debtors' professionals,                   2.60   1,875.00     4,875.00
                        Committee members, K. Hansen, E. Gilad,
                        E. Sibbitt, G. Sasson, F. Merola, C. Daniel,
                        L. Greenbacker, M. Griffin, C. Diaz re
                        project focus (.8); supplement plan issues
                        list for call with S&C (.5); call with S&C, E.
                        Gilad, I. Sasson re plan issues (1.3)
06/29/2023   KP17       Call with Quinn Emanuel re investigations           0.20   1,875.00      375.00
                        update
06/29/2023   KH18       Discussion with Debtors, K. Pasquale, E.            0.80   2,075.00     1,660.00
                        Sibbitt, C. Daniel, E. Gilad, G. Sasson, F.
                        Merola, L. Greenbacker, M. Griffin, C. Diaz
                        regarding 2.0 process
06/29/2023   LED        Attend FTX 2.0 call with Debtors, UCC, K.           0.80   1,425.00     1,140.00
                        Hansen, K. Pasquale, E. Gilad, G. Sasson,
                        E. Sibbitt, F. Merola, C. Diaz, M. Griffin, C.
                        Daniel
06/29/2023   MEG9       Call with Debtors, UCC, K. Hansen, K.               0.80   1,425.00     1,140.00
                        Pasquale, E. Gilad, G. Sasson, E. Sibbitt, F.
                        Merola, C. Diaz, L. Greenbacker, C. Daniel
                        regarding FTX reboot
06/30/2023   EG18       Plan telephone conference with Debtors,             1.30   1,875.00     2,437.50
                        Debtors' advisors, K. Hansen, K. Pasquale,
                        G. Sasson, I. Sasson
06/30/2023   GS13       Telephone conference with Debtors, K.               1.30   1,625.00     2,112.50
                        Hansen, E. Gilad, K. Pasquale, I. Sasson
                        regarding plan term sheet
06/30/2023   IS6        Call with Debtors, K. Hansen, E. Gilad, K.          1.30   1,290.00     1,677.00
                        Pasquale, G. Sasson re plan term sheet and
                        issues list
06/30/2023   KP17       Call with Debtors' professionals, K.                1.50   1,875.00     2,812.50
                        Hansen, E. Gilad, G. Sasson, I. Sasson re
                        plan issues (1.3); call with A. Dietderich re
                        Genesis claims (.2)
06/30/2023   KH18       Telephone conferences with Debtors, E.              1.30   2,075.00     2,697.50
                        Gilad, G. Sasson, K. Pasquale, I. Sasson
                        regarding plan issues and term sheet
             Subtotal: B115 Meetings and Communications                    89.80              152,390.00
                       with Debtors
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B120   Asset Analysis and Recovery
06/01/2023   BK12       Review coin monetization deck (.3);               0.40   1,625.00    650.00
                        correspond with G. Sasson re: same (0.1)
06/01/2023   EG18       Review coin monetization presentation             0.30   1,875.00    562.50
                        from FTI
06/01/2023   ECS3       Review coin monetization proposals                0.70   1,550.00   1,085.00
                        prepared by FTI
06/01/2023   FM7        Analyze documents regarding monetization          0.50   1,875.00    937.50
                        approvals
06/01/2023   IS6        Review revised coin monetization                  1.80   1,290.00   2,322.00
                        presentation from FTI (1.4); email FTI re
                        comments and questions on same (.4)
06/02/2023   BK12       Review FTI deck re: coin and token trading        1.00   1,625.00   1,625.00
                        processes and additional token-related
                        documents
06/02/2023   EG18       Analyze and prepare notes regarding claim         1.10   1,875.00   2,062.50
                        valuation / coin monetization decks
06/02/2023   GK6        Review FTI presentation regarding proposal        2.00    915.00    1,830.00
                        for consent and information rights in
                        respect of coin/token selling and buying
                        (1.8); correspond with E. Sibbitt regarding
                        same (.2)
06/05/2023   BK12       Call with F. Risler, M. Diodato, G. Sasson,       1.50   1,625.00   2,437.50
                        E. Sibbitt, F. Merola re: coin trading
                        process deck (1.2); prepare comments on
                        coin trading issues (.3)
06/05/2023   ECS3       Analyze token trading process (.3);               1.50   1,550.00   2,325.00
                        telephone conference with FTI, G. Sasson,
                        B. Kelly, F. Merola regarding token/coin
                        buy, sell, hedge and stake process and
                        related documents (1.2)
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06/05/2023   FM7        Telephone conference with FTI, G. Sasson,         1.40   1,875.00   2,625.00
                        E. Sibbitt, B. Kelly regarding token trading
                        protocol (1.2); correspond with FTI (Risler)
                        regarding coin monetization subcommittee
                        (0.2)
06/05/2023   GS13       Review coin and monetization presentation         1.50   1,625.00   2,437.50
                        (.3); telephone conference with FTI, E.
                        Sibbitt, F. Merola, B. Kelly regarding same
                        (1.2)
06/06/2023   EG18       Analysis regarding FTT native token               1.10   1,875.00   2,062.50
06/06/2023   FM7        Revise modified FTI documents regarding           0.30   1,875.00    562.50
                        process and approval regarding coin
                        management
06/06/2023   FM7        Correspond with I. Sasson regarding FTT           0.20   1,875.00    375.00
                        claims
06/06/2023   GS13       Review and comment on                             1.60   1,625.00   2,600.00
                        coin/monetization deck (1.3); correspond
                        with I. Sasson regarding same (.3)
06/07/2023   BK12       Review draft coin management deck (.2);           0.30   1,625.00    487.50
                        correspond with G. Sasson re: same (0.1)
06/07/2023   ECS3       Analyze and comment on monetization               1.20   1,550.00   1,860.00
                        proposals prepared by FTI
06/07/2023   FM7        Correspond with E. Sibbitt regarding coin         0.20   1,875.00    375.00
                        management issues
06/07/2023   GS13       Review and revise coin hedging deck (2.3);        2.50   1,625.00   4,062.50
                        telephone conference with F. Risler
                        regarding same (.2)
06/07/2023   GK6        Analyze the report of John Ray to the             5.00    915.00    4,575.00
                        independent directors on control failures at
                        the FTX exchanges (4.6); prepare summary
                        of same for K. Hansen, E. Gilad, K.
                        Pasquale, G. Sasson, E. Sibbitt (0.4).
06/08/2023   FM7        Review materials re Custodian Selection           0.20   1,875.00    375.00
06/09/2023   EG18       Telephone conference with FTI, I. Sasson          0.60   1,875.00   1,125.00
                        regarding coin monetization issues
06/09/2023   GS13       Review and revise coin hedging protocol           1.20   1,625.00   1,950.00
                        presentation
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06/09/2023   IS6        Call with FTI, E. Gilad re coin                    0.90   1,290.00   1,161.00
                        monetization and next steps (.6); analyze
                        same in connection with plan issues (.3)
06/10/2023   ECS3       Analyze monetization subcommittee input            0.50   1,550.00    775.00
                        (.3); prepare comments on monetization
                        procedures (.2)
06/10/2023   FM7        Correspond with FTI regarding coin                 0.20   1,875.00    375.00
                        monetization
06/13/2023   CD19       Review FTT allocation (.2); correspond             0.30   1,125.00    337.50
                        with L. Koch re same (.1)
06/13/2023   EG18       Telephone conference with FTI regarding            0.50   1,875.00    937.50
                        coin management
06/13/2023   EG18       Correspond with Debtors regarding                  0.10   1,875.00    187.50
                        derivative positions
06/13/2023   FM7        Correspond with E. Gilad regarding 3008            0.60   1,875.00   1,125.00
                        tokens (0.2); analyze FTT by component
                        spreadsheet (0.2); correspond with FTI (de
                        Brignac) regarding FTT by component (0.2)
06/13/2023   IS6        Review Debtors' FTT analysis (.7); review          1.10   1,290.00   1,419.00
                        and comment on claims valuation and
                        token classification presentation (.4)
06/14/2023   EG18       Telephone conference with FTI regarding            2.10   1,875.00   3,937.50
                        derivative positions (1.6); correspond with J.
                        Madell regarding derivative positions (.3);
                        correspond with Debtors regarding same
                        (.2)
06/14/2023   LED        Correspond with G. Sasson and C. Daniel            0.40   1,425.00    570.00
                        regarding custody arrangements (.2); review
                        correspondence from S&C regarding same
                        (.2)
06/14/2023   MEG9       Review presentation re: claims valuation           0.30   1,425.00    427.50
                        from M. Diodato (FTI)
06/15/2023   BK12       Call with J. Madell, E. Gilad, F. Merola re:       0.50   1,625.00    812.50
                        account balance calculations
06/15/2023   EG18       Telephone conference with B. Kelly, J.             1.10   1,875.00   2,062.50
                        Madell, F. Merola regarding derivative
                        positions (0.5); telephone conference with
                        FTI regarding derivative positions (0.6)
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Date         Initials   Description                                     Hours         Rate    Amount
06/15/2023   FM7        Telephone conference with J. Madell, B.             0.50   1,875.00    937.50
                        Kelly, E. Gilad regarding perpetuals and
                        options
06/15/2023   JM59       Telephone conferences with B. Kelly, E.             0.80   1,700.00   1,360.00
                        Gilad, F. Merola regarding valuation
                        analysis for derivatives (.5); analyze issues
                        and methodology for valuation of
                        derivatives (.3)
06/16/2023   CD19       Review funds process recommendation (.2);           0.40   1,125.00    450.00
                        review 5076 due diligence documents (.2);
06/16/2023   CD5        Review correspondence from B. Kelly, E.             0.30   1,700.00    510.00
                        Sibbitt, G. Sasson, K. Pasquale, I. Sasson
                        regarding 5082 token
06/16/2023   EG18       Telephone conference with FTI, J. Madell,           1.10   1,875.00   2,062.50
                        G. Sasson, K. Pasquale, I. Sasson regarding
                        derivatives claims (.8); analyze same and
                        related case findings (.3)
06/16/2023   GS13       Telephone conference with FTI, E. Gilad,            1.10   1,625.00   1,787.50
                        K. Pasquale, I. Sasson, and J. Madell
                        regarding derivative valuation issues (.8);
                        follow up analysis of same (.3)
06/16/2023   IS6        Call with FTI, K. Pasquale, E. Gilad, G.            0.80   1,290.00   1,032.00
                        Sasson, J. Madell re valuation of perpetuals
06/16/2023   JM59       Telephone conference with FTI, E. Gilad,            1.40   1,700.00   2,380.00
                        K. Pasquale, I. Sasson, and G. Sasson
                        regarding valuation analysis for derivatives
                        (.8); continue to analyze issues re valuation
                        of derivatives (.6)
06/16/2023   KP17       Call with FTI, E. Gilad, G. Sasson, J.              0.80   1,875.00   1,500.00
                        Madell, I. Sasson re customer balance issues
06/19/2023   JM59       Analyze valuation question regarding                0.50   1,700.00    850.00
                        perpetuals
06/20/2023   FM7        Review coin report packages                         0.20   1,875.00    375.00
06/21/2023   FM7        Analyze FTI token monetization proposal             0.50   1,875.00    937.50
                        (0.3); review token monetization
                        subcommittee correspondence with FTI (F.
                        Risler) (0.2)
06/21/2023   LED        Review FTX monetization strategy deck               0.30   1,425.00    427.50
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Date         Initials   Description                                    Hours        Rate    Amount
06/22/2023   FM7        Review Debtors' interim report regarding          0.70   1,875.00   1,312.50
                        commingling (0.6); correspond with
                        Jefferies and FTI regarding Debtors' interim
                        report regarding commingling (0.1)
06/22/2023   GK6        Correspond with E. Sibbitt regarding              1.00    915.00     915.00
                        interim report regarding FTX control
                        failures
06/22/2023   IS6        Analyze Debtors' draft second interim             1.40   1,290.00   1,806.00
                        report re commingling of assets
06/23/2023   FM7        Analyze FTI revisions to token                    0.60   1,875.00   1,125.00
                        monetization protocol
06/23/2023   FM7        Review K. Pasquale correspondence to              0.20   1,875.00    375.00
                        S&C regarding report on commingling
06/23/2023   KP17       Review, analyze Debtors' draft second             3.60   1,875.00   6,750.00
                        interim report re commingling of assets
                        (1.5); analyze certain documents referenced
                        in report (1.6); correspond with K. Hansen,
                        I. Sasson re same (.5)
06/24/2023   KH18       Further analyze J. Ray report regarding           1.00   2,075.00   2,075.00
                        commingling of assets (.8); prepare
                        comments on same (.2)
06/25/2023   FM7        Review F. Risler (FTI) correspondence             0.20   1,875.00    375.00
                        regarding token monetization
06/26/2023   CD19       Review commingling report by Debtors (.5);        1.30   1,125.00   1,462.50
                        analyze and prepare notes regarding same
                        (.8)
06/26/2023   FM7        Correspond with FTI (Carter) regarding            0.60   1,875.00   1,125.00
                        coin monetization (0.2); analyze bonus
                        tracker (0.2); analyze Diodato (FTI)
                        revisions to trading approval process (0.2)
06/26/2023   FM7        Analyze Risler (FTI) correspondence               0.20   1,875.00    375.00
                        regarding UCC member feedback regarding
                        coin monetization
06/26/2023   IS6        Review Celsius pleadings re CEL tokens to         0.70   1,290.00    903.00
                        inform FTX analysis of same
06/27/2023   FM7        Correspond with FTI (Diodato) regarding           0.20   1,875.00    375.00
                        portfolio liquidation metrics
06/27/2023   GS15       Review draft plan term sheet                      0.70   1,600.00   1,120.00
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06/28/2023   FM7        Correspond with FTI (Diodato) regarding          0.20   1,875.00     375.00
                        token monetization
06/28/2023   LK19       Analyze documents produced by the                0.70    855.00      598.50
                        Debtors regarding FTT (0.5); prepare
                        summary of same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.2)
06/29/2023   AAN1       Review and prepare summary notes                 6.90   1,235.00    8,521.50
                        regarding FTX digital assets
06/29/2023   EG18       Telephone conference with FTI, G. Sasson,        0.50   1,875.00     937.50
                        K. Pasquale regarding coin monetization
06/29/2023   FM7        Review proposals for asset management            0.40   1,875.00     750.00
06/29/2023   GS13       Review and comment on coin management            3.00   1,625.00    4,875.00
                        presentation (1.8); telephone conference
                        with FTI, E. Gilad, K. Pasquale regarding
                        same (.5); follow up emails with K. Pasquale
                        regarding same (.3); telephone conference
                        with Committee member regarding same
                        (.4)
06/29/2023   KP17       Call with FTI, G. Sasson, E. Gilad re coin       0.50   1,875.00     937.50
                        monetization subcommittee and coin
                        monetization
06/29/2023   LK19       Analyze documents produced by the                0.70    855.00      598.50
                        Debtors regarding coin asset management
                        proposals (0.4); prepare summary of same
                        for C. Daniel, E. Sibbitt, K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.3)
06/29/2023   SAQ        Conference with K. Fedler regarding FTX          0.30   1,125.00     337.50
                        2.0 bids review
06/30/2023   AAN1       Analyze and prepare notes regarding FTX          8.90   1,235.00   10,991.50
                        digital assets
06/30/2023   EG18       Correspond with FTI regarding coin               0.30   1,875.00     562.50
                        monetization proposal
06/30/2023   GK6        Correspond with E. Sibbitt and A.                0.80    915.00      732.00
                        Nizamian regarding mainnnet status of
                        existing coin portfolio
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Date         Initials   Description                                    Hours         Rate      Amount
06/30/2023   LK19       Analyze documents produced by the                  0.30    855.00       256.50
                        Debtors via VDR re: customer balances
                        (0.2); summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.1)
             Subtotal: B120 Asset Analysis and Recovery                   81.30              120,614.00




B130   Asset Disposition
06/01/2023   BL10       Participate in FTX M&A update call with            0.60   1,290.00      774.00
                        K. Pasquale, G. Sasson, B. Kelly, F. Merola,
                        K. Hansen, E. Gilad, E. Levine, E. Burns,
                        C. Diaz
06/01/2023   BK12       Correspond with L. Hultgren and R.                 3.90   1,625.00     6,337.50
                        Hamilton re: [5005] equity capitalization
                        (0.3); review related capitalization tables
                        (0.3); review documents re: [5036] (0.5);
                        correspond with L. Hultgren & T. Shea re:
                        equity value (0.2); review de minimis offer
                        summaries (0.3); correspond with A. Cohen
                        re: same (0.1); participate in M&A update
                        call with M. O'Hara, K. Hansen, K.
                        Pasquale, G. Sasson, E. Gilad, F. Merola, E.
                        Levine, B. Levine, C. Diaz, E. Burns (0.6);
                        review [5025] sale notice and related
                        documents (0.5); correspond with F. Merola
                        and J. MacDonald re: same (0.2); review de
                        minimis venture investment bid/offer
                        documents (0.9)
06/01/2023   CD19       Call with K. Hansen, K. Pasquale, G.               0.60   1,125.00      675.00
                        Sasson, E. Gilad, F. Merola, B. Kelly, E.
                        Levine, B. Levine, E. Burns and Jefferies re
                        updates on venture portfolio
06/01/2023   CX3        Review certain ventures diligence                  0.50    915.00       457.50
                        documents and tracker
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Date         Initials   Description                                      Hours       Rate    Amount
06/01/2023   EHG        Conference with Jefferies, K. Pasquale, E.         0.70   1,125.00    787.50
                        Gilad, K. Hansen, G. Sasson, F. Merola, B.
                        Levine, B. Kelly, E. Levine, C. Diaz
                        regarding sale processes and ventures
                        portfolio (.6); prepare follow up notes
                        regarding same (.1)
06/01/2023   EG18       M&A update telephone conference with               0.60   1,875.00   1,125.00
                        Jefferies, K. Hansen, K. Pasquale, B. Kelly,
                        G. Sasson, F. Merola, E. Levine, B. Levine,
                        C. Diaz, E. Burns
06/01/2023   EG18       Review venture investment fund summary             0.30   1,875.00    562.50
06/01/2023   EML1       Attend M&A / venture portfolio call with           0.60   1,475.00    885.00
                        Jefferies, K. Hansen, F. Merola, B. Levine,
                        E. Gilad, B. Kelly, E. Burns, K. Pasquale,
                        G. Sasson, C. Diaz
06/01/2023   FM7        Analyze Jefferies crypto news update to            0.20   1,875.00    375.00
                        inform M&A strategy
06/01/2023   FM7        Analyze S&C (Simpson) correspondence               1.40   1,875.00   2,625.00
                        regarding FTX Europe (0.2); correspond
                        with S&C (Wu) regarding de minimis offers
                        and fund assets (0.4); correspond with S&C
                        (Lee) regarding 5025 PSA (0.4); correspond
                        with S&C (MacDonald) regarding
                        document summaries (0.4)
06/01/2023   FM7        Analyze PWP de minimis offer summary               1.60   1,875.00   3,000.00
                        (0.6); correspond with S&C regarding fund
                        assets in de minimis offer summary (0.4):
                        call with Jefferies, K. Pasquale, B. Kelly, G.
                        Sasson, E. Levine, B. Levine, E. Gilad, K.
                        Hansen, E. Burns, C. Diaz regarding M&A
                        update (0.6)
06/01/2023   GS13       Review Jefferies documents regarding               1.20   1,625.00   1,950.00
                        potential sales (.6); telephone conference
                        with Jefferies, K. Hansen, K. Pasquale, F.
                        Merola, B. Kelly, E. Gilad, E. Levine, B.
                        Levine, E. Burns, C. Diaz regarding same
                        (.6)
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Date         Initials   Description                                     Hours        Rate    Amount
06/01/2023   KP17       Call with Jefferies, K. Hansen, E. Gilad, G.       0.60   1,875.00   1,125.00
                        Sasson, F. Merola, B. Kelly, B. Levine, E.
                        Levine, E. Burns, C. Diaz re ventures
                        transactions
06/01/2023   KH18       Participate in M&A discussions with                1.20   2,075.00   2,490.00
                        Jefferies, G. Sasson, B. Kelly, K. Pasquale,
                        F. Merola, E. Gilad, C. Diaz, E. Burns, B.
                        Levine, E. Levine (.6); follow up analysis of
                        items discussed (.6)
06/02/2023   BL10       Review and comment on 5005 slides (1.6);           2.00   1,290.00   2,580.00
                        review and comment on ventures diligence
                        summaries (.4)
06/02/2023   BK12       Review PSA markup re: [5089] buyer (0.5);          1.90   1,625.00   3,087.50
                        correspond with J. MacDonald re: same
                        (0.2); correspond with B. Levine re: venture
                        investment diligence (0.3); review Sullivan
                        & Cromwell diligence summaries received
                        from J. MacDonald (0.9)
06/02/2023   CX3        Draft memo re sale and assignment of               2.60    915.00    2,379.00
                        ventures interest
06/02/2023   FM7        Correspond with S&C (Simpson) regarding            0.30   1,875.00    562.50
                        FTX Europe term sheet
06/02/2023   FM7        Analyze crypto chapter 11 roundup to               0.30   1,875.00    562.50
                        inform M&A analysis
06/02/2023   FM7        Revise Jefferies updated 5005 documents            1.20   1,875.00   2,250.00
                        (0.6); correspond with Jefferies (Hamilton)
                        regarding 5005 (0.3); correspond with B.
                        Levine regarding 5005 slides (0.3)
06/02/2023   KH18       Correspond with M. O’Hara, Simms, E.               3.00   2,075.00   6,225.00
                        Gilad regarding Niagara (1.2); analyze
                        Niagara documents and issues (1.8)
06/03/2023   BL10       Comment on ventures investments                    0.50   1,290.00    645.00
                        diligence tracker and certain related
                        summaries
06/03/2023   CX3        Review due diligence summaries and                 3.00    915.00    2,745.00
                        financial advisor summaries of ventures
                        investments (2.5); update ventures due
                        diligence tracker regarding same (0.5)
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Date         Initials   Description                                      Hours       Rate    Amount
06/03/2023   FM7        Analyze Jefferies (Homrich)                        0.40   1,875.00    750.00
                        correspondence regarding 5005
06/03/2023   KH18       Review changes to Niagara documents                0.90   2,075.00   1,867.50
06/04/2023   BK12       Review E. Simpson email re: FTX EU Ltd.            4.00   1,625.00   6,500.00
                        term sheet (.2); correspond with G. Sasson
                        re: same (0.1); review updated Jefferies deck
                        re: [5005] (0.3); respond to K. Hansen and
                        E. Gilad questions re: same (0.6); review
                        and revise Jefferies draft slide re:
                        governance provisions applicable to [5005]
                        (0.8); provide comments to D. Homrich on
                        same (0.3); review underlying documents
                        (1.7)
06/04/2023   CX3        Review comments from B. Kelly and B.               0.70    915.00     640.50
                        Levine on ventures diligence summaries
                        (0.2); update ventures diligence tracker
                        regarding same (0.5)
06/04/2023   EG18       Review and revise Jefferies deck regarding         0.50   1,875.00    937.50
                        [5005] (0.3); correspond with B. Kelly
                        regarding same (0.2)
06/04/2023   FM7        Revise 5005 legal overview                         0.90   1,875.00   1,687.50
06/05/2023   BL10       Review and comment on Jefferies deck               1.80   1,290.00   2,322.00
                        regarding 5005 (1.0); participate in call with
                        G. Sasson, E. Levine regarding open
                        ventures diligence items (.6); follow-up
                        review of same (.2)
06/05/2023   BK12       Review and comment on Jefferies deck re:           3.70   1,625.00   6,012.50
                        [5005] (1.7); review draft email update re:
                        [5005] and related documents (.3);
                        correspond with D. Homrich re: same (0.1);
                        review R. Hamilton email regarding venture
                        investments and related documents (0.4);
                        review purchaser counsel's markup of PSA
                        for [5082] (0.4); review R. O'Neill email re:
                        [5089] PSA (0.2); review [5089] PSA (0.4);
                        correspond with E. Gilad and R. O'Neill re:
                        same (0.2)
06/05/2023   CX3        Review due diligence documents for                 0.80    915.00     732.00
                        ventures (5110)
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Date         Initials   Description                                     Hours         Rate    Amount
06/05/2023   EG18       Review and revise legal insert in Jefferies'        0.50   1,875.00    937.50
                        [5005] deck
06/05/2023   EG18       Analyze Sequoia sale documents (1.8);               2.10   1,875.00   3,937.50
                        correspond with B. Kelly regarding same
                        (.3)
06/05/2023   EG18       Correspond with B. Kelly, F. Merola, K.             1.10   1,875.00   2,062.50
                        Pasquale regarding 5036 settlement (.3);
                        analyze 5036 documents (.8)
06/05/2023   EML1       Attend sales update discussion with G.              0.70   1,475.00   1,032.50
                        Sasson, B. Levine regarding certain venture
                        investments (.6); follow up review of same
                        (.1)
06/05/2023   FM7        Correspond with Jefferies (Homrich)                 1.90   1,875.00   3,562.50
                        regarding 5005 documents (0.2); review B.
                        Kelly correspondence regarding 5082
                        tokens (0.4); review FTI (B. Bromberg)
                        correspondence regarding FTX Europe
                        (0.3); analyze Debtor update regarding fund
                        process documents (0.6); correspond with
                        S&C regarding SCHF APA (0.2);
                        correspond with Jefferies (Hamilton)
                        regarding M&A update (0.2)
06/05/2023   GS13       Review Jefferies documents regarding                0.90   1,625.00   1,462.50
                        pending sale transactions (.3); telephone
                        conference with E. Levine and B. Levine
                        regarding same and certain ventures
                        investments (.6)
06/05/2023   KH18       Analyze legal issues re M&A transactions            1.10   2,075.00   2,282.50
                        and venture dispositions
06/05/2023   KH18       Analyze issues and documents concerning             1.00   2,075.00   2,075.00
                        T2000 investment
06/05/2023   LK19       Analyze funds process documents produced            0.80    855.00     684.00
                        by the Debtors via VDR (0.6); prepare
                        summary of same for F. Merola, B. Kelly,
                        and B. Levine (0.2)
06/06/2023   BL10       Update venture diligence summary report             1.50   1,290.00   1,935.00
                        (.5); review draft venture diligence
                        summaries (.8); update venture diligence
                        tracker (.2)
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Date         Initials   Description                                      Hours       Rate    Amount
06/06/2023   CX3        Analyze case law regarding sale of ventures        2.10    915.00    1,921.50
                        interests and the automatic stay
06/06/2023   EG18       Analyze Sequoia sale, automatic stay, and          2.10   1,875.00   3,937.50
                        cure cost issues (1.1); analyze authority on
                        same (.8); correspond with J. Iaffaldano
                        regarding same (.2)
06/06/2023   EG18       Correspond with Debtors regarding Sequoia          0.20   1,875.00    375.00
                        sale
06/06/2023   FM7        Analyze Jefferies crypto news run regarding        0.20   1,875.00    375.00
                        impact on venture assets
06/06/2023   FM7        Correspond with S&C (Cohen) regarding              0.70   1,875.00   1,312.50
                        5089 and post-petition interest (0.4); review
                        M&A update summary from B. Levine (0.3)
06/06/2023   KH18       Analyze and comment on disposition issues          2.10   2,075.00   4,357.50
                        re venture investments (1.1); analyze issues
                        and documents concerning T2000
                        investment (.8); prepare notes re same (.2)
06/07/2023   CX3        Review and respond to additional                   0.20    915.00     183.00
                        comments from B. Levine on ventures
                        investment documents
06/07/2023   CX3        Analyze case law on automatic stay in              2.70    915.00    2,470.50
                        connection with sale of ventures interest
                        (2.1); prepare analysis of findings (0.6)
06/07/2023   FM7        Correspond with Jefferies (R. Hamilton)            1.00   1,875.00   1,875.00
                        regarding 5089 APA (0.4); correspond with
                        Jefferies (R. Hamilton) regarding 5005 (0.2);
                        review PWP de minimis offer summary
                        (0.4)
06/07/2023   LK19       Review and comment on case findings from           0.80    855.00     684.00
                        Y. Park regarding section 363 sale
                        objections
06/08/2023   BL10       M&A update call with Jefferies, E. Gilad,          1.30   1,290.00   1,677.00
                        G. Sasson, B. Kelly, F. Merola, E. Levine
                        (.5); follow-up analysis of items discussed
                        on call (.6); update ventures diligence report
                        (.2)
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Date         Initials   Description                                     Hours        Rate    Amount
06/08/2023   BK12       Participate in M&A update call with R.             3.30   1,625.00   5,362.50
                        Hamilton, E. Gilad, B. Levine, G. Sasson,
                        F. Merola, E. Levine (0.5); review venture
                        investment documents re: [5040] and [5100]
                        (0.7); correspond with M. Wu re: same (0.2);
                        review new documents in data room
                        regarding [5036] (0.5); correspond with L.
                        Koch re: bankruptcy filings for [5089] and
                        [5076] (0.3); correspond with E. Gilad re:
                        same (0.3); review updated version of PSA
                        for [5089] investment (0.6); correspond
                        with M. Wu and E. Gilad re: same (0.2)
06/08/2023   CX3        Continue to prepare analysis of sale of            0.70    915.00     640.50
                        ventures interest (.6); correspond with E.
                        Gilad regarding same (.1)
06/08/2023   EG18       Venture transactions update telephone              0.50   1,875.00    937.50
                        conference with Jefferies, B. Kelly, F.
                        Merola, B. Levine, G. Sasson, E. Levine
06/08/2023   EML1       Attend M&A / venture portfolio call with           0.50   1,475.00    737.50
                        Jefferies, F. Merola, B. Kelly, E. Gilad, G.
                        Sasson, B. Levine
06/08/2023   FM7        Review Jefferies crypto news run regarding         0.20   1,875.00    375.00
                        M&A impact
06/08/2023   FM7        Correspond with Jefferies (Hamilton)               2.90   1,875.00   5,437.50
                        regarding 5005 (0.2); review UCC input
                        regarding 5005 bids (0.6); telephone
                        conference with Jefferies, G. Sasson, E.
                        Gilad, B. Levine, B. Kelly, E. Levine
                        regarding M&A update (0.5); correspond
                        with B. Kelly regarding 5085 (0.4); review B.
                        Kelly correspondence with S&C regarding
                        5100 (0.3); review B. Kelly correspondence
                        with S&C regarding 5085 (0.2); correspond
                        with R. Poppiti regarding 5085 order to
                        shorten time (0.3); analyze M. Wu (S&C)
                        correspondence regarding 5089 APA (0.4)
06/08/2023   GS13       Review motion and APA regarding Sequoia            2.40   1,625.00   3,900.00
                        (1.0); telephone conference with Jefferies,
                        B. Kelly, F. Merola, E. Levine, E. Gilad, B.
                        Levine regarding sale process (.5); review
                        FTX Europe documents (.9)
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Date         Initials   Description                                     Hours       Rate    Amount
06/08/2023   KP17       Emails with E. Gilad re Sequoia sale motion       0.30   1,875.00    562.50
06/08/2023   KH18       Review update on venture related assets and       1.40   2,075.00   2,905.00
                        disposition (.8); analyze issues and
                        documents re T2000 (.6)
06/09/2023   BL10       Update M&A summary report and ventures            3.40   1,290.00   4,386.00
                        diligence summaries (3.2); correspond with
                        G. Sasson, B. Kelly regarding same (.2)
06/09/2023   BK12       Respond to K. Hansen email re: client             4.90   1,625.00   7,962.50
                        questions about sale of [5005] (0.4); respond
                        to E. Gilad request re: [5089] (0.6); review
                        diligence summaries and data room
                        documents for investments in [5005] and
                        [5089] (0.9); correspond with R. Hamilton
                        and E. Gilad re: same (0.5); review PSA for
                        [5005] (1.2); review PSA and motion for
                        [5082] (1.3)
06/09/2023   CX3        Review and summarize certain filings in           3.30    915.00    3,019.50
                        crypto chapter 11 cases related to automatic
                        stay for impact on FTX sales (3.1); draft
                        correspondence to E. Gilad, B. Kelly
                        regarding same (0.2)
06/09/2023   DM26       Research regarding precedent sale                 0.70    540.00     378.00
                        procedures and related pleadings for C. Xu
06/09/2023   EG18       Analyze and comment on LP agreement               1.60   1,875.00   3,000.00
                        and Sequoia sale documents (1.3); review
                        and comment on Jefferies deck regarding
                        same (.3)
06/09/2023   FM7        Analyze crypto chapter 11 roundup                 0.20   1,875.00    375.00
                        regarding venture investment impact
06/09/2023   FM7        Review updated M&A due diligence tracker          2.90   1,875.00   5,437.50
                        (0.6); analyze 5089 APA and indemnity
                        (0.6); correspond with B. Kelly regarding
                        5089 APA (0.2); correspond with S&C (B.
                        Glueckstein) regarding 5089 discovery (0.3);
                        review 5089 sale motion and supporting
                        declaration (0.6); analyze DOJ letter
                        regarding 5005 (0.4); correspond with
                        Jefferies (Hamilton) regarding 5005 (0.2)
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06/10/2023   CX3        Update ventures diligence tracker based on        1.50    915.00    1,372.50
                        B. Kelly comments (1.3); correspond with
                        F. Merola, B. Kelly and B. Levine regarding
                        same (0.2)
06/10/2023   FM7        Review and revise pending M&A summary             0.40   1,875.00    750.00
06/10/2023   KH18       Analyze issues and amended documents              1.00   2,075.00   2,075.00
                        regarding Niagara
06/11/2023   KH18       Correspond with M. O’Hara and E. Gilad            1.50   2,075.00   3,112.50
                        re Niagara and T2000 issues (.7); analyze
                        same and related authority (.8)
06/12/2023   BL10       Update venture transaction and diligence          0.70   1,290.00    903.00
                        summary after call with S&C
06/12/2023   BK12       Review sale motion and related documents          1.50   1,625.00   2,437.50
                        for sale of [5085] investment (0.8); respond
                        to K. Hansen re: client question re: [5005]
                        (0.2); review documents related to same
                        (0.5)
06/12/2023   FM7        Analyze crypto news update regarding              0.20   1,875.00    375.00
                        venture investment impact
06/12/2023   FM7        Analyze FTI documents regarding 5094              0.40   1,875.00    750.00
06/12/2023   FM7        Correspond with S&C (Wu) regarding 5089           0.80   1,875.00   1,500.00
                        transfer documents (0.2); review B. Kelly
                        correspondence to Jefferies regarding 5076
                        (0.2); analyze PWP 5005 bid summary (0.2);
                        review S&C (Schwartz) correspondence
                        regarding 5082 PSA (0.2)
06/12/2023   GS13       Review Jefferies documents regarding              0.30   1,625.00    487.50
                        ongoing sale matters
06/12/2023   KP17       Review certain produced documents re              1.80   1,875.00   3,375.00
                        [5005] transaction
06/12/2023   KH18       Analyze and prepare notes re issues               1.20   2,075.00   2,490.00
                        surrounding T2000 (.8); telephone
                        conference with FTI re Niagara (.4)
06/12/2023   KC27       Review Debtors' motion to sell interest in        0.70    915.00     640.50
                        SCHF Cayman L.P. (.3); prepare summary
                        same (.4)
06/13/2023   BL10       Review updated 5005 slides (1.1); prepare         1.50   1,290.00   1,935.00
                        comments on same for Jefferies (.4)
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06/13/2023   EG18       Correspond with Jefferies regarding 5005          0.40   1,875.00    750.00
                        (.2); review and comment on memo
                        regarding same (.2)
06/13/2023   FM7        Analyze PWP correspondence regarding              0.80   1,875.00   1,500.00
                        5005 bids (unredacted) (0.3); review
                        Jefferies 5005 documents (0.3); review
                        O'Hara correspondence regarding PWP
                        update (0.2)
06/14/2023   EG18       Analyze Sequoia sale issues and related case      2.10   1,875.00   3,937.50
                        findings (1.3); prepare parts of objection to
                        same (.8)
06/14/2023   FM7        Correspond with Jefferies (R. Hamilton)           1.20   1,875.00   2,250.00
                        regarding 5082 (0.2); correspond with S&C
                        (M. Wu) regarding 5082 (0.2); correspond
                        with E. Sibbitt regarding 5082 (0.2);
                        correspond with Jefferies (R. Hamilton)
                        regarding 5005 (0.2); review PWP de
                        minimis offer summary (0.4)
06/14/2023   KH18       Draft email to A. Dietderich and JRIII re         1.20   2,075.00   2,490.00
                        T2000
06/15/2023   BL10       Participate in M&A meeting with Jefferies,        0.60   1,290.00    774.00
                        K. Hansen, E. Gilad, K. Pasquale, B. Kelly,
                        F. Merola, E. Burns
06/15/2023   BK12       Attend M&A update call with R. Hamilton,          0.70   1,625.00   1,137.50
                        K. Hansen, K. Pasquale, E. Gilad, F.
                        Merola, B. Levine, E. Burns (.6); follow-up
                        review of items discussed (.1)
06/15/2023   EHG        Conference with Jefferies, K. Hansen, K.          0.70   1,125.00    787.50
                        Pasquale, E. Gilad, B. Kelly, F. Merola, B.
                        Levine regarding sale processes (.6); prepare
                        follow up notes regarding same (.1)
06/15/2023   EG18       Analyze Sequoia sale documents (.7);              1.10   1,875.00   2,062.50
                        prepare parts of objection to same (.4)
06/15/2023   EG18       M&A update telephone conference with              0.60   1,875.00   1,125.00
                        Jefferies, K. Hansen, K. Pasquale, B. Kelly,
                        F. Merola, B. Levine, E. Burns
06/15/2023   FM7        Review Jefferies crypto news run regarding        0.20   1,875.00    375.00
                        venture asset issues
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Date         Initials   Description                                    Hours        Rate    Amount
06/15/2023   FM7        Telephone conference with Jefferies, K.           0.60   1,875.00   1,125.00
                        Hansen, K. Pasquale, E. Gilad, B. Kelly, B.
                        Levine, E. Burns regarding M&A update
06/15/2023   FM7        Review Debtor funds process                       0.50   1,875.00    937.50
                        recommendations (0.3); review Debtor 5076
                        recommendations (0.2)
06/15/2023   KP17       Call with Jefferies, K. Hansen, E. Gilad, B.      0.60   1,875.00   1,125.00
                        Levine, E. Burns, B. Kelly, F. Merola re
                        Ventures transactions update
06/15/2023   KH18       Call with Jefferies, G. Sasson, B. Kelly, F.      0.60   2,075.00   1,245.00
                        Merola, K. Pasquale, E. Gilad, B. Levine, E.
                        Burns re M&A updates and ventures assets
06/15/2023   LK19       Analyze documents produced by the                 0.30    855.00     256.50
                        Debtors regarding funds process (0.2);
                        summarize same for B. Kelly, F. Merola,
                        and B. Levine (0.1)
06/16/2023   BK12       Respond to K. Pasquale and I. Sasson              0.90   1,625.00   1,462.50
                        emails re: [5089] (0.5); review underlying
                        documents re: [5089] (0.4)
06/16/2023   EG18       Telephone conference with Jefferies, K.           0.70   1,875.00   1,312.50
                        Hansen regarding 2.0 and venture sale
                        process
06/16/2023   EG18       Draft parts of UCC statement re Sequoia           3.30   1,875.00   6,187.50
                        and reservation of rights
06/16/2023   FM7        Correspond with C. Daniel regarding 5082          0.70   1,875.00   1,312.50
                        tokens (0.2); correspond with E. Sibbitt
                        regarding 5082 tokens (0.2); review updated
                        fund process documents (0.3)
06/16/2023   FM7        Analyze Jefferies crypto news run regarding       0.10   1,875.00    187.50
                        venture investment issues
06/16/2023   KP17       Review and comment on draft email to              0.40   1,875.00    750.00
                        Debtors re [5005] (.2); review certain
                        documents re same (.2)
06/16/2023   KH18       Call with Jefferies, E. Gilad re M&A              3.30   2,075.00   6,847.50
                        updates and ventures portfolio (.7); analyze
                        and comment on T2000 issues (1.1); draft
                        correspondence to A. Dietderich and JRIII
                        re T2000 (1.5)
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Date         Initials   Description                                     Hours       Rate    Amount
06/16/2023   LK19       Analyze documents produced by the                 0.80    855.00     684.00
                        Debtors regarding funds process (0.5);
                        prepare summary of same for K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson (0.2); email
                        L. Hultgren (Jefferies) and D. Homrich
                        (Jefferies) regarding same (0.1)
06/17/2023   BL10       Review and comment on 5062 and NFT                0.70   1,290.00    903.00
                        ventures
06/17/2023   BK12       Review E. Sibbitt email re: [5082] lift stay      4.80   1,625.00   7,800.00
                        motion and related documents (1.0); follow-
                        up review and comment on documents re:
                        investment in [5082] (2.2); review fund sale
                        process documents (1.4); correspond with
                        B. Levine re: same (.2)
06/17/2023   EG18       Update draft and revise statement and             2.40   1,875.00   4,500.00
                        reservation of rights with respect to Sequoia
                        investment sale motion
06/17/2023   FM7        Review Debtor fund process                        0.80   1,875.00   1,500.00
                        recommendations (0.3); correspond with B.
                        Levine regarding funds process
                        recommendations (0.2); review 5076
                        alternatives (0.3)
06/17/2023   FM7        Correspond with E. Sibbitt regarding 5082         0.40   1,875.00    750.00
                        token purchase agreement (0.2); review B.
                        Levine correspondence regarding 5082
                        documents (0.2)
06/18/2023   BL10       Review and respond to questions related to        0.50   1,290.00    645.00
                        5062 and NFT diligence
06/18/2023   MM51       Review venture investment documents and           2.80    915.00    2,562.00
                        prepare diligence summaries for
                        investments in 5062
06/19/2023   BL10       Follow up review of open M&A items after          0.70   1,290.00    903.00
                        update call with S&C (.3); update ventures
                        diligence summaries (.4)
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Date         Initials   Description                                      Hours       Rate    Amount
06/19/2023   BK12       Review and comment on draft reservation            2.80   1,625.00   4,550.00
                        of rights re: sale of [5089] (0.7); correspond
                        with E. Sibbitt and G. Sasson re: motion
                        and order for [5082] (0.4); review and
                        comment on related [5082] documents
                        (0.8); review fund sale process update
                        documents and underlying diligence
                        summaries (0.9)
06/19/2023   CX3        Draft due diligence summary of 5000                0.70    915.00     640.50
                        (ventures)
06/19/2023   EG18       Prepare inserts to and revise statement and        2.10   1,875.00   3,937.50
                        reservation of rights with respect to Sequoia
                        investment sale motion
06/19/2023   FM7        Correspond with E. Sibbitt regarding 5082          0.60   1,875.00   1,125.00
                        tokens (0.2); correspond with B. Kelly
                        regarding 5082 relief from stay motion (0.2);
                        review comments regarding 5089
                        reservation of rights (0.2)
06/19/2023   GS13       Review Jefferies documents re: pending             0.40   1,625.00    650.00
                        asset sales
06/19/2023   KH18       Review issues and diligence regarding              1.30   2,075.00   2,697.50
                        T2000 (.9); correspond with M. O’Hara and
                        E. Gilad regarding T2000 (.4)
06/19/2023   MM51       Review venture investment documents and            3.60    915.00    3,294.00
                        prepare diligence summaries for
                        investments in 5062
06/20/2023   BK12       Review draft order markup for [5082] (.2);         0.80   1,625.00   1,300.00
                        correspond with G. Sasson re: same (0.2);
                        respond to E. Gilad request re: [5089]
                        documents (.2); comment on [5089]
                        documents (0.2)
06/20/2023   FM7        Correspond with B. Kelly regarding 5089            0.60   1,875.00   1,125.00
                        cure costs (0.2); review 5076 capital call
                        notice and related S&C correspondence
                        (0.2); correspond with E. Sibbitt regarding
                        5082 tokens (0.2)
06/20/2023   FM7        Review Jefferies crypto news run regarding         0.20   1,875.00    375.00
                        venture asset implications
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Date         Initials   Description                                    Hours        Rate    Amount
06/20/2023   KH18       Analyze and comment on issues regarding           0.80   2,075.00   1,660.00
                        T2000
06/20/2023   MM51       Review venture investment documents and           0.60    915.00     549.00
                        prepare diligence summaries for
                        investments in 5062
06/21/2023   BL10       Review and respond to questions regarding         1.40   1,290.00   1,806.00
                        5082 for C. Xu (.5); review and respond to
                        questions regarding 5062 for M. Maksud
                        (.2); review documents related to open 5062
                        questions (.3); follow-up correspondence
                        with S&C on open venture diligence items
                        (.4)
06/21/2023   BK12       Correspond with R. Hamilton (Jefferies) re:       1.30   1,625.00   2,112.50
                        sale of [5062] and de minimis procedures
                        (0.7); review and comment on draft limited
                        objection re: [5089] (0.6)
06/21/2023   FM7        Correspond with S&C (MacDonald)                   0.20   1,875.00    375.00
                        regarding 5061 documents
06/21/2023   FM7        Correspond with Jefferies (R. Hamilton)           0.40   1,875.00    750.00
                        regarding funds process and de minimis
                        sales order (0.2); review venture investment
                        diligence tracker (0.2)
06/21/2023   KH18       Follow up review of T2000 documents and           0.80   2,075.00   1,660.00
                        issues
06/21/2023   MM51       Review venture investment documents and           1.90    915.00    1,738.50
                        prepare diligence summaries for
                        investments in 5062
06/22/2023   BL10       Participate in M&A call with K. Hansen, F.        3.20   1,290.00   4,128.00
                        Merola, E. Burns, Jefferies (.6); prepare
                        recommendations for 5036 valuation and
                        related approach (1.5); prepare summary of
                        additional action items regarding ventures
                        assets (.6); review additional 5062
                        investment documents (.4); correspond with
                        C. Xu and M. Maksud regarding ventures
                        diligence update (.1)
06/22/2023   BK12       Review and respond to emails from E.              0.60   1,625.00    975.00
                        Gilad re: [5089] (0.3); correspond with K.
                        Pasquale re: B. Levine update email re:
                        [5036] (0.3)
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Date         Initials   Description                                     Hours       Rate    Amount
06/22/2023   CX3        Prepare due diligence summary of                  5.40    915.00    4,941.00
                        investment documents of ventures 5000
06/22/2023   EHG        Conference with Jefferies, K. Hansen, F.          0.60   1,125.00    675.00
                        Merola, B. Levine regarding sale processes
06/22/2023   FM7        Participate in M&A update telephone               1.70   1,875.00   3,187.50
                        conference with Jefferies, K. Hansen, B.
                        Levine, E. Burns (0.6); analyze M&A update
                        summary (0.2); correspond with K.
                        Pasquale re 5036 (0.2); analyze 5076 capital
                        call documents (0.2); correspond with S&C
                        (MacDonald) re 5076 capital call (0.2);
                        correspond with Jefferies (R. Hamilton) re
                        5076 capital call (0.2); correspond with E.
                        Gilad re 5076 capital call (0.1)
06/22/2023   KH18       M&A/venture telephone conference with             0.60   2,075.00   1,245.00
                        F. Merola, B. Levine, E. Burns, Jefferies
06/22/2023   LK19       Analyze funds process documents produced          1.80    855.00    1,539.00
                        by the Debtors via VDR (1.1); summarize
                        same for B. Kelly, F. Merola, B. Levine (0.7)
06/22/2023   MM51       Review venture investment documents and           2.40    915.00    2,196.00
                        prepare diligence summaries for
                        investments in 5062
06/23/2023   BL10       Call with E. Gilad, B. Kelly, F. Merola, G.       1.90   1,290.00   2,451.00
                        Sasson, and C. Xu (portion) on Paradigm
                        venture (.6); prepare follow-up questions to
                        Jefferies regarding capital calls and next
                        steps (.5); respond to emails from B. Kelly
                        on the same (.3); review and update venture
                        diligence tracker (.5)
06/23/2023   BK12       Respond to E. Gilad questions re: [5076]          1.40   1,625.00   2,275.00
                        (0.8); call with B. Levine, F. Merola, C. Xu
                        (portion), E. Gilad and G. Sasson re: same
                        (0.6)
06/23/2023   CX3        Participate in portion of telephone               0.20    915.00     183.00
                        conference with G. Sasson, E. Gilad, B.
                        Levine, F. Merola, B. Kelly on 5076
                        ventures strategy
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06/23/2023   EG18       Analyze and prepare comments on                   0.90   1,875.00   1,687.50
                        Paradigm investment (.3); telephone
                        conference with G. Sasson, B. Kelly, F.
                        Merola, B. Levine, and C. Xu (portion)
                        regarding Paradigm investment (.6)
06/23/2023   FM7        Correspond with E. Gilad regarding 5076           1.10   1,875.00   2,062.50
                        capital call (0.2); telephone conference with
                        E. Gilad, G. Sasson, B. Kelly, B. Levine, C.
                        Xu regarding 5076 capital call (0.6);
                        correspond with Jefferies (R. Hamilton)
                        regarding 5076 (0.2); review draft Jefferies
                        correspondence to UCC regarding 5076
                        capital call (0.1)
06/23/2023   FM7        Review Jefferies crypto news run regarding        0.30   1,875.00    562.50
                        venture assets (0.2); review crypto
                        bankruptcy roundup to inform FTX asset
                        dispositions (0.1)
06/23/2023   FM7        Correspond with S&C (MacDonald)                   0.20   1,875.00    375.00
                        regarding 5076 capital call
06/23/2023   GS13       Review paradigm documents and related             1.90   1,625.00   3,087.50
                        update (1.3); telephone conference with E.
                        Gilad, B. Kelly, B. Levine, C. Xu (portion),
                        and F. Merola regarding same (.6)
06/26/2023   BL10       Prepare agenda for M&A update call with           4.60   1,290.00   5,934.00
                        S&C (1.2); call with E. Gilad regarding
                        transactions discussed with S&C (.5);
                        update open ventures diligence tracker (2.1);
                        prepare summary of open ventures items
                        and proposed approach to same (.8)
06/26/2023   CX3        Incorporate B. Levine comments to                 0.50    915.00     457.50
                        ventures diligence tracker
06/26/2023   CX3        Update ventures diligence tracker (.5);           0.60    915.00     549.00
                        correspond with B. Kelly, B. Levine, M.
                        Maksud and F. Merola regarding same (.1)
06/26/2023   EG18       Telephone conference with B. Levine               0.50   1,875.00    937.50
                        regarding Sequoia sale and venture
                        investment sale
06/26/2023   FM7        Update venture investment diligence tracker       0.60   1,875.00   1,125.00
                        (0.3); review M&A update chart (0.3)
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Date         Initials   Description                                   Hours         Rate    Amount
06/26/2023   FM7        Correspond with G. Sasson regarding UCC           0.20   1,875.00    375.00
                        issues regarding 5076 capital call
06/26/2023   FM7        Analyze fund process update (0.2); analyze        0.80   1,875.00   1,500.00
                        FTI portfolio key metrics (0.4); correspond
                        with S&C (Simpson) regarding FTX Cyprus
                        (0.2)
06/26/2023   FM7        Review Jefferies crypto news run regarding        0.20   1,875.00    375.00
                        venture Investments
06/26/2023   KH18       Review updated Niagara documents (.9);            1.40   2,075.00   2,905.00
                        correspond with Simms, Diaz, Bromberg
                        (FTI) regarding same (.5)
06/26/2023   MEG9       Review buy/sell/hedge protocol from F.            0.30   1,425.00    427.50
                        Risler (FTI)
06/27/2023   BL10       Review PWP fund process deck (.5); review         5.20   1,290.00   6,708.00
                        and comment on Jefferies draft deck on
                        fund process (1.4); analyze question on de
                        minimis sale procedures (.8); prepare
                        response to same (.4); review and comment
                        on amendments to SCHF sale order and
                        transaction documents (2.1)
06/27/2023   BK12       Review Jefferies deck re: fund process            3.50   1,625.00   5,687.50
                        update (0.6); review markup of sale
                        documents for [5089] (0.7); correspond
                        with E. Gilad and B. Levine re: same (0.6);
                        review and respond to L. Hultgren
                        questions re: [5062] and [5063] (0.5);
                        correspond with B. Levine re: same (0.4);
                        review analysis from M. Zuppone re:
                        securities law considerations in plan
                        structuring (0.7)
06/27/2023   CX3        Revise and supplement diligence summary           2.80    915.00    2,562.00
                        on ventures (5000)
06/27/2023   EG18       Analyze and calculate Sequoia default             2.20   1,875.00   4,125.00
                        interest (1.7); correspond with Brian Kelly
                        and B. Levine regarding amended Sequoia
                        deal documents (.3); review amended
                        Sequoia sale order (.2)
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Date         Initials   Description                                      Hours       Rate    Amount
06/27/2023   FM7        Correspond with Jefferies (Homrich) re             2.10   1,875.00   3,937.50
                        default interest calculation (0.2); revise
                        Jefferies fund process update (0.4);
                        correspond with Jefferies re fund process
                        update (0.2); correspond with Jefferies
                        (Hultgren) re de minimis asset order (0.2);
                        review revised fund process update from
                        Jefferies (0.3); correspond with S&C
                        (MacDonald) re default interest calculation
                        (0.2); correspond with S&C (MacDonald) re
                        SCHF assignment (0.2); analyze revised
                        SCHF sale order (0.2); correspond with
                        S&C (MacDonald) re SCHF sale order (0.2)
06/27/2023   FM7        Correspond with S&C (Simpson) regarding            0.20   1,875.00    375.00
                        FTX Europe
06/27/2023   MEG9       Review markup of banking agreement (.2);           0.30   1,425.00    427.50
                        correspond with J. Cooper (Alvarez)
                        regarding same and related questions (.1)
06/28/2023   BL10       Update M&A open items list for B. Kelly,           0.40   1,290.00    516.00
                        F. Merola
06/28/2023   CX3        Prepare due diligence summary of ventures          4.20    915.00    3,843.00
                        investment 5110
06/28/2023   FM7        Analyze Jefferies crypto news run regarding        0.20   1,875.00    375.00
                        venture Investments
06/29/2023   BL10       Participate in M&A update call with E.             2.20   1,290.00   2,838.00
                        Gilad, G. Sasson, K. Pasquale, B. Kelly, F.
                        Merola and Jefferies (.6); review and
                        comment on deck summarizing sales to
                        date (.6); follow-up review and comments
                        on M&A open items list (1.0)
06/29/2023   BK12       M&A update call with M. O'Hara                     0.60   1,625.00    975.00
                        (Jefferies), E. Gilad, K. Pasquale, G. Sasson,
                        F. Merola, B. Levine re pending and
                        upcoming sales
06/29/2023   CX3        Prepare due diligence summary of Ventures          1.60    915.00    1,464.00
                        (5110)
06/29/2023   EG18       Telephone conference with Jefferies, K.            0.60   1,875.00   1,125.00
                        Pasquale, B. Kelly, G. Sasson, F. Merola, B.
                        Levine regarding 2.0 and venture
                        investment issues
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Date         Initials   Description                                      Hours       Rate      Amount
06/29/2023   FM7        Telephone conference with Jefferies, K.            0.60   1,875.00     1,125.00
                        Pasquale, B. Kelly, G. Sasson, E. Gilad, B.
                        Levine regarding M&A update
06/29/2023   GS13       Review Jefferies documents regarding asset         0.90   1,625.00     1,462.50
                        sales (.3); telephone conference with
                        Jefferies, K. Pasquale, E. Gilad, B. Kelly, F.
                        Merola, B. Levine regarding same (.6)
06/29/2023   KP17       Call with Jefferies, E. Gilad, G. Sasson, B.       0.60   1,875.00     1,125.00
                        Kelly, F. Merola, B. Levine re M&A update
                        and pending transactions
06/30/2023   CX3        Prepare due diligence summary of 5110              1.60    915.00      1,464.00
06/30/2023   FM7        Review Concedus sale summary                       0.40   1,875.00      750.00
06/30/2023   FM7        Analyze Jefferies crypto news run regarding        0.40   1,875.00      750.00
                        venture investment impact (0.2); analyze
                        crypto bankruptcy round up regarding same
                        (0.2)
06/30/2023   MM51       Review venture investment documents and            1.60    915.00      1,464.00
                        prepare diligence summaries for
                        investments in 5062
             Subtotal: B130 Asset Disposition                            232.30              352,200.50




B140   Relief from Stay/Adequate Protection Proceedings
06/01/2023   KP17       Review and revise JPL's draft pre-trial order      3.70   1,875.00     6,937.50
                        re lift stay hearing (1.3); review documents
                        in preparation for Greaves deposition re
                        Bahamas lift stay motion (2.4)
06/02/2023   BK12       Review draft lift stay motion re: [5082] (.6);     0.80   1,625.00     1,300.00
                        correspond with K. Pasquale and E. Gilad
                        re: same (.2)
06/02/2023   ECS3       Review and comment on documents related            1.00   1,550.00     1,550.00
                        to proposed 5082 transaction
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06/02/2023   IS6        Review JPL lift stay motion, related filings,       4.90   1,290.00   6,321.00
                        and E. Mosley declaration (1.3); attend
                        deposition of E. Mosley regarding JPL
                        motion for relief from stay (3.4); conference
                        with L. Koch and K. Catalano regarding
                        IEX motion for relief from stay (.2)
06/02/2023   IS6        Review and analyze FTX DM JPL lift stay             0.40   1,290.00    516.00
                        motion
06/02/2023   KP17       Review lift stay filings in preparation for P.      2.60   1,875.00   4,875.00
                        Greaves deposition and lift stay hearing
                        (Bahamas)
06/02/2023   KC27       Review IEX motion to lift stay (.8); attend         1.00    915.00     915.00
                        meeting with L. Koch and I. Sasson
                        regarding same (.2)
06/02/2023   LK19       Review pleadings regarding JPL lift stay            3.10    855.00    2,650.50
                        request and declaration of E. Mosley in
                        support of Debtors' objection to JPL lift
                        stay request (0.6); attend and take notes on
                        portion of deposition of E. Mosley (A&M)
                        (2.5)
06/02/2023   LK19       Conference with K. Catalano and I. Sasson           0.20    855.00     171.00
                        regarding Bankruptcy Code sections 502
                        and 506 in connection with IEX motion for
                        relief from stay
06/03/2023   KP17       Review E. Mosley deposition transcript and          1.70   1,875.00   3,187.50
                        related documents in preparation for P.
                        Greaves deposition and lift stay hearing
                        (Bahamas)
06/04/2023   KP17       Continue preparing outlines for Bahamas             2.00   1,875.00   3,750.00
                        deposition and lift stay court hearing (1.6);
                        review draft lift stay motion [5082] (.4)
06/05/2023   GS13       Review and comment on 5082 lift stay                0.90   1,625.00   1,462.50
                        motion
06/05/2023   IS6        Review and comment on draft JPL PTO                 0.70   1,290.00    903.00
06/05/2023   KP17       Review and revise draft Bahamas PTO (.4);           3.00   1,875.00   5,625.00
                        continue to review submissions and case
                        law in preparation for Bahamas P. Greaves
                        deposition and lift stay court hearing (2.6)
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06/05/2023   KH18       Review and comment on Genesis issues               0.70   2,075.00    1,452.50
                        regarding claim estimation, exclusivity, and
                        mediation
06/06/2023   IS6        Review and revise joint JPL PTO (.6); call         0.80   1,290.00    1,032.00
                        with S. Felton (S&C) re same (.2)
06/06/2023   KP17       Review arguments and case law in                   7.00   1,875.00   13,125.00
                        preparation for P. Greaves deposition (.8);
                        participate in deposition of P. Greaves in
                        connection with Bahamas lift stay request
                        (4.6); draft cross examination outlines for
                        Bahamas lift stay hearing (1.2); review
                        revised Bahamas PTO (.4)
06/06/2023   LK19       Attend deposition of P. Greaves (JPL) in           4.80    855.00     4,104.00
                        connection with JPL lift stay motion (4.6);
                        emails with M. Laskowski, I. Sasson, and C.
                        Diaz regarding documents for JPL lift stay
                        hearing on 06/08/23 (0.2)
06/08/2023   IS6        Review and revise joinder to objection to          1.80   1,290.00    2,322.00
                        Genesis lift stay motion (1.6); correspond
                        with S&C re same (.2)
06/08/2023   KP17       Correspond with K. Hansen re Bahamas               0.30   1,875.00     562.50
                        issues
06/13/2023   KP17       Analyze Debtors' reply to lift stay request in     0.30   1,875.00     562.50
                        Genesis case
06/14/2023   BL10       Review 5082 motion for relief from the             1.00   1,290.00    1,290.00
                        automatic stay and associated diligence
                        documents
06/14/2023   ECS3       Review 5082 sale order and agreement               1.00   1,550.00    1,550.00
                        terms (.8); prepare markup of same (.2)
06/14/2023   GS13       Review 5082 motion for relief from stay            0.80   1,625.00    1,300.00
                        (.4); emails with E. Sibbitt regarding same
                        (.2); draft email to UCC regarding same (.2)
06/14/2023   IS6        Analyze 5082 lift stay motion and proposed         1.50   1,290.00    1,935.00
                        transaction (.9); analyze case law regarding
                        automatic stay as to 5082 transaction (.6)
06/14/2023   KP17       Analyze certain [5082] documents re                1.20   1,875.00    2,250.00
                        proposed transaction (.9); emails with I.
                        Sasson re [5082] diligence (.3)
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Date         Initials   Description                                     Hours       Rate    Amount
06/15/2023   AAN1       Analyze Debtors' sale of 5082 tokens (3.1);       3.40   1,235.00   4,199.00
                        prepare summary notes regarding same (0.3)
06/15/2023   BL10       Prepare summary of 5082 motion for relief         2.50   1,290.00   3,225.00
                        from stay, supporting documents, and
                        proposed transaction
06/15/2023   BK12       Review 5082 lift stay motion (0.5); review        0.90   1,625.00   1,462.50
                        and comment on draft summary of same
                        and [5082] (0.4)
06/15/2023   EJO        Review 5082 Data motion for relief from           0.50    855.00     427.50
                        stay
06/15/2023   GS13       Review 5082 lift stay motion (.5); email with     0.80   1,625.00   1,300.00
                        K. Pasquale and I. Sasson regarding same
                        (.3)
06/15/2023   GK6        Correspond with E. Sibbitt regarding 5082         0.50    915.00     457.50
                        token sale
06/15/2023   IS6        Revise draft D1 lift stay summary.                0.20   1,290.00    258.00
06/15/2023   JI2        Review and revise summary of 5082 lift stay       0.40   1,125.00    450.00
                        motion (.3); email with K. Catalano re same
                        (.1)
06/15/2023   KC27       Review 5082 Data Association's lift stay          0.80    915.00     732.00
                        motion (.3); prepare summary of same (.4);
                        correspond with J. Iaffaldano regarding
                        same (.1)
06/16/2023   AAN1       Continue to analyze debtors' sale of 5082         5.30   1,235.00   6,545.50
                        tokens (3.5); prepare summary notes
                        regarding same (1.8)
06/16/2023   BK12       Review 5082 motion for relief from the            0.40   1,625.00    650.00
                        automatic stay (0.3); correspond with C.
                        Daniel and E. Sibbitt re: same (0.1)
06/16/2023   ECS3       Analyze proposed 5082 reminting plan in           2.50   1,550.00   3,875.00
                        connection with 5082 lift stay motion (2.2);
                        prepare comments on same (.3)
06/16/2023   GK6        Correspond with E. Sibbitt regarding 5082         0.30    915.00     274.50
                        token sale
06/16/2023   GK6        Review 5082 token motion for relief from          1.50    915.00    1,372.50
                        stay and the associated newly minted 5082
                        (1.1); prepare comments on same (.4)
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Date         Initials   Description                                     Hours        Rate    Amount
06/16/2023   KP17       Emails with I. Sasson, FTI re 5082 relief          0.30   1,875.00    562.50
                        from stay motion
06/16/2023   LED        Review correspondence from E. Sibbitt              0.30   1,425.00    427.50
                        regarding 5082 motion for relief from the
                        automatic stay
06/17/2023   AAN1       Further analyze Debtors' sale of 5082              2.40   1,235.00   2,964.00
                        tokens (1.5); prepare summary notes
                        regarding same (0.9)
06/17/2023   BL10       Prepare summary of 5082 agreements                 4.20   1,290.00   5,418.00
06/17/2023   KP17       Review E. Sibbitt email re 5082 motion and         0.70   1,875.00   1,312.50
                        proposed transaction (.3); review
                        transaction documents re same (.4)
06/18/2023   GS13       Review D1 Ventures motion (.5); emails             0.80   1,625.00   1,300.00
                        with committee, K. Hansen and K.
                        Pasquale regarding same (.3)
06/19/2023   CA14       Correspond with E. Sibbitt regarding 5082          0.50   1,235.00    617.50
                        MFN issue (.1); analyze and comment on
                        5082 MFN provision (.4)
06/19/2023   ECS3       Correspond with C. Anderson regarding              0.40   1,550.00    620.00
                        5082 MFN (.1); analyze same (.2);
                        correspond with G. Sasson, B. Kelly
                        regarding 5082 automatic stay request (.1)
06/19/2023   GS13       Review and comment on 5082 motion and              1.20   1,625.00   1,950.00
                        order (.9); call with FTI, L. Koch, I. Sasson
                        re: same (.3)
06/19/2023   IS6        Call with J. de Brignac (FTI), I. Leonaitis        1.20   1,290.00   1,548.00
                        (FTI), G. Sasson, and L. Koch re 5082
                        forking protocol (.3); draft insert for
                        proposed order re same (.9)
06/19/2023   KH18       Review 5082 facts and issues (1.1); analyze        1.30   2,075.00   2,697.50
                        related reminting issues (.2)
06/19/2023   LK19       Telephone conference with J. de Brignac            0.30    855.00     256.50
                        (FTI), I. Leonaitis (FTI), G. Sasson, and I.
                        Sasson regarding 5082 tokens
06/20/2023   ECS3       Review 5082 motion regarding automatic             2.00   1,550.00   3,100.00
                        stay, agreement and restrictions
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Date         Initials   Description                                      Hours       Rate    Amount
06/20/2023   ECS3       Analyze G. Khoury findings regarding               0.80   1,550.00   1,240.00
                        reminting and restrictions in token purchase
                        agreements (.6); correspond with G.
                        Khoury regarding assessment of 5082
                        disposition (.2)
06/20/2023   GK6        Analyze the reminting mechanics in                 2.10    915.00    1,921.50
                        connection with 5082 motion to lift the
                        automatic stay (0.8); analyze restrictions in
                        the Token Purchase Agreements for the
                        600 million 5082 tokens (1.3)
06/20/2023   GK6        Correspond with E. Sibbitt regarding 5082          1.80    915.00    1,647.00
                        token sale (0.1); further analyze the
                        reminting mechanics in connection with
                        5082 motion to lift the automatic stay (0.7);
                        further analyze restrictions in the Token
                        Purchase Agreements for the 600 million
                        5082 tokens (1.0)
06/20/2023   JI2        Call with counsel to 5082 re lift stay request     0.60   1,125.00    675.00
                        (.4); correspond with G. Sasson re same (.2)
06/21/2023   CX3        Follow up analysis regarding automatic stay        0.60    915.00     549.00
                        and related case law (0.5); correspond with
                        J. Iaffaldano re same (0.1)
06/21/2023   CX3        Analyze case law on automatic stay                 0.50    915.00     457.50
06/21/2023   GS13       Review 5082 lift stay request (.8); emails         3.10   1,625.00   5,037.50
                        with B. Kelly and E. Sibbitt regarding same
                        (.6); revise order regarding same (.6);
                        telephone conferences with 5082 counsel
                        regarding same (.7); emails with committee
                        regarding same (.4)
06/21/2023   JI2        Correspond with A. Kranzley (S&C) re D1            0.30   1,125.00    337.50
                        Ventures motion and 5082 motion for relief
                        from stay (.2); correspond with G. Sasson re
                        same (.1)
06/21/2023   LED        Review correspondence from J. Iaffaldano           0.20   1,425.00    285.00
                        regarding 5082 lift stay motion
06/23/2023   AAN1       Analyze motion to lift stay in connection          2.80   1,235.00   3,458.00
                        with 5082 tokens analysis (.9); review 5082
                        token documents and reminting issues (1.9)
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Date         Initials   Description                                   Hours        Rate      Amount
06/24/2023   AAN1       Continue to analyze 5082 tokens and related      4.80   1,235.00     5,928.00
                        documents, issues (3.9); prepare comments
                        regarding same (.9)
06/24/2023   AAN1       Analyze MFN provision for 5082 token             2.30   1,235.00     2,840.50
                        disposition (1.9); supplement comments on
                        5082 token analysis (.4)
             Subtotal: B140 Relief from Stay/Adequate                 102.70               144,029.00
                       Protection Proceedings




B150   Meetings of and Communications with Creditors
06/02/2023   GS13       Telephone conference with committee              1.20   1,625.00     1,950.00
                        member regarding plan issues (.6);
                        telephone conference with committee
                        member regarding committee operations
                        (.6)
06/02/2023   KP17       Call with Committee member, K. Hansen re         1.90   1,875.00     3,562.50
                        [5005] (.4); call with Committee co-chairs,
                        K. Hansen re Committee issues (1.1);
                        correspond with G. Sasson, I. Sasson re
                        Committee issue (.4)
06/02/2023   KH18       Discussions with UCC member, K.                  1.50   2,075.00     3,112.50
                        Pasquale regarding 5005 and related
                        pending matters (.4); discussions with UCC
                        co-chairs, K. Pasquale regarding UCC issues
                        and certain going forward matters (1.1)
06/05/2023   BK12       Participate in UCC advisor update call to        0.50   1,625.00      812.50
                        prep for UCC meeting
06/05/2023   CD5        Participate in UCC advisors call regarding       0.50   1,700.00      850.00
                        case matters and UCC call prep
06/05/2023   EG18       Respond to UCC member inquiries                  0.40   1,875.00      750.00
06/05/2023   EG18       UCC member telephone conference                  0.50   1,875.00      937.50
                        regarding bar date
06/05/2023   FM7        Telephone conference with UCC                    0.70   1,875.00     1,312.50
                        professionals regarding UCC meeting prep
                        re: sale issues (0.5); correspond with
                        Jefferies (Homrich) regarding M&A agenda
                        for UCC meeting (0.2)
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Date         Initials   Description                                     Hours       Rate    Amount
06/05/2023   GS13       Prep telephone conference with Committee          1.20   1,625.00   1,950.00
                        advisors for Committee telephone
                        conference (.5); review presentation
                        documents and related email to Committee
                        for Committee telephone conference (.7)
06/05/2023   IS6        Participate in UCC advisors call re pending       0.50   1,290.00    645.00
                        matters and UCC call prep
06/05/2023   KH18       Telephone conference with UCC advisors            0.50   2,075.00   1,037.50
                        re case matters and prep for UCC meeting
06/05/2023   LED        Attend Committee advisors call regarding          0.50   1,425.00    712.50
                        case matters and prep for Committee call
06/05/2023   LK19       Email Committee regarding illustrative plan       0.20    855.00     171.00
                        presentation
06/05/2023   MEG9       Participate in UCC professionals call re case     1.70   1,425.00   2,422.50
                        matters and prep for UCC call (0.5); review
                        5005 UCC documents from G. Sasson (0.2);
                        review ventures subcommittee documents
                        from G. Sasson (0.2); review charters for
                        exchange and monetization subcommittees
                        (0.3); review presentation to the UCC re:
                        illustrative plan structures and related
                        recovery analysis (0.5)
06/06/2023   CX3        Telephone conference with Committee               1.10    915.00    1,006.50
                        member, E. Gilad, M. O'Hara (Jefferies), R.
                        Hamilton (Jefferies) re case developments
                        and questions
06/06/2023   EG18       Respond to UCC member inquiries                   0.20   1,875.00    375.00
06/06/2023   EG18       Telephone conference with UCC member,             1.10   1,875.00   2,062.50
                        C. Xu regarding general case matters and
                        inquiries
06/06/2023   FM7        Review UCC correspondence regarding               0.20   1,875.00    375.00
                        6/8/23 hearing
06/06/2023   GS13       Review advisor presentations and                  1.00   1,625.00   1,625.00
                        referenced documents in preparation for
                        committee telephone conference
06/06/2023   KP17       Review FTI, Jefferies documents in                0.70   1,875.00   1,312.50
                        preparation for Committee meeting (.5);
                        emails with committee member re
                        Committee issues (.2)
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Date         Initials   Description                                     Hours       Rate    Amount
06/06/2023   LK19       Email Committee members regarding June            0.20    855.00     171.00
                        8, 2023 omnibus hearing
06/07/2023   BK12       Update call with UCC re: pending M&A              2.20   1,625.00   3,575.00
                        and plan structuring considerations
06/07/2023   CD5        Participate in portion of UCC call with           0.90   1,700.00   1,530.00
                        professional advisors
06/07/2023   CX3        Telephone conference with K. Pasquale, E.         0.20    915.00     183.00
                        Gilad and Committee member re Bahamas
                        litigation
06/07/2023   EG18       Review and annotate agenda for UCC                2.30   1,875.00   4,312.50
                        meeting (0.1); participate in UCC meeting
                        (2.2)
06/07/2023   EG18       Telephone conference with UCC member              0.80   1,875.00   1,500.00
                        regarding general case matters and inquiries
                        (.6); telephone conference with UCC
                        member, K. Pasquale, C. Xu regarding
                        Bahamas litigation (.2)
06/07/2023   ECS3       Review Committee call agenda regarding            2.30   1,550.00   3,565.00
                        coin monetization (.1); participate in
                        Committee call (2.2)
06/07/2023   FM7        Participate in UCC meeting to lead M&A            2.50   1,875.00   4,687.50
                        issues (2.2); review monetization
                        subcommittee correspondence regarding
                        token classification (0.3)
06/07/2023   GS13       Telephone conference with committee               3.60   1,625.00   5,850.00
                        member regarding case status and claims
                        process (.5); participate in committee
                        telephone conference (2.2); follow up
                        telephone conference with committee
                        member regarding ongoing litigation and
                        claims process (.6); correspond with FTI
                        regarding media outreach (.3)
06/07/2023   IS6        Participate in Committee meeting re plan          2.20   1,290.00   2,838.00
                        and waterfall issues
06/07/2023   JI2        Attend UCC meeting re plan constructs.            2.20   1,125.00   2,475.00
06/07/2023   KP17       Annotate agenda for Committee meeting             2.70   1,875.00   5,062.50
                        (.3); participate in Committee meeting (2.2);
                        call with Committee member, E. Gilad, and
                        C. Xu re [Bahamas] litigation (.2)
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Date         Initials   Description                                     Hours        Rate    Amount
06/07/2023   KH18       Telephone conference with Committee                2.60   2,075.00   5,395.00
                        member re case questions and pending
                        matters (.4); lead UCC meeting (2.2)
06/07/2023   LED        Attend portion of UCC call                         1.30   1,425.00   1,852.50
06/07/2023   LK19       Attend and take minutes during UCC                 2.20    855.00    1,881.00
                        meeting
06/07/2023   MEG9       Participate in portion of UCC call                 1.00   1,425.00   1,425.00
06/08/2023   FM7        Analyze UCC correspondence regarding               0.20   1,875.00    375.00
                        June 8, 2023 omnibus hearing
06/08/2023   GS13       Telephone conference with committee                0.50   1,625.00    812.50
                        member regarding case issues, questions
06/08/2023   KP17       Emails with committee member, K. Hansen            0.40   1,875.00    750.00
                        re Committee issue, questions (.2); call with
                        K. Hansen re same (.2)
06/08/2023   KH18       Discuss committee protocol with co-chair           1.70   2,075.00   3,527.50
                        (.6); call with K. Pasquale regarding
                        committee member questions (.2);
                        discussions with committee member
                        regarding questions and case process (.9)
06/08/2023   LK19       Email UCC members regarding June 9,                0.40    855.00     342.00
                        2023 hearing and recent filings
06/09/2023   BK12       Participate in monetization subcommittee           1.60   1,625.00   2,600.00
                        call with F. Risler, K. Hansen, E. Gilad, E.
                        Sibbitt, G. Sasson, L. Koch, F. Merola
06/09/2023   CX3        Correspond with Committee member                   1.50    915.00    1,372.50
                        regarding plan recovery questions (.2);
                        analyze same (0.3); review plan recovery
                        projections (0.3); draft email to E. Gilad
                        with responsive analysis for Committee
                        member (0.7)
06/09/2023   EG18       Participate in coin monetization                   1.60   1,875.00   3,000.00
                        subcommittee meeting with K. Hansen, E.
                        Sibbitt, B. Kelly, G. Sasson, F. Merola
                        (portion), L. Koch
06/09/2023   EG18       Telephone conference with certain UCC              0.60   1,875.00   1,125.00
                        members regarding 2.0 RFP process
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Date         Initials   Description                                     Hours       Rate    Amount
06/09/2023   ECS3       Participate in monetization subcommittee          1.60   1,550.00   2,480.00
                        meeting with F. Risler (FTI), M. Diodato
                        (FTI), K. Hansen, E. Gilad, G. Sasson, E.
                        Sibbitt, B. Kelly, F. Merola
06/09/2023   FM7        Correspond with UCC regarding recent              1.30   1,875.00   2,437.50
                        Genesis motions (0.2); correspond with
                        UCC regarding 5005 (0.2); participate in
                        portion of coin monetization subcommittee
                        meeting with FTI, E. Gilad, G. Sasson, E.
                        Sibbitt, K. Hansen, B. Kelly, L. Koch (0.5);
                        correspond with Jefferies (R. Hamilton)
                        regarding UCC meeting agenda (0.2); revise
                        draft UCC case update correspondence
                        (0.2)
06/09/2023   GS13       Telephone conference with coin and                2.40   1,625.00   3,900.00
                        monetization subcommittee with FTI, K.
                        Hansen, E. Gilad, E. Sibbitt, F. Merola
                        (portion), B. Kelly, L. Koch (1.6); telephone
                        conference with Committee member
                        regarding sale process (.8)
06/09/2023   JI2        Prepare committee meeting agenda (.7);            2.00   1,125.00   2,250.00
                        correspond with G. Sasson and L. Koch re
                        same (.4); correspond with K. Hansen and
                        K. Pasquale re same (.1); review documents
                        from Jefferies and FTI for upcoming
                        committee meeting (.8)
06/09/2023   KH18       Attend UCC coin monetization                      1.60   2,075.00   3,320.00
                        subcommittee meeting with E. Gilad, E.
                        Sibbitt, G. Sasson, B. Kelly, F. Merola
                        (portion), L. Koch
06/09/2023   LK19       Emails with G. Sasson and J. Iaffaldano           0.50    855.00     427.50
                        regarding agenda and documents for
                        06/14/23 Committee meeting
06/09/2023   LK19       Attend and take minutes during coin               1.90    855.00    1,624.50
                        subcommittee meeting with F. Risler (FTI),
                        M. Diodato (FTI), K. Hansen, G. Sasson,
                        E. Sibbitt, E. Gilad, F. Merola (portion), B.
                        Kelly (1.6); emails to Committee members
                        regarding recent filings in Genesis
                        bankruptcy (0.3)
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06/10/2023   FM7        Correspond with Committee member                    0.40   1,875.00    750.00
                        regarding redaction of creditor list (0.2);
                        correspond with Committee member
                        regarding fee budget (0.2)
06/10/2023   FM7        Correspond with monetization                        0.20   1,875.00    375.00
                        subcommittee regarding fair market value
06/10/2023   KP17       Emails with Committee members re sealing            0.50   1,875.00    937.50
                        issues (.3); emails with Committee member
                        re plan questions (.2)
06/10/2023   KH18       Analyze and comment on committee                    1.20   2,075.00   2,490.00
                        protocol and strategy re same
06/11/2023   KP17       Emails with K. Hansen, Committee                    0.30   1,875.00    562.50
                        member re plan issues
06/11/2023   KH18       Discussions with committee member re                0.90   2,075.00   1,867.50
                        committee protocol and next steps
06/12/2023   BK12       Participate in monetization subcommittee            1.60   1,625.00   2,600.00
                        call with S. Simms and M. Diodato, K.
                        Hansen, E. Gilad, G. Sasson, F. Merola, C.
                        Diaz, K. Catalano, I. Sasson (1.1);
                        participate in portion of UCC advisors
                        update call to prep for UCC meeting (0.5)
06/12/2023   CD19       Review FTI monetization presentation (.4);          1.50   1,125.00   1,687.50
                        attend monetization subcommittee call with
                        K. Hansen, G. Sasson , E. Gilad, B. Kelly,
                        F. Merola, K. Catalano, I. Sasson (1.1)
06/12/2023   EG18       Telephone conference with UCC member                0.70   1,875.00   1,312.50
                        regarding general case matters and inquiries
06/12/2023   EG18       Participate in coin monetization                    1.10   1,875.00   2,062.50
                        subcommittee meeting with K. Hansen, G.
                        Sasson, B. Kelly, F. Merola, C. Diaz, K.
                        Catalano, I. Sasson
06/12/2023   EG18       UCC advisor telephone conference                    1.00   1,875.00   1,875.00
                        regarding case matters and prep for UCC
                        meeting
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Date         Initials   Description                                     Hours       Rate    Amount
06/12/2023   FM7        Telephone conference with coin                    2.10   1,875.00   3,937.50
                        monetization subcommittee with K.
                        Hansen, E. Gilad, G. Sasson, B. Kelly, C.
                        Diaz, I. Sasson, K. Catalano (1.1);
                        correspond with Committee member
                        regarding sealing motion (0.3); correspond
                        with coin monetization subcommittee
                        regarding locked tokens (0.2); telephone
                        conference (portion) with UCC
                        professionals regarding pending matters and
                        UCC call prep (0.5)
06/12/2023   GS13       Review documents for coin subcommittee            3.30   1,625.00   5,362.50
                        meeting (.3); participate in coin
                        subcommittee meeting with K. Hansen, E.
                        Gilad, B. Kelly, F. Merola, K. Catalano, I.
                        Sasson, C. Diaz (1.1); telephone conference
                        with I. Sasson, Committee member and
                        counsel regarding plan and case matters (.9);
                        telephone conference with UCC advisors to
                        prepare for committee telephone
                        conference (1.0)
06/12/2023   IS6        Attend coin monetization subcommittee             3.00   1,290.00   3,870.00
                        call with K. Hansen, E. Gilad, G. Sasson, B.
                        Kelly, C. Diaz, F. Merola, K. Catalano re
                        coin valuation (1.1); call with Committee
                        member and G. Sasson re plan and case
                        issues (.9); prep call with K. Pasquale re
                        same and UCC plan update (.5); attend
                        portion of UCC advisor call regarding
                        agenda and documents for UCC meeting
                        (.5)
06/12/2023   KP17       Prep call with I. Sasson regarding                2.90   1,875.00   5,437.50
                        Committee plan update (.5); call with
                        Committee member re plan issues (1.3); call
                        with customer ad hoc group rep and K.
                        Hansen re tax claims (.6); participate in
                        portion of all with Committee advisors re
                        case matters and prep for Committee
                        meeting (.5)
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Date         Initials   Description                                    Hours       Rate    Amount
06/12/2023   KH18       Attend monetization subcommittee meeting         2.10   2,075.00   4,357.50
                        with E. Gilad, B. Kelly, F. Merola, K.
                        Catalano, I. Sasson, G. Sasson, C. Diaz
                        (1.1); telephone conference with Committee
                        advisors regarding case matters and prep for
                        Committee call (1.0)
06/12/2023   KH18       Discussion with ad hoc committee and K.          0.60   2,075.00   1,245.00
                        Pasquale re tax claims
06/12/2023   KC27       Attend monetization subcommittee meeting         1.10    915.00    1,006.50
                        with K. Hansen, E. Gilad, G. Sasson, C.
                        Diaz, B. Kelly, F. Merola, I. Sasson
                        regarding coin valuation
06/12/2023   LED        Review correspondence from committee             1.20   1,425.00   1,710.00
                        members regarding monetization (.2);
                        attend UCC advisors meeting regarding case
                        matters and prep for UCC call (1.0)
06/12/2023   LK19       Attend UCC advisor call regarding agenda         1.00    855.00     855.00
                        and documents for 06/14/23 Committee
                        meeting
06/12/2023   LK19       Email B. Bromberg (FTI) and D. Homrich           0.50    855.00     427.50
                        (Jefferies) regarding agenda and documents
                        for 06/14/23 Committee meeting (0.3);
                        emails with J. Iaffaldano and G. Sasson
                        regarding agenda and documents for
                        06/14/23 Committee meeting (0.2)
06/12/2023   MM57       Correspond with G. Sasson and L. Hultgren        0.40    540.00     216.00
                        (Jefferies) re: posting professional fee
                        statements on UCC website (.1); research
                        regarding professional fee statements (.3)
06/13/2023   CX3        Telephone conference with Committee              1.00    915.00     915.00
                        member and E. Gilad regarding plan and
                        case questions
06/13/2023   EG18       Telephone conference with UCC member             1.00   1,875.00   1,875.00
                        and C. Xu regarding plan and general case
                        questions
06/13/2023   EG18       Telephone conferences with UCC members           0.40   1,875.00    750.00
                        regarding derivative positions
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Date         Initials   Description                                   Hours         Rate    Amount
06/13/2023   FM7        Review UCC correspondence regarding               1.10   1,875.00   2,062.50
                        meeting agenda (0.2); analyze investigation
                        and litigation update deck for UCC (0.2);
                        analyze FTI budget update for UCC (0.3);
                        review FTI UCC correspondence regarding
                        coin management (0.2); review UCC
                        correspondence regarding 5005 documents
                        (0.2)
06/13/2023   KP17       Review Jefferies deck to Committee re             1.10   1,875.00   2,062.50
                        [5005] (.3); emails with Committee
                        members re creditor inquiries (.2); review
                        presentation documents in preparation for
                        Committee meeting (.6)
06/13/2023   LK19       Emails with Committee members regarding           0.40    855.00     342.00
                        agenda and documents for 06/14/23
                        Committee meeting
06/13/2023   LK19       Conference with G. Kayal regarding case           0.90    855.00     769.50
                        matters and UCC 06/14/23 meeting (0.3);
                        emails with G. Sasson and J. Iaffaldano
                        regarding agenda and documents for
                        06/14/23 Committee meeting (0.6)
06/14/2023   BK12       Participate in UCC update call                    2.50   1,625.00   4,062.50
06/14/2023   BK12       Correspond with K. Pasquale, R. Hamilton          1.20   1,625.00   1,950.00
                        and M. Wu re: [5082] (0.3); review
                        underlying documents re: same (0.5);
                        follow-up correspondence with E. Sibbitt
                        re: [5082] (0.4)
06/14/2023   CD19       Correspond with monetization                      0.30   1,125.00    337.50
                        subcommittee re third party data providers
06/14/2023   CD5        Participate in UCC meeting                        2.50   1,700.00   4,250.00
06/14/2023   EG18       Review certain submissions referenced in          0.50   1,875.00    937.50
                        agenda to prepare for UCC meeting
06/14/2023   EG18       Attend UCC meeting                                2.50   1,875.00   4,687.50
06/14/2023   ECS3       Participate in UCC meeting                        2.50   1,550.00   3,875.00
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Date         Initials   Description                                     Hours       Rate    Amount
06/14/2023   FM7        Participate in UCC meeting (2.5); review          3.60   1,875.00   6,750.00
                        UCC correspondence regarding 5036 term
                        sheet (0.2); review UCC correspondence
                        regarding John Ray update meeting (0.2);
                        review UCC correspondence regarding case
                        professionals' fee applications (0.1); review
                        FTI correspondence to monetization
                        subcommittee regarding monetization
                        protocol (0.2); review Jefferies agenda
                        regarding reboot meeting (0.2); review FTI
                        (Risler) correspondence to UCC regarding
                        coin metrics (0.2)
06/14/2023   GS13       Participate in committee telephone                2.50   1,625.00   4,062.50
                        conference
06/14/2023   KP17       Review Committee presentations and                3.00   1,875.00   5,625.00
                        certain referenced documents (.3);
                        participate in Committee meeting (2.5);
                        emails with Committee re [5036] proposal
                        (.2)
06/14/2023   KH18       Review advisor presentations and certain          2.90   2,075.00   6,017.50
                        referenced documents for UCC meeting
                        (.4); lead UCC meeting (2.5)
06/14/2023   LED        Attend portion of committee call                  1.50   1,425.00   2,137.50
06/14/2023   LK19       Attend and take minutes during Committee          2.80    855.00    2,394.00
                        meeting (2.5); email Committee members
                        regarding second interim fee application
                        (0.3)
06/14/2023   MEG9       Review deck on 5005 from D. Homrich               1.40   1,425.00   1,995.00
                        (Jefferies) (0.3); review investigations and
                        litigation presentation for UCC (0.4); review
                        budget update presentation for UCC (0.2);
                        review committee call agenda (0.1); review
                        email and accompanying documents from J.
                        de Brignac to Committee member regarding
                        token issues (0.2); review emails with
                        Committee members on monetization
                        subcommittee (0.2)
06/14/2023   SAQ        Attend UCC meeting (2.5); prepare notes           2.60   1,125.00   2,925.00
                        regarding regulatory follow up (.1)
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Date         Initials   Description                                     Hours       Rate    Amount
06/15/2023   BK12       Participate in pre-call with M. O'Hara and        0.90   1,625.00   1,462.50
                        UCC members, K. Hansen, E. Gilad, E.
                        Sibbitt, G. Sasson, C. Daniel, F. Merola to
                        prepare for meeting with J. Ray re: reboot
                        (0.3); call with R. Hamilton and UCC
                        member re: reboot (0.6)
06/15/2023   CD5        Participate in prep call with Jefferies, K.       0.30   1,700.00    510.00
                        Hansen, E. Sibbitt, G. Sasson, E. Gilad, F.
                        Merola, B. Kelly, UCC subcommittee in
                        advance of 2.0 call with Debtors
06/15/2023   EG18       Telephone conference with UCC member              0.70   1,875.00   1,312.50
                        regarding 2.0 and claim valuation
06/15/2023   EG18       Correspond with UCC member regarding              0.30   1,875.00    562.50
                        2.0
06/15/2023   EG18       Correspond with G. Sasson regarding UCC           0.30   1,875.00    562.50
                        twitter communication
06/15/2023   EG18       Pre-telephone conference with 2.0 sub-            0.80   1,875.00   1,500.00
                        committee, K. Hansen, G. Sasson, E.
                        Sibbitt, C. Daniel, B. Kelly, F. Merola
                        regarding PWP 2.0 update (0.3); follow up
                        telephone conference with UCC members
                        regarding FTX 2.0 process (0.5)
06/15/2023   ECS3       Prep call with UCC subcommittee, Jefferies,       0.60   1,550.00    930.00
                        K. Hansen, G. Sasson, E. Gilad, B. Kelly, C.
                        Daniel, F. Merola in advance of 2.0 call with
                        Debtors (.3); outline notes/questions for
                        Debtor 2.0 call (.3)
06/15/2023   FM7        Review UCC correspondence regarding               1.20   1,875.00   2,250.00
                        5082 tokens (0.3); review Jefferies (R.
                        Hamilton) correspondence to reboot
                        subcommittee regarding FTX 2.0 (0.2);
                        review Committee member correspondence
                        regarding perpetuals and options (0.2);
                        telephone conference with Jefferies, UCC
                        subcommittee, K. Hansen, E. Gilad, E.
                        Sibbitt, G. Sasson, C. Daniel, B. Kelly, and
                        Committee member regarding reboot (0.3);
                        correspond with UCC regarding D1
                        Ventures motion re Crypto (0.2)
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Date         Initials   Description                                     Hours        Rate    Amount
06/15/2023   GS13       Prep telephone conference with M. O'Hara,          0.30   1,625.00    487.50
                        UCC subcommittee, K. Hansen, E. Gilad,
                        E. Sibbitt, C. Daniel, F. Merola, B. Kelly
                        regarding Debtors' 2.0 telephone
                        conference
06/15/2023   KP17       Correspond with G. Sasson re Committee             1.10   1,875.00   2,062.50
                        member issue (.2); revise letter to UST re
                        same (.3); review and revise draft plan legal
                        issues deck for Committee (.6)
06/15/2023   KH18       Discussions with committee member re 2.0           1.70   2,075.00   3,527.50
                        (.5); analyze UCC bylaws and UCC member
                        conflict management (1.2)
06/15/2023   KH18       Prep telephone conference with B. Kelly, E.        0.30   2,075.00    622.50
                        Sibbitt, G. Sasson, C. Daniel, E. Gilad, F.
                        Merola, M. O'Hara (Jefferies), UCC
                        subcommittee regarding 2.0 call with
                        Debtors
06/16/2023   EG18       Telephone conference with UCC member               0.60   1,875.00   1,125.00
                        and K. Hansen regarding 2.0 process
06/16/2023   FM7        Correspond with Committee member                   0.20   1,875.00    375.00
                        regarding digital assets
06/16/2023   KP17       Emails with Committee member re                    0.20   1,875.00    375.00
                        investigation question
06/16/2023   KH18       Discussions with committee member and              1.70   2,075.00   3,527.50
                        E. Gilad re 2.0 (.6); draft document re same
                        (1.1)
06/16/2023   LK19       Email G. Sasson regarding agenda and               0.30    855.00     256.50
                        documents for 06/21/23 Committee
                        meeting
06/18/2023   FM7        Correspond with Committee member                   0.40   1,875.00    750.00
                        regarding D1 Ventures motion for return of
                        postpetition deposits (0.2); correspond with
                        Committee member regarding D1 Ventures
                        motion for return of postpetition deposits
                        (0.2)
06/19/2023   BK12       Participate in UCC advisors call with S.           0.60   1,625.00    975.00
                        Simms, M. O'Hara regarding agenda for
                        UCC meeting
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06/19/2023   CD19       Update call with UCC advisors re case               0.60   1,125.00    675.00
                        updates and prep for UCC meeting
06/19/2023   EG18       Correspond with Jefferies and UCC                   0.30   1,875.00    562.50
                        members regarding 2.0 RFP process
06/19/2023   ECS3       Participate in UCC advisors call regarding          0.60   1,550.00    930.00
                        case updates and prep for UCC meeting
06/19/2023   FM7        Review Committee member                             0.60   1,875.00   1,125.00
                        correspondence regarding resignation (0.2);
                        correspond with Eversheds (Broderick)
                        regarding D1 Ventures motion for return of
                        postpetition deposits (0.2); review UCC
                        correspondence regarding 5082 (0.2)
06/19/2023   GS13       Call with Jefferies and FTI to prep for             0.60   1,625.00    975.00
                        committee call
06/19/2023   IS6        Participate in committee professionals call         0.60   1,290.00    774.00
                        regarding case updates and prep for
                        committee call
06/19/2023   JI2        Attend UCC professionals call re                    0.60   1,125.00    675.00
                        preparation for UCC meeting
06/19/2023   KP17       Correspond with K. Hansen re member                 1.20   1,875.00   2,250.00
                        resignation (.2); revise resignation letter and
                        emails with Committee member re same
                        (.4); call with Committee advisors in prep
                        for Committee meeting (.6)
06/19/2023   KH18       Telephone conference with Committee                 0.60   2,075.00   1,245.00
                        professionals regarding case matters and
                        prep for Committee meeting
06/19/2023   LK19       Attend meeting of UCC advisors regarding            0.60    855.00     513.00
                        prep for 06/21/23 Committee meeting
06/19/2023   MEG9       Review Committee member resignation                 0.70   1,425.00    997.50
                        email (0.1); call with UCC professionals
                        regarding case matters and UCC call prep
                        (0.6)
06/20/2023   CD19       Review Committee member resignation                 0.20   1,125.00    225.00
                        letter
06/20/2023   EG18       Correspond with K. Hansen, K. Pasquale,             0.30   1,875.00    562.50
                        G. Sasson regarding UCC member
                        resignation
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Date         Initials   Description                                     Hours       Rate    Amount
06/20/2023   EG18       Telephone conference with UCC member              1.00   1,875.00   1,875.00
                        regarding plan and related inquiries
06/20/2023   FM7        Review Committee member                           1.00   1,875.00   1,875.00
                        correspondence with U.S. Trustee regarding
                        resignation (0.1); review UCC update
                        correspondence regarding 5082 and
                        customer bar date (0.2); review revised UCC
                        plan structure analysis (0.5); review UCC
                        correspondence regarding 6/21/23 UCC
                        meeting and agenda (0.2)
06/20/2023   JI2        Correspond with Committee members re              0.60   1,125.00    675.00
                        reminting issues
06/20/2023   KP17       Correspond with K. Hansen re Committee            0.20   1,875.00    375.00
                        meeting agenda
06/20/2023   LK19       Review Debtors' fee statements in response        1.30    855.00    1,111.50
                        to Committee member questions (0.2);
                        email with Committee member regarding
                        same (0.3); email Committee members
                        regarding 06/21/23 Committee meeting
                        (0.1); emails with Committee members
                        regarding 5082 motion for relief from stay
                        and customer bar date motion (0.4); emails
                        with Committee members regarding
                        presentation documents for 06/21/23
                        Committee meeting (0.3)
06/20/2023   LK19       Correspond with G. Sasson and I. Sasson           0.60    855.00     513.00
                        regarding advisor presentations for
                        06/21/23 Committee meeting
06/21/2023   BK12       Participate in portion of UCC update call re:     0.80   1,625.00   1,300.00
                        sales of [5005] and [5089] and chapter 11
                        plan considerations
06/21/2023   CD5        Participate in portion of UCC meeting             0.80   1,700.00   1,360.00
06/21/2023   EG18       Attend UCC meeting regarding plan (1.4);          1.80   1,875.00   3,375.00
                        follow up review of committee member
                        questions regarding same (.4)
06/21/2023   ECS3       Attend UCC meeting                                1.40   1,550.00   2,170.00
06/21/2023   FM7        Participate in UCC meeting (1.4)                  1.40   1,875.00   2,625.00
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Date         Initials   Description                                    Hours       Rate    Amount
06/21/2023   GS13       Review issues and annotate agenda for UCC        2.90   1,625.00   4,712.50
                        telephone conference (.6); participate in
                        UCC telephone conference (1.4); outline
                        questions discussed and related next steps
                        in plan approach (.9)
06/21/2023   IS6        Call with Committee re outstanding plan          1.40   1,290.00   1,806.00
                        issues and potential objections
06/21/2023   KP17       Review Committee presentations (.4);             1.80   1,875.00   3,375.00
                        participate in Committee meeting (1.4)
06/21/2023   KH18       Review UCC plan presentation (.2);               1.60   2,075.00   3,320.00
                        participate in UCC plan meeting (1.4)
06/21/2023   LED        Attend portion of UCC meeting                    0.90   1,425.00   1,282.50
06/21/2023   LK19       Prepare notes for Committee meeting (0.3);       1.70    855.00    1,453.50
                        attend Committee meeting (1.4)
06/21/2023   MEG9       Call with UCC                                    1.40   1,425.00   1,995.00
06/21/2023   SAQ        Attend UCC meeting                               1.40   1,125.00   1,575.00
06/22/2023   EG18       Review FTI coin deck (0.2); participate in       1.10   1,875.00   2,062.50
                        coin subcommittee telephone conference
                        with E. Sibbitt, G. Sasson, K. Hansen, F.
                        Merola, L. Greenbacker, K. Catalano (0.9)
06/22/2023   EG18       Correspond with UCC members regarding            0.90   1,875.00   1,687.50
                        limited objection to Sequoia sale (.4);
                        telephone conferences with UCC members
                        regarding same (.5)
06/22/2023   EG18       Pre-telephone conference with UCC                0.30   1,875.00    562.50
                        member, K. Hansen, E. Sibbitt regarding
                        FTX 2.0
06/22/2023   ECS3       Pre-debtor telephone conference with K.          0.30   1,550.00    465.00
                        Hansen, E. Gilad, UCC members to discuss
                        2.0 bid structures
06/22/2023   ECS3       Participate in monetization subcommittee         0.90   1,550.00   1,395.00
                        call with K. Hansen, G. Sasson, E. Gilad, F.
                        Merola, L. Greenbacker, K. Catalano
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Date         Initials   Description                                   Hours         Rate    Amount
06/22/2023   FM7        Telephone conference with UCC coin                1.00   1,875.00   1,875.00
                        monetization subcommittee, K. Hansen, E.
                        Gilad, E. Sibbitt, G. Sasson, L.
                        Greenbacker, K. Catalano (0.9); correspond
                        with UCC regarding Kives/K5 complaint
                        (0.1)
06/22/2023   GS13       Review coin presentation and comment on           1.60   1,625.00   2,600.00
                        same (.7); participate in coin subcommittee
                        meeting with E. Gilad, K. Hansen, E.
                        Sibbitt, F. Merola, K. Catalano, L.
                        Greenbacker (.9)
06/22/2023   KH18       Pre-Debtor telephone conference with              0.30   2,075.00    622.50
                        UCC member, E. Gilad, and E. Sibbitt
                        regarding 2.0
06/22/2023   KH18       Participate in UCC monetization                   1.70   2,075.00   3,527.50
                        subcommittee meeting with E. Gilad, G.
                        Sasson, E. Sibbitt, F. Merola, L.
                        Greenbacker, K. Catalano (.9); telephone
                        conference with UCC members regarding
                        case updates and inquiries (.8)
06/22/2023   KC27       Attend monetization subcommittee meeting          0.90    915.00     823.50
                        with K. Hansen, E. Gilad, G. Sasson, E.
                        Sibbitt, F. Merola, L. Greenbacker
06/22/2023   LED        Attend portion of monetization                    0.50   1,425.00    712.50
                        subcommittee meeting with K. Hansen, E.
                        Sibbitt, E. Gilad, G. Sasson, F. Merola, K.
                        Catalano
06/22/2023   LK19       Review notes from recent Committee                0.40    855.00     342.00
                        meeting regarding 5076 (.3); summarize
                        same for K. Pasquale (.1)
06/22/2023   LK19       Email Committee members regarding                 0.60    855.00     513.00
                        summary of adversary complaint against K5
06/23/2023   FM7        Review Jefferies correspondence to UCC            0.20   1,875.00    375.00
                        regarding 5076 capital call (0.2)
06/23/2023   IS6        Call with Committee member and K.                 0.80   1,290.00   1,032.00
                        Pasquale re outstanding investigations,
                        litigations and next steps
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06/23/2023   KP17       Call with Committee member, I. Sasson re            0.80   1,875.00   1,500.00
                        UCC investigations and related targets,
                        topics
06/23/2023   LK19       Correspond with G. Sasson, D. Homrich               0.40    855.00     342.00
                        (Jefferies), R. Hamilton (Jefferies), and L.
                        Hultgren (Jefferies) regarding agenda and
                        presentations for 06/28/23 Committee
                        meeting
06/24/2023   FM7        Correspond with Committee member                    0.20   1,875.00    375.00
                        regarding 5076 capital call
06/25/2023   FM7        Correspond with UCC regarding Wall Street           0.40   1,875.00    750.00
                        Journal article discussing outreach (0.2);
                        correspond with Committee regarding 5005
                        (0.2)
06/25/2023   LK19       Review draft agenda for 06/28/23                    0.60    855.00     513.00
                        Committee meeting (0.2); email K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson regarding
                        agenda and presentations for 06/28/23
                        Committee meeting (0.4)
06/26/2023   BL10       Call with UCC advisors re case matters and          0.70   1,290.00    903.00
                        agenda for UCC call
06/26/2023   BK12       Participate in portion of UCC advisor               0.50   1,625.00    812.50
                        update call re: case matters and UCC call
                        prep
06/26/2023   CD19       Call with UCC advisors re case updates and          0.70   1,125.00    787.50
                        preparation for UCC meeting
06/26/2023   CD19       Correspond with FTI re presentation to              0.50   1,125.00    562.50
                        monetization subcommittee (.2); review
                        deck on same (.3)
06/26/2023   EG18       Participate in UCC advisor telephone                0.70   1,875.00   1,312.50
                        conference regarding case matters and prep
                        for UCC meeting
06/26/2023   ECS3       Participate in UCC advisors call                    0.70   1,550.00   1,085.00
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06/26/2023   FM7        Correspond with UCC regarding 5089                1.50   1,875.00   2,812.50
                        compromise (0.2); correspond with UCC
                        regarding WSJ article (0.2); telephone
                        conference with UCC professionals
                        regarding UCC meeting prep (0.7); follow
                        up correspondence with UCC regarding
                        5089 compromise (0.2); review UCC
                        correspondence regarding 6/28/23 hearing
                        (0.2)
06/26/2023   IS6        Call with UCC professionals regarding case        0.70   1,290.00    903.00
                        updates and prep for UCC meeting
06/26/2023   KP17       Call with FTI, Jefferies re Committee             0.70   1,875.00   1,312.50
                        meeting agenda
06/26/2023   LK19       Attend portions of UCC advisors meeting           1.40    855.00    1,197.00
                        regarding case matters and prep for UCC
                        call (0.5); email Committee members
                        regarding customer claims and identifying
                        information (0.5); emails with Committee
                        members regarding 06/28/23 omnibus
                        hearing (0.4)
06/26/2023   LK19       Email K. Hansen, K. Pasquale, E. Gilad, G.        0.50    855.00     427.50
                        Sasson regarding agenda and presentation
                        documents for 06/28/23 Committee
                        meeting
06/26/2023   MEG9       Participate in UCC professionals call re case     0.70   1,425.00    997.50
                        matters and UCC call prep
06/27/2023   CD5        Participate in portion of UCC advisors call       0.40   1,700.00    680.00
                        regarding pending matters and prep for
                        UCC meeting
06/27/2023   EG18       Participate in UCC advisor telephone              0.80   1,875.00   1,500.00
                        conference regarding pending matters and
                        prep for UCC meeting on plan term sheet
06/27/2023   ECS3       Participate in call with UCC advisors to          0.80   1,550.00   1,240.00
                        prep for UCC meeting on plan term sheet
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Date         Initials   Description                                     Hours       Rate    Amount
06/27/2023   FM7        Analyze documents for monetization                1.40   1,875.00   2,625.00
                        subcommittee meeting (0.3); review UCC
                        correspondence regarding fund process
                        update documents (0.2); analyze UCC
                        documents regarding 5036 situation
                        overview (0.2); analyze revised recovery
                        analysis for UCC (0.3); analyze investigation
                        update presentation for UCC (0.2); review
                        UCC correspondence regarding meeting
                        agenda and presentations (0.2)
06/27/2023   GS13       Telephone conference with UCC advisors            1.50   1,625.00   2,437.50
                        to prep for Committee telephone
                        conference and review plan term sheet (.8);
                        review presentations for committee
                        conference (.7)
06/27/2023   KP17       Revise litigation documents for Committee         1.70   1,875.00   3,187.50
                        meeting (.8); review presentations in
                        preparation for Committee meeting (.6);
                        emails with Committee member re
                        investigation issues (.3)
06/27/2023   KH18       Review and annotate agenda for UCC                1.50   2,075.00   3,112.50
                        meeting (.7); review UCC meeting
                        presentations (.8)
06/27/2023   LK19       Review and comment on presentations for           1.80    855.00    1,539.00
                        06/28/23 Committee meeting (1.3); review
                        and comment on agenda for 06/28/23
                        Committee meeting (0.4); telephone
                        conference with L. Hultgren (Jefferies)
                        regarding presentation for 06/28/23
                        Committee meeting (0.1)
06/27/2023   LK19       Email Committee members regarding                 0.60    855.00     513.00
                        agenda and presentation documents for
                        06/28/23 Committee meeting (0.4); email
                        certain Committee members regarding
                        conflicts issues (0.1); email certain
                        Committee members regarding customer
                        claims identifying information (0.1)
06/27/2023   MEG9       Review proposed agenda for UCC call (0.2);        0.30   1,425.00    427.50
                        review Committee member response to
                        Sequoia settlement (0.1)
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Date         Initials   Description                                      Hours      Rate    Amount
06/28/2023   BK12       Participate in UCC meeting re: M&A and            2.20   1,625.00   3,575.00
                        related case matters
06/28/2023   CD5        Participate in portion of UCC meeting re:         1.30   1,700.00   2,210.00
                        Fintech and regulatory issues
06/28/2023   EG18       Participate in UCC meeting                        2.20   1,875.00   4,125.00
06/28/2023   ECS3       Participate in UCC meeting                        2.20   1,550.00   3,410.00
06/28/2023   FM7        Participate in UCC meeting re: sale issues        2.20   1,875.00   4,125.00
06/28/2023   GS13       Participate in Committee telephone                2.80   1,625.00   4,550.00
                        conference (2.2); review certain issues, notes
                        to prepare for committee telephone
                        conference (.6)
06/28/2023   IS6        Participate in Committee meeting re plan          2.20   1,290.00   2,838.00
                        and 5036 related issues
06/28/2023   KP17       Review [5036] documents and related UCC           3.00   1,875.00   5,625.00
                        presentation (.5); participate in Committee
                        meeting (2.2); emails with Committee
                        member re [5036] (.3)
06/28/2023   KH18       Lead UCC meeting                                  2.20   2,075.00   4,565.00
06/28/2023   LED        Attend portion of UCC meeting                     1.60   1,425.00   2,280.00
06/28/2023   LK19       Attend and take minutes during Committee          2.20    855.00    1,881.00
                        meeting
06/28/2023   LK19       Review recent filings for inclusion on UCC        1.20    855.00    1,026.00
                        website
06/28/2023   MEG9       Participate in UCC meeting                        2.20   1,425.00   3,135.00
06/28/2023   SAQ        Attend part of UCC meeting                        2.10   1,125.00   2,362.50
06/29/2023   KP17       Call with Committee member re                     0.30   1,875.00    562.50
                        subcommittee issue (.1); emails with G.
                        Sasson re same (.2)
06/29/2023   KC27       Prepare notes for coin subcommittee               0.10    915.00      91.50
                        meeting for 6/30/23
06/29/2023   LK19       Correspond with C. Diaz and G. Sasson             0.80    855.00     684.00
                        regarding key documents to be included on
                        UCC's website
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Date         Initials   Description                                      Hours       Rate      Amount
06/30/2023   CD19       Call with coin monetization subcommittee,          0.70   1,125.00      787.50
                        E. Gilad, G. Sasson, K. Catalano (.4);
                        correspond with FTI and monetization
                        subcommittee re same (.3)
06/30/2023   CX3        Call with Committee member regarding               0.50    915.00       457.50
                        case strategy and general updates (0.3); draft
                        summary of same (0.2)
06/30/2023   EG18       Participate in coin monetization telephone         0.40   1,875.00      750.00
                        conference with subcommittee, G. Sasson,
                        K. Catalano, C. Diaz
06/30/2023   EG18       Telephone conference with certain UCC              1.30   1,875.00     2,437.50
                        members, K. Pasquale, G. Sasson, I. Sasson
                        regarding plan and plan strategy
06/30/2023   EG18       Telephone conference with UCC member               0.20   1,875.00      375.00
                        regarding 2.0 process
06/30/2023   FM7        Correspond with Committee member                   0.30   1,875.00      562.50
                        regarding 50050 (0.1); review Jefferies
                        correspondence to UCC regarding reboot
                        update (0.2)
06/30/2023   GS13       Telephone conference with coin                     1.70   1,625.00     2,762.50
                        subcommittee, E. Gilad, K. Catalano, C.
                        Diaz (.4); telephone conference with
                        committee members, K. Pasquale, E. Gilad,
                        I. Sasson regarding plan term sheet (1.3)
06/30/2023   IS6        Call with Committee chairs, K. Pasquale, E.        1.30   1,290.00     1,677.00
                        Gilad, G. Sasson re outstanding plan issues
06/30/2023   KP17       Call with Committee chairs, E. Gilad, G.           1.30   1,875.00     2,437.50
                        Sasson, I. Sasson re plan issues
06/30/2023   KC27       Call with coin monetization subcommittee,          0.40    915.00       366.00
                        E. Gilad, G. Sasson, C. Diaz
             Subtotal: B150 Meetings of and Communications               247.80              392,924.00
                       with Creditors
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Date         Initials   Description                                      Hours       Rate    Amount

B155   Court Hearings
06/01/2023   KP17       Correspond with debtors, JPLs, UST re              0.50   1,875.00    937.50
                        June 8 court schedule (.3); correspond with
                        J. Sheridan (Committee witness) re same
                        (.2)
06/05/2023   KP17       Review pertinent submissions in                    2.40   1,875.00   4,500.00
                        preparation for hearing on Genesis claims
                        estimation motion re FTX (.5); participate
                        in Genesis court hearing re FTX claims
                        estimation, exclusivity, and mediation (1.6);
                        emails with R. Poppiti (YCST) re June 8
                        hearing and related filings (.3)
06/05/2023   LK19       Attend and take notes on Genesis hearing           1.90    855.00    1,624.50
                        on exclusivity, mediation, and FTX claims
                        estimation motion (1.6); prepare summary
                        of same for I. Sasson (0.3)
06/05/2023   ML30       Monitor the Genesis hearing on plan                3.20    540.00    1,728.00
                        exclusivity, mediation, and claims
                        estimation motion (1.6); review submissions
                        regarding same (1.2); prepare notes
                        regarding same (.4)
06/05/2023   MM57       Monitor parts of and run listen only line for      0.70    540.00     378.00
                        Genesis hearing on plan exclusivity,
                        mediation, and claims examination
06/07/2023   KH18       Review submissions and prepare outline for         1.20   2,075.00   2,490.00
                        hearing on JPL lift stay motion and motion
                        to seal
06/08/2023   CD19       Review submissions and prepare notes for           8.00   1,125.00   9,000.00
                        hearing on JPL lift stay motion and motion
                        to seal (2.5); attend hearing on JPL lift stay
                        motion and motion to seal (5.3); correspond
                        with K. Hansen, K. Pasquale, I. Sasson and
                        Young Conaway re same (.2)
06/08/2023   EG18       Telephonically participate in portion of           1.50   1,875.00   2,812.50
                        hearing JPL lift stay request and motion to
                        seal
06/08/2023   FM7        Monitor part of the omnibus hearing                2.40   1,875.00   4,500.00
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Date         Initials   Description                                     Hours         Rate     Amount
06/08/2023   IS6        Review and supplement hearing notes for             6.30   1,290.00    8,127.00
                        JPL lift stay hearing and sealing hearing
                        (1.0); attend hearing on JPL motion to lift
                        stay and sealing issues (5.3)
06/08/2023   KP17       Review hearing outlines for sealing motion          6.70   1,875.00   12,562.50
                        and JPL lift stay motion (.8); participate in
                        court hearing on sealing motion and JPL lift
                        stay motion (5.3); revise hearing outline re
                        sealing motion (.6)
06/08/2023   KH18       Review issues and supplement outline for            5.60   2,075.00   11,620.00
                        hearing on JPL lift stay motion and motion
                        to seal (.3); attend hearing on JPL lift stay
                        motion and motion to seal (5.3)
06/08/2023   LK19       Attend portions of hearing on JPL lift stay         1.50    855.00     1,282.50
                        motion
06/08/2023   ML30       Monitor part of the omnibus hearing                 3.50    540.00     1,890.00
06/09/2023   CD19       Review cases regarding sealing motion for          13.30   1,125.00   14,962.50
                        hearing (4.4); telephonically attend hearing
                        re motion to seal and JPL lift stay motion
                        (5.2); correspond with K. Pasquale, I.
                        Sasson and J. Sheridan (FTI) re same (.3);
                        debrief with Young Conaway on same (.6);
                        prepare summary of hearing for UCC (1.4);
                        correspond with K. Hansen on same (.2)
                        B190: Review and summarize Sequoia sale
                        motion (.3 ); correspond with L. Koch
                        regarding same (.2 ); correspond with G.
                        Sasson regarding same (.2 ); revise summary
                        of Sequoia sale motion for UCC (.5 )
06/09/2023   FM7        Monitor part of the omnibus hearing                 1.40   1,875.00    2,625.00
06/09/2023   IS6        Attend and participate in further hearing on        5.70   1,290.00    7,353.00
                        sealing motion and JPL lift stay motion
                        (5.2); prepare summary re same (.5)
06/09/2023   KP17       Review sealing motion filings and certain           6.80   1,875.00   12,750.00
                        precedent (.8); supplement hearing outline
                        on sealing issues (.4); participate in court
                        hearing on sealing motion (5.2); correspond
                        with K. Hansen re debrief of sealing hearing
                        (.4)
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Date         Initials   Description                                       Hours        Rate      Amount
06/09/2023   KH18       Attend continued hearing on JPL lift stay            5.20   2,075.00    10,790.00
                        motion and motion to seal
06/09/2023   ML30       Monitor part of the omnibus hearing                  4.50    540.00      2,430.00
06/12/2023   LED        Review correspondence from K. Pasquale               0.40   1,425.00      570.00
                        and Committee member regarding omnibus
                        hearing updates (.2); review C. Diaz
                        summary of omnibus hearing (.2)
06/15/2023   IS6        Attend Genesis hearing on FTX lift stay              1.80   1,290.00     2,322.00
                        motion and estimation of FTX claim
06/15/2023   JI2        Attend Genesis hearing on FTX lift stay              1.80   1,125.00     2,025.00
                        motion and estimation of FTX claim
06/15/2023   KP17       Review submissions and prepare outline for           2.60   1,875.00     4,875.00
                        Genesis hearing (.8); participate in Genesis
                        court hearing re estimation of FTX claim
                        and FTX lift stay motion (1.8)
06/15/2023   KH18       Attend Genesis lift stay hearing                     1.80   2,075.00     3,735.00
06/15/2023   MM57       Monitor parts of Genesis hearing                     1.10    540.00       594.00
06/16/2023   KH18       Attend Genesis lift stay hearing                     1.90   2,075.00     3,942.50
             Subtotal: B155 Court Hearings                                  93.70              132,426.50




B160   Retention/Employment Matters (Paul Hastings)
06/14/2023   CX3        Review PH retention application and                  0.20    915.00       183.00
                        retention order (0.1); draft email to G.
                        Sasson regarding same (0.1)
06/15/2023   MM57       Correspond with G. Sasson, C. Xu, J.                 1.50    540.00       810.00
                        Iaffaldano and E. Gilad re: supplemental
                        interested parties research (.2); correspond
                        with M. Vargas (PH Conflicts Department)
                        re: additional interested parties (.1); analyze
                        updated parties in interest list (1.2)
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Date         Initials   Description                                     Hours        Rate    Amount
06/20/2023   JI2        Review updated parties in interest list (.2);      1.10   1,125.00   1,237.50
                        correspond with G. Sasson and E. Gilad re
                        same (.4); assess new parties and next steps
                        regarding retention as committee counsel
                        (.5)
             Subtotal: B160 Retention/Employment Matters                   2.80              2,230.50
                       (Paul Hastings)




B162   Fee/Compensation Matters (Paul Hastings)
06/01/2023   KAT2       Review and respond to M. Magzamen's                0.50   1,025.00    512.50
                        questions regarding fee matters (.2); review
                        and comment on April fee matters (.2);
                        correspond with L. Koch and G. Sasson
                        regarding April services (.1)
06/01/2023   LK19       Review and revise April 2023 services              1.70    855.00    1,453.50
                        invoice for confidentiality and privilege as
                        to investigation targets, litigation targets,
                        and venture transactions (1.4); emails with
                        G. Sasson, C. Diaz, C. Edge, and K. Traxler
                        regarding same (0.3)
06/02/2023   GS13       Review fee examiner letter and responsive          2.10   1,625.00   3,412.50
                        chart (1.2); revise responsive chart (.9)
06/02/2023   MM57       Continue to investigate items from Fee             0.50    540.00     270.00
                        Examiner letter report
06/05/2023   EG18       Telephone conference with fee examiner             1.00   1,875.00   1,875.00
                        regarding fee examiner questions and
                        response
06/05/2023   GS13       Review response to Fee Examiner report on          1.80   1,625.00   2,925.00
                        first interim period fees and expenses (.3);
                        telephone conference with Fee Examiner re
                        same (1.5)
06/05/2023   LK19       Email K. Traxler and C. Edge regarding             0.10    855.00      85.50
                        April fee statement and fee application
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Date         Initials   Description                                     Hours       Rate    Amount
06/05/2023   MM57       Correspond with L. Koch re: next steps on         0.50    540.00     270.00
                        April fee application and second interim fee
                        application (.2); correspond with G. Sasson,
                        J. Iaffaldano and C. Diaz re: outstanding fee
                        examiner issues (.3)
06/05/2023   MM57       Research re: response to fee examiner (.4);       0.60    540.00     324.00
                        correspond with G. Sasson re: same (.2)
06/06/2023   EG18       Correspond with G. Sasson regarding               0.30   1,875.00    562.50
                        response to fee examiner
06/06/2023   KAT2       Correspond with M. Magzamen regarding             2.70   1,025.00   2,767.50
                        second interim fee application (.2); prepare
                        parts of same (2.2); respond to M.
                        Magzamen inquiries regarding second
                        interim fee application (.3)
06/06/2023   LK19       Emails with G. Sasson, C. Edge, and K.            0.30    855.00     256.50
                        Traxler regarding April 2023 invoice for
                        PH's services
06/06/2023   MM57       Correspond with C. Edge re: April invoice         2.70    540.00    1,458.00
                        and fee application (.2); draft parts of
                        supplement to second interim fee
                        application (2.4); correspond with G.
                        Sasson re: outstanding fee examiner issues
                        (.1)
06/06/2023   MM57       Correspond with D. Laskin (YCST) re: draft        0.20    540.00     108.00
                        second interim fee application
06/07/2023   LK19       Review and revise April 2023 fee statement        2.60    855.00    2,223.00
                        to preserve confidentiality of investigation
                        targets, litigation targets, and sale
                        transaction parties (2.2); correspond with K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson,
                        C. Edge, and M. Laskowski regarding same
                        (0.4)
06/07/2023   MM57       Correspond with C. Edge (PH) re: April            0.30    540.00     162.00
                        invoice (.2); correspond with L. Koch re:
                        next steps re: compensation (.1)
06/07/2023   MM57       Correspond with YCST (J. Kochenash, R.            0.10    540.00      54.00
                        Poppiti, D. Laskin), G. Sasson and L. Koch
                        re: next steps for second interim fee
                        applications
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Date         Initials   Description                                      Hours       Rate    Amount
06/07/2023   MM57       Review and revise April fee application (.4);      0.60    540.00     324.00
                        correspond with C. Edge (PH) re: second
                        interim fee application (.2)
06/08/2023   LK19       Prepare parts of fifth monthly fee                 2.60    855.00    2,223.00
                        application (1.4); revise second interim fee
                        application (0.6); correspond with G.
                        Sasson and M. Magzamen regarding same
                        (0.6)
06/08/2023   MM57       Continue drafting second interim fee               2.60    540.00    1,404.00
                        application (.9); update correspondence to
                        G. Sasson re: same (.1); correspond with L.
                        Koch re: same (.1); prepare coded invoice
                        to preserve confidentiality of certain
                        investigation targets, litigation targets, and
                        transaction parties (1.5)
06/09/2023   LK19       Revise April 2023 invoice to conform with          3.10    855.00    2,650.50
                        UST guidelines and protect confidential
                        information regarding investigation targets,
                        litigation targets, and transaction parties
                        (0.7); emails with G. Sasson and M.
                        Magzamen regarding same (0.5); prepare
                        parts of second interim fee application (1.9)
06/09/2023   MM57       Continue coding April invoice to preserve          1.10    540.00     594.00
                        confidentiality of certain investigation
                        targets, litigation targets, and transaction
                        parties
06/10/2023   LK19       Prepare parts of PH's second interim fee           1.80    855.00    1,539.00
                        application
06/11/2023   LK19       Prepare part of supplement to second               0.60    855.00     513.00
                        interim fee application
06/12/2023   KAT2       Correspond with M. Magzamen regarding              0.20   1,025.00    205.00
                        fee matters
06/12/2023   LK19       Prepare parts of supplement to second              2.40    855.00    2,052.00
                        interim fee application (1.8); emails with E.
                        Gilad, G. Sasson, and M. Magzamen
                        regarding same (0.3); revise April fee
                        statement (0.2); emails with G. Sasson and
                        M. Magzamen regarding same (0.1)
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Date         Initials   Description                                     Hours        Rate    Amount
06/12/2023   MM57       Correspond with G. Sasson and L. Koch re:          1.90    540.00    1,026.00
                        April fee statement (.1); review and revise
                        second interim fee application (1.1); review
                        fee examiner and compensation order
                        procedures re: LEDES and related data (.4);
                        correspond with L. Koch and D. Laskin
                        (YCST) re: same and April fee statement
                        (.3)
06/13/2023   EG18       Correspond with G. Sasson regarding                0.30   1,875.00    562.50
                        proposal to fee examiner
06/13/2023   GS13       Review and revise supplement to second             2.40   1,625.00   3,900.00
                        interim fee application (.9); review charts
                        regarding same (.9); correspond with L.
                        Koch and M. Magzamen regarding same
                        (.6)
06/13/2023   KAT2       Correspond with M. Magzamen, G. Sasson             0.50   1,025.00    512.50
                        regarding first and second interim fee
                        matters (.3); correspond with C. Edge
                        regarding same (.2)
06/13/2023   LK19       Prepare parts of PH supplement to second           4.40    855.00    3,762.00
                        interim fee application (3.6); emails with G.
                        Sasson, K. Traxler, C. Edge, and M.
                        Magzamen regarding same (0.8)
06/13/2023   MM57       Correspond with L. Koch and G. Sasson re:          1.50    540.00     810.00
                        monthly fee budgets (.1); correspond with
                        E. Gilad re: same (.1); correspond with G.
                        Sasson re: fee budgets (.1); review and
                        update draft budgets (.7); correspond with
                        G. Sasson re: fee examiner and redaction
                        code to protect confidentiality of
                        investigation/litigation targets and
                        transaction parties (.2); correspond with C.
                        Edge (PH) re: LEDES data and bar
                        admission information (.1); correspond with
                        fee examiner re submission of Paul
                        Hastings April fee statement (.2)
06/14/2023   JI2        Correspond with G. Sasson re fee examiner          0.60   1,125.00    675.00
                        response (.2); update negotiation chart re
                        same (.4)
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Date         Initials   Description                                     Hours       Rate    Amount
06/14/2023   KAT2       Review and comment on second interim fee          0.30   1,025.00    307.50
                        application
06/14/2023   LK19       Prepare parts of PH supplement to second          2.10    855.00    1,795.50
                        interim fee application (1.5); emails with G.
                        Sasson and M. Magzamen regarding same
                        (0.6)
06/14/2023   MM57       Review correspondence from J. Sarkessian          0.60    540.00     324.00
                        (UST) re: submission of fee statements (.1);
                        correspond with K. Traxler re: second
                        interim fee application (.1); review and
                        revise supplement to same (.3); correspond
                        with G. Sasson and L. Koch re: second
                        interim fee application revisions (.1)
06/15/2023   CD19       Prepare inserts to supplement to second           1.60   1,125.00   1,800.00
                        interim fee application (1.3); correspond
                        with G. Sasson and L. Koch re same (.3)
06/15/2023   KAT2       Review and respond to questions from L.           0.30   1,025.00    307.50
                        Koch regarding LEDES requests (.1);
                        correspond with C. Edge regarding June
                        services (.2)
06/15/2023   LK19       Review and comment on second interim fee          1.70    855.00    1,453.50
                        application (0.2); prepare parts of Paul
                        Hastings' supplement to second interim fee
                        application (1.0); emails with G. Sasson and
                        C. Diaz regarding same (0.3); emails with D.
                        Laskin (YCST) regarding second interim fee
                        application (0.2)
06/15/2023   MM57       Correspond with D. Laskin (YCST) re: draft        0.10    540.00      54.00
                        second interim fee application
06/15/2023   MM57       Correspond with L. Koch re: draft second          0.50    540.00     270.00
                        interim fee application and information for
                        same (.2); correspond with L. Koch and G.
                        Sasson re: next steps on second interim fee
                        application supplement (.3)
06/16/2023   EG18       Review and comment on fee examiner                0.20   1,875.00    375.00
                        proposal resolution
06/20/2023   LK19       Revise May 2023 invoice for compliance            0.30    855.00     256.50
                        with Fee Examiner and UST guidelines
06/20/2023   MM57       Review Fee Examiner report                        0.30    540.00     162.00
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Date         Initials   Description                                    Hours        Rate     Amount
06/23/2023   LK19       Review and comment on draft fee order             0.30    855.00      256.50
                        (0.2); emails with G. Sasson regarding same
                        (0.1)
06/28/2023   LK19       Correspond with G. Sasson and K. Traxler          0.40    855.00      342.00
                        regarding May invoice and compliance with
                        fee examiner/UST protocols
06/28/2023   MM57       Correspond with G. Sasson re: FTX                 0.30    540.00      162.00
                        LEDES data follow-up (.1); review issues
                        regarding LEDES data (.2)
06/29/2023   LK19       Correspond with G. Sasson and C. Edge             0.50    855.00      427.50
                        regarding interim fee statement
06/30/2023   KAT2       Prepare response to UST Appendix B                0.50   1,025.00     512.50
                        information for fee application
             Subtotal: B162 Fee/Compensation Matters (Paul               54.60              50,278.00
                       Hastings)




B166   Fee/Compensation Matters (Other Professionals)
06/01/2023   CX3        Review PWP's monthly fee statement (0.5);         0.70    915.00      640.50
                        prepare summary and comments on same
                        (0.2)
06/01/2023   CX3        Correspond with G. Sasson re fee statement        0.30    915.00      274.50
                        review
06/01/2023   CX3        Review certain tasks in Alix fee statement        2.50    915.00     2,287.50
                        (1.8); prepare summary and comments on
                        same (0.7)
06/05/2023   LK19       Email K. Hansen, K. Pasquale, E. Gilad, G.        0.10    855.00        85.50
                        Sasson regarding PWP's sixth fee statement
06/08/2023   MM57       Draft fee statement summary charts for            1.30    540.00      702.00
                        case professionals (1.1); correspond with C.
                        Xu and G. Sasson re: same (.2)
06/09/2023   CX3        Review M. Magzamen's summary of S&C's,            0.20    915.00      183.00
                        PWP's and Quinn Emanuel's fee statements
06/09/2023   MM57       Continue drafting summary charts re: case         1.30    540.00      702.00
                        professionals' fee statements
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Date         Initials   Description                                     Hours        Rate    Amount
06/12/2023   CD19       Review FTI invoice re confidential                 1.30   1,125.00   1,462.50
                        information (1.2); correspond with G.
                        Sasson re same (.1)
06/13/2023   GS13       Review FTI interim fee application (.5);           0.80   1,625.00   1,300.00
                        review Jefferies interim fee application (.3)
06/14/2023   CX3        Review S&C fee statement (3.2); prepare            3.90    915.00    3,568.50
                        summary and comments on same for G.
                        Sasson (0.5); review Quinn Emanuel fee
                        statement (0.2)
06/14/2023   LK19       Email M. Gray (FTI) regarding supplement           0.20    855.00     171.00
                        to second interim fee application
06/15/2023   LK19       Emails with M. Dawson (FTI) and L.                 0.70    855.00     598.50
                        Hultgren (Jefferies) regarding supplements
                        to second interim fee applications (0.3);
                        emails with D. Laskin (YCST) and J.
                        Kochenash (YCST) regarding second
                        interim fee application and supplements
                        (0.4)
06/16/2023   CX3        Review Quinn Emanuel fee statement (1.2);          1.80    915.00    1,647.00
                        prepare summary and comments on same
                        for G. Sasson (0.6)
06/19/2023   CX3        Review PWP's April fee statement (0.5);            0.80    915.00     732.00
                        prepare summary analysis regarding same
                        (0.3)
06/20/2023   CD19       Review fee examiner summary report on fee          0.60   1,125.00    675.00
                        review process and first interim fee
                        applications
06/22/2023   LK19       Emails with G. Sasson and J. Kochenash             0.10    855.00      85.50
                        regarding CNO for UCC professionals' fee
                        statements
06/26/2023   CX3        Review Landis' fee statement (0.4); draft          0.60    915.00     549.00
                        email summary and comments on same for
                        G. Sasson (0.2)
06/26/2023   CX3        Review A&M fee statement (2.5); prepare            3.30    915.00    3,019.50
                        summary and comments on same for G.
                        Sasson (.8)
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06/28/2023   CX3        Review Alix fee statement (2.0); draft              2.70    915.00     2,470.50
                        summary and comments on same (0.7)
             Subtotal: B166 Fee/Compensation Matters                       23.20              21,154.00
                       (Other Professionals)




B175   Bahamian PropCo Analysis
06/01/2023   KP17       Analyze PropCo deck from JPLs                       0.80   1,875.00    1,500.00
06/30/2023   GS13       Review and prepare comments on Bahamas              1.80   1,625.00    2,925.00
                        property deck (1.3); telephone conference
                        with FTI regarding same (.5)
             Subtotal: B175 Bahamian PropCo Analysis                        2.60              4,425.00




B180   Avoidance Action Analysis
06/05/2023   EG18       Analyze preference claims and related               1.10   1,875.00    2,062.50
                        authority
06/05/2023   IS6        Analyze Bankruptcy Code section 502(h)              1.60   1,290.00    2,064.00
                        issues (.5); call with L. Koch re same (.3);
                        review Genesis mediation and exclusivity
                        pleadings (.8)
06/05/2023   JI2        Analyze Bankruptcy Code section 502(h)              1.10   1,125.00    1,237.50
                        issues (.8); correspond with K. Pasquale re
                        same (.3)
06/05/2023   LK19       Analyze case law regarding Bankruptcy               2.80    855.00     2,394.00
                        Code section 502(h) claims (2.5); call with I.
                        Sasson regarding same (0.3)
06/07/2023   FM7        Review Debtors' preference analysis re:             0.50   1,875.00     937.50
                        potential asset sales
06/07/2023   KP17       Analyze preference analyses/decks from              1.10   1,875.00    2,062.50
                        Debtors
06/07/2023   LK19       Review documents produced by the                    0.30    855.00      256.50
                        Debtors regarding preference analysis (0.2);
                        summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.1)
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Date         Initials   Description                                      Hours        Rate    Amount
06/08/2023   EG18       Analyze VDR preference run and memo                 2.10   1,875.00    3,937.50
                        regarding same
06/08/2023   KP17       Analyze new preference analyses from                0.60   1,875.00    1,125.00
                        Debtors
06/08/2023   LK19       Analyze documents produced by the                   0.40    855.00      342.00
                        Debtors regarding preference claims (0.2);
                        prepare summary of same for K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson (0.2)
06/12/2023   EG18       Review and analyze preference data                  0.60   1,875.00    1,125.00
                        received from Debtors
06/13/2023   KP17       Analyze preference data from Debtors (1.1);         1.40   1,875.00    2,625.00
                        correspond with I. Sasson re same (.3)
06/13/2023   LK19       Analyze documents produced by the                   0.30    855.00      256.50
                        Debtors regarding preference claims (0.2);
                        email K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson regarding same (0.1)
06/14/2023   IS6        Analyze Bankruptcy Code sections 502(h)             1.10   1,290.00    1,419.00
                        and 502(d) issues and related case law
06/14/2023   JI2        Analyze preference issues and application of        4.20   1,125.00    4,725.00
                        Bankruptcy Code sections 502(h) and
                        502(d) (3.6); correspond with I. Sasson and
                        L. Koch re same (.2); email K. Pasquale re
                        same (.4)
06/14/2023   KP17       Analyze updated preference information              0.80   1,875.00    1,500.00
                        from Debtors (.6); correspond with I.
                        Sasson re same (.2)
06/14/2023   LK19       Analyze case law and statutory authority            1.30    855.00     1,111.50
                        regarding section 502(d) and 502(h) claims
                        (0.9); emails with J. Iaffaldano and I. Sasson
                        regarding same (0.4)
06/20/2023   EG18       Review Debtors' preference run analysis             0.50   1,875.00     937.50
             Subtotal: B180 Avoidance Action Analysis                      21.80              30,118.50




B185   Assumption/Rejection of Leases and Contracts
06/08/2023   FM7        Review Debtor deck regarding contract               0.30   1,875.00     562.50
                        rejections
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Date         Initials   Description                                    Hours        Rate    Amount
06/08/2023   LK19       Analyze documents produced by the                 0.40    855.00     342.00
                        Debtors regarding contract rejections (.2);
                        prepare summary of same for F. Merola
                        (0.2)
06/15/2023   JI2        Review and revise summary of executory            0.40   1,125.00    450.00
                        contract motion (.3); email with K. Catalano
                        re same (.1)
06/15/2023   KC27       Review Debtors' motion to reject executory        0.80    915.00     732.00
                        contract (.4); prepare summary of same (.3);
                        correspond with I. Iaffaldano regarding
                        same (.1)
06/19/2023   CX3        Analyze case law and statutory authority          3.50    915.00    3,202.50
                        regarding assumption and assignment (3.3);
                        draft summary of findings for E. Gilad (0.2)
06/20/2023   CD19       Correspond with G. Sasson re motion to            0.40   1,125.00    450.00
                        reject certain contracts (.1); review same
                        (.1); correspond with B. Bromberg (FTI) re
                        same (.2)
             Subtotal: B185 Assumption/Rejection of Leases                5.80              5,739.00
                       and Contracts




B189   Monitoring or Participating in Related Cryptocurrency Bankruptcy
06/02/2023   LK19       Analyze filings in crypto bankruptcies            2.80    855.00    2,394.00
                        (4000, 4001, 4002, 4004) for implications
                        and impact on FTX (1.8); prepare summary
                        of same for K. Hansen, K. Pasquale, E.
                        Gilad, G. Sasson (1.0)
06/04/2023   ML30       Review issues re Genesis hearing and              0.30    540.00     162.00
                        appearances
06/04/2023   ML30       Review Judge Kaplan calendar re BlockFi           0.50    540.00     270.00
                        6/5/23 hearing (.2); update cases calendars
                        re same (.3)
06/05/2023   JI2        Review Binance SEC complaint and press            0.80   1,125.00    900.00
                        release (.7); email K. Hansen re same (.1)
06/05/2023   KP17       Review SEC complaint against Binance re           0.60   1,875.00   1,125.00
                        potential FTX claims
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Date         Initials   Description                                       Hours      Rate    Amount
06/05/2023   ML30       Correspond with G. Sasson and I. Sasson re         0.20    540.00     108.00
                        monitoring certain aspects of the Binance
                        bankruptcy
06/05/2023   MM57       Correspond with I. Sasson re: Genesis              0.50    540.00     270.00
                        hearing (.1); correspond with K. Hansen re:
                        same (.1); e-file notice of appearance in
                        Genesis case (.3)
06/06/2023   JI2        Analyze BlockFi recharacterization and             2.80   1,125.00   3,150.00
                        equitable subordination issues for FTX
                        implications and impact
06/06/2023   LK19       Analyze certain filings in crypto bankruptcy       0.50    855.00     427.50
                        to inform Committee strategy (.3); prepare
                        summary of same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (.2)
06/06/2023   ML30       Review the Genesis docket                          0.20    540.00     108.00
06/08/2023   LK19       Analyze recent filings in Genesis                  1.90    855.00    1,624.50
                        bankruptcy for FTX impact (0.7); prepare
                        summary of same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (1.2)
06/09/2023   IS6        Review BlockFi objection to plan                   0.30   1,290.00    387.00
06/09/2023   LK19       Analyze and prepare summary of recent              2.50    855.00    2,137.50
                        filings in crypto bankruptcies to inform
                        FTX Committee strategy (2.1); correspond
                        with K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson regarding same (0.4)
06/13/2023   MM57       Correspond with L. Koch re: appearances            1.20    540.00     648.00
                        in Genesis Global bankruptcy case (.1);
                        prepare eCourt appearances for K. Hansen,
                        K. Pasquale, I. Sasson and J. Iaffaldano for
                        June 15, 2023 Genesis Global hearing (.6);
                        correspond with I. Sasson re: Celsius plan
                        and disclosure statement (.1); research
                        regarding same (.3); correspond with E.
                        Gilad re: same (.1)
06/14/2023   MM57       Correspond with K. Hansen, K. Pasquale, I.         0.30    540.00     162.00
                        Sasson and J. Iaffaldano re: credentials for
                        hearing on 6/15/23 in Genesis Global
                        bankruptcy case (.2); review certain filings in
                        Genesis Global case and update working
                        group re: same (.1)
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Date         Initials   Description                                    Hours         Rate     Amount
06/15/2023   KP17       Analyze Genesis claim issues and Genesis           2.20   1,875.00    4,125.00
                        plan issues with respect to FTX
06/15/2023   LK19       Analyze recent filings in 4000, 4001, and          1.80    855.00     1,539.00
                        4005 bankruptcies for FTX implications
                        (0.7); summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (1.1)
06/15/2023   MM57       Research re precedent crypto case plans            0.10    540.00       54.00
06/16/2023   CD19       Review summary of updates in crypto                0.40   1,125.00     450.00
                        bankruptcy cases for impact on FTX
06/16/2023   LK19       Analyze recent filings and developments in         3.50    855.00     2,992.50
                        related crypto bankruptcies (4000, 4001,
                        4002, 4004) for FTX impact and
                        implications (1.2); summarize recent filings
                        and developments in related crypto
                        bankruptcies for K. Hansen, K. Pasquale,
                        E. Gilad, G. Sasson (2.3)
06/23/2023   LK19       Analyze filings on crypto bankruptcies             2.40    855.00     2,052.00
                        (4000, 4001, 4002, 4004) to inform UCC
                        strategy (1.7); summarize same for K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
                        (0.7)
06/27/2023   LK19       Analyze filings in crypto bankruptcies             1.10    855.00      940.50
                        regarding plan exclusivity to inform UCC
                        analysis (0.9); email I. Sasson regarding
                        same (0.2)
06/28/2023   KP17       Review BlockFi UCC objection to                    1.10   1,875.00    2,062.50
                        exclusivity re FTX claims (.5); review
                        Celsius motions and objection re token
                        valuation (.6)
06/30/2023   ECS3       Review Celsius plan implications for FTX           1.50   1,550.00    2,325.00
                        plan
06/30/2023   LK19       Analyze recent filings in crypto bankruptcy        3.40    855.00     2,907.00
                        to inform UCC strategy (1.8); summarize
                        same for K. Hansen, K. Pasquale, E. Gilad,
                        G. Sasson (1.6)
             Subtotal: B189 Monitoring or Participating in                32.90              33,321.00
                       Related Cryptocurrency Bankruptcy
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Date         Initials   Description                                    Hours         Rate    Amount

B190   Other Contested Matters(excl. assumption/rejections motions)
06/01/2023   CD19       Meeting with L. Koch regarding Debtors'            0.40   1,125.00    450.00
                        postpetition deposit motion
06/01/2023   EG18       Analyze post-petition deposits motion              0.40   1,875.00    750.00
06/01/2023   LK19       Conference with C. Diaz regarding Debtors'         2.50    855.00    2,137.50
                        postpetition deposit motion (0.4); review
                        and comment on Debtors' postpetition
                        deposit motion (1.9); email C. Diaz and G.
                        Sasson regarding same (0.2)
06/02/2023   CX3        Review and summarize motion to estimate            1.00    915.00     915.00
                        filed in Genesis bankruptcy case
06/02/2023   IS6        Review Genesis Debtors' objection to FTX           0.60   1,290.00    774.00
                        lift stay motion and motion for status
                        conference (.2); review Genesis claim
                        estimation motion (.4)
06/02/2023   KP17       Analyze Genesis estimation motion re FTX           2.00   1,875.00   3,750.00
                        claims (.8); review Debtors' claims against
                        Genesis in connection with same (.8);
                        correspond with I. Sasson re same (.2);
                        review Debtors' letter to Genesis court re
                        claim estimation motion (.2)
06/03/2023   MM57       Correspond with L. Koch re: Genesis                0.80    540.00     432.00
                        Global hearing on FTX claims estimation
                        motion (.2); register attorneys to appear at
                        hearing (.4); correspond with I. Sasson re:
                        same (.2)
06/04/2023   KP17       Prepare argument outline for court hearing         1.80   1,875.00   3,375.00
                        on sealing motion
06/04/2023   LK19       Review and comment on notice of                    0.20    855.00     171.00
                        appearance for K. Hansen, K. Pasquale, and
                        I. Sasson in Genesis case (0.1); emails with
                        I. Sasson and M. Magzamen regarding same
                        (0.1)
06/04/2023   MM57       Draft notice of appearance re Genesis              1.00    540.00     540.00
                        Global (.6); correspond with I. Sasson and
                        K. Pasquale re: same (.1); prepare same for
                        filing (.3)
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06/05/2023   IS6        Review and comment on draft sealing               0.30   1,290.00     387.00
                        witness list
06/05/2023   KP17       Draft J. Sheridan testimony outlines re           3.80   1,875.00    7,125.00
                        sealing motion (2.2); review submissions
                        and prepare argument outline for hearing
                        on sealing motion (1.6)
06/06/2023   IS6        Review J. Sheridan declaration in                 2.30   1,290.00    2,967.00
                        preparation for sealing hearing (1.9); analyze
                        related court decision in preparation for
                        sealing hearing (.4)
06/06/2023   IS6        Analyze case law on Genesis standing              1.10   1,290.00    1,419.00
06/06/2023   LK19       Correspond with J. Iaffaldano regarding           0.20    855.00      171.00
                        Genesis standing
06/07/2023   CD19       Review JPL lift stay motion to prepare for        9.30   1,125.00   10,462.50
                        hearing on same (1.2); review objections
                        from UST and Media Objectors to motion
                        to seal to prepare for hearing on same (2.3);
                        review cases cited by UST and Media
                        Objectors in their objections on same (2.0);
                        participate in J. Sheridan prep with K.
                        Pasquale and I. Sasson re same (2.9);
                        correspond with J. Sheridan, I. Sasson, K.
                        Pasquale and Young Conaway regarding
                        same (.9)
06/07/2023   GS13       Review and comment on customer claims             2.10   1,625.00    3,412.50
                        motion
06/07/2023   IS6        Review submissions and prepare hearing            7.20   1,290.00    9,288.00
                        notes for motion to seal hearing and JPL lift
                        stay hearing while travelling to Delaware
                        (3.0); participate in witness prep session of
                        J. Sheridan with K. Pasquale and C. Diaz
                        (2.9); revise direct examination outline for
                        same (1.3)
06/07/2023   JI2        Draft objection to Genesis estimation             4.40   1,125.00    4,950.00
                        motion (3.3); review 6/5/23 hearing
                        transcript (.4); emails with B. Beller (S&C)
                        re same (.3); emails with K. Pasquale and I.
                        Sasson re same (.4)
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Date         Initials   Description                                        Hours       Rate    Amount
06/07/2023   KP17       Outline witness prep for J. Sheridan in              4.90   1,875.00   9,187.50
                        connection with sealing motion (.8);
                        meeting with J. Sheridan, I. Sasson, C. Diaz,
                        R. Poppiti, M. Lunn to prepare witness for
                        sealing motion hearing (2.9); revise Debtors'
                        draft Genesis estimation objection (.6);
                        review and revise draft joinder to same (.6)
06/07/2023   KP17       Supplement outlines for direct and cross             2.80   1,875.00   5,250.00
                        examinations for hearing on motion to seal
                        (.7); prepare argument outline for court
                        hearing re sealing, Bahamas lift stay motion
                        (2.1)
06/07/2023   LK19       Review and comment on draft joinder to               0.30    855.00     256.50
                        Debtors' objection to estimation motion in
                        the Genesis bankruptcy
06/07/2023   LK19       Review precedent regarding motion to seal            1.00    855.00     855.00
                        customer information (0.7); email I. Sasson
                        regarding same (0.3)
06/08/2023   IS6        Prepare outline for J. Sheridan direct               1.10   1,290.00   1,419.00
                        testimony
06/08/2023   LK19       Review and comment on UCC objection                  0.70    855.00     598.50
                        and joinder to Debtors' objection to
                        Genesis estimation motion (0.4);
                        correspond with J. Iaffaldano regarding
                        same (0.3)
06/08/2023   ML30       Correspond with J. Iaffaldano re joinder in          1.50    540.00     810.00
                        Genesis case (.2); prepare joinder for filing
                        (.2); e-file joinder (.2); prepare service lists
                        for same (.4); review and comment on
                        service of Genesis filing (.2); complete
                        elec5103ic service of same (.2); follow up
                        correspondence with J. Iaffaldano re same
                        (.1)
06/12/2023   CD19       Revise proposed order re motion to seal              0.30   1,125.00    337.50
                        (.2); correspond with K. Pasquale re same
                        (.1)
06/12/2023   KC27       Review D1 Ventures motion for Debtors to             0.60    915.00     549.00
                        return postpetition deposit (.3); prepare
                        summary of same (.3)
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Date         Initials   Description                                      Hours       Rate    Amount
06/13/2023   CD19       Revise proposed order re motion to seal            0.30   1,125.00    337.50
                        (.2); correspond with K. Pasquale and I.
                        Sasson re same (.1)
06/13/2023   KP17       Review and revise edits to sealing order (.3);     2.30   1,875.00   4,312.50
                        emails with Debtors re same (.1); analyze
                        D1 Ventures motion for Debtors to return
                        postpetition deposit (.4); correspond with I.
                        Sasson re same (.2); analyze Genesis reply re
                        claim estimation motion (.4); analyze
                        Genesis amended plan and disclosure
                        statement re treatment of Alameda/FTX
                        claims (.9)
06/14/2023   CD19       Review comments to proposed order on               0.80   1,125.00    900.00
                        motion to seal (.2); revise proposed order
                        on motion to seal (.4); correspond with K.
                        Pasquale re same (.2)
06/14/2023   JI2        Review UST petition to Third Circuit               0.90   1,125.00   1,012.50
                        regarding appointment of examiner (.5);
                        review bankruptcy rules and FRAP re same
                        (.2); correspond with R. Poppiti (YCST), M.
                        Lunn (YCST), K. Pasquale and I. Sasson re
                        same (.2)
06/14/2023   KP17       Analyze UST's petition to Third Circuit re         0.90   1,875.00   1,687.50
                        examiner (.4); review revisions from UST
                        and Media objectors to proposed sealing
                        order (.3); emails with S&C re same (.2)
06/15/2023   CD19       Correspond with UST, media objectors and           0.30   1,125.00    337.50
                        S&C re proposed order re motion to seal
06/15/2023   CD19       Correspond with L. Koch re postpetition            0.60   1,125.00    675.00
                        deposit motion (.2); review summary of
                        same and related correspondence from the
                        Debtors (.4)
06/15/2023   EG18       Review customer post-petition deposit              1.10   1,875.00   2,062.50
                        motion (0.4); correspond with G. Sasson
                        regarding same (0.5); correspond with UCC
                        member regarding same (0.2)
06/15/2023   GS13       Review D1 Ventures motion for return of            0.80   1,625.00   1,300.00
                        postpetition deposits (.6); email with K.
                        Hansen and K. Pasquale regarding same (.2)
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06/15/2023   MM57       Correspond with C. Diaz re: redaction             0.10    540.00      54.00
                        order
06/17/2023   FM7        Revise draft SCHF reservation of rights           0.40   1,875.00    750.00
                        (0.2); correspond with K. Pasquale
                        regarding SCHF reservation of rights (0.2)
06/17/2023   KH18       Correspond with F. Merola and E. Gilad            1.10   2,075.00   2,282.50
                        (PH) regarding Sequoia sale and Committee
                        concerns (.4); review and comment on draft
                        objection to Sequoia sale (.7)
06/18/2023   EG18       Review and comment on post-petition               0.20   1,875.00    375.00
                        deposit motion
06/18/2023   KP17       Analyze information, comments re                  0.30   1,875.00    562.50
                        postpetition deposit motion
06/18/2023   KH18       Analyze issues and documents regarding            1.10   2,075.00   2,282.50
                        Sequoia sale
06/19/2023   EG18       Analyze case findings regarding Section 365       1.90   1,875.00   3,562.50
                        cure cost with respect to Sequoia sale
                        motion
06/19/2023   KP17       Correspond with K. Hansen, E. Gilad re            1.10   1,875.00   2,062.50
                        Sequoia sale motion, [5065] issues
06/19/2023   LED        Review correspondence from J. Iaffaldano          0.80   1,425.00   1,140.00
                        and committee members pertaining to
                        return of postpetition deposits
06/19/2023   MEG9       Review emails from J. Iaffaldano regarding        0.20   1,425.00    285.00
                        D1 motion for return of postpetition
                        deposits
06/20/2023   CX3        Analyze case law regarding issues related to      6.60    915.00    6,039.00
                        Sequoia sale
06/20/2023   IS6        Analyze Sequoia sale matters related              0.30   1,290.00    387.00
                        timeline and document review
06/20/2023   JI2        Analyze issues and related case law in            4.80   1,125.00   5,400.00
                        connection with sale of Sequoia interests
06/20/2023   JI2        Correspond with E. Shehada (S&C) re               0.40   1,125.00    450.00
                        examiner issues (.2); follow up
                        correspondence with I. Sasson re same (.2)
06/20/2023   KP17       Analyze legal issues re [5089] sale objection     1.00   1,875.00   1,875.00
                        (.8); correspond with J. Iaffaldano re same
                        (.2)
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06/21/2023   EG18       Review Sequoia sale documents (2.1);                9.90   1,875.00   18,562.50
                        analyze application of caselaw regarding
                        cure requirements under section 365 and
                        automatic stay (1.7); draft inserts to and
                        revise limited objection to Sequoia sale
                        motion (6.1)
06/21/2023   FM7        Correspond with E. Gilad regarding SCHF             0.50   1,875.00     937.50
                        sale opposition (0.3); review revised SCHF
                        sale opposition (0.2)
06/21/2023   JI2        Draft objection to Sequoia sale (1.8);              6.30   1,125.00    7,087.50
                        analyze case law re same (3.7); correspond
                        with E. Gilad re same (.8)
06/21/2023   KP17       Analyze certain additional Debtor produced          0.80   1,875.00    1,500.00
                        documents re [5089]
06/21/2023   LK19       Emails with UnitedLex and K. Pasquale               2.50    855.00     2,137.50
                        regarding documents produced by the
                        Debtors regarding 5089 (0.2); analyze
                        documents produced by the Debtors
                        regarding 5089 (1.8); summarize same for
                        K. Pasquale and I. Sasson (0.5)
06/21/2023   MM57       Correspond with E. Gilad re: Sequoia sale           0.40    540.00      216.00
                        deadlines (.1); research re: same (.3)
06/22/2023   CX3        Analyze automatic stay issues in connection         2.10    915.00     1,921.50
                        with Sequoia sale objection (1.5); follow up
                        correspondence with E. Gilad and J.
                        Iaffaldano regarding objection to Sequoia
                        sale (.6)
06/22/2023   EG18       Revise and finalize limited objection to            3.80   1,875.00    7,125.00
                        Sequoia sale
06/22/2023   FM7        Review revised objection to SCHF sale               0.20   1,875.00     375.00
06/22/2023   JI2        Draft objection to Sequoia sale (3.1);              5.40   1,125.00    6,075.00
                        correspond with E. Gilad re same (.2);
                        analyze issues and case law re same (2.1)
06/22/2023   KP17       Review and revise drafts of Sequoia sale            1.30   1,875.00    2,437.50
                        objection (.9); analyze cited case law (.4)
06/22/2023   KH18       Review Sequoia sale objection (.7);                 1.30   2,075.00    2,697.50
                        comment on same (.6)
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Date         Initials   Description                                     Hours        Rate    Amount
06/22/2023   ML30       Review appeal document re creditor sealing         0.30    540.00     162.00
                        order
06/23/2023   CD19       Review media objectors' appeal re order on         0.60   1,125.00    675.00
                        motion to seal (.2); correspond with I.
                        Sasson re same (.1); correspond with J.
                        Iaffaldano re same (.1); review timeline re
                        appeals (.2)
06/23/2023   JI2        Email C. Diaz re appeal re order on motion         0.30   1,125.00    337.50
                        to seal
06/23/2023   JI2        Correspond with R. Poppiti (YCST) and S.           0.30   1,125.00    337.50
                        Fulton (S&C) re examiner appeal issues
06/25/2023   IS6        Review and comment on joint objection to           0.30   1,290.00    387.00
                        direct certification of examiner appeal
06/25/2023   JI2        Review and comment on examiner                     2.90   1,125.00   3,262.50
                        certification brief (2.4); correspond with I.
                        Sasson and K. Pasquale re same (.3);
                        correspond with B. Glueckstein and S.
                        Fulton (S&C) re same (.2)
06/25/2023   KP17       Review and revise draft joint opposition to        1.80   1,875.00   3,375.00
                        examiner Third Circuit appeal certification
                        (.8); review Debtors' reply to Sequoia sale
                        objection (.3); analyze legal support re same
                        (.7)
06/25/2023   MM57       Draft table of contents for Sequoia sale           1.40    540.00     756.00
                        motion documents (.3); prepare Sequoia
                        sale documents for E. Gilad (1.1)
06/26/2023   CD19       Correspond with I. Sasson re media                 0.90   1,125.00   1,012.50
                        objectors' appeal of order to seal customer
                        information (.5); correspond with M.
                        Magzamen re same (.3); correspond with
                        YCST re same (.1)
06/26/2023   EG18       Telephone conference with Sequoia                  3.30   1,875.00   6,187.50
                        counsel, G. Sasson regarding objection to
                        sale (.5); call with K. Pasquale regarding
                        same (0.2); correspond with UCC regarding
                        potential settlement of same (0.3);
                        telephone conferences with UCC members
                        regarding same (2.0); follow up
                        correspondence with Sequoia counsel
                        regarding same (0.3)
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06/26/2023   GS13       Review sale documents relating to Sequoia              1.80   1,625.00    2,925.00
                        transaction (1.3); call with Sequoia counsel,
                        E. Gilad regarding UCC sale objection (.5)
06/26/2023   KP17       Review final draft of objection to examiner            1.20   1,875.00    2,250.00
                        Third Circuit certification (.4); emails with
                        local counsel re Third Circuit filings (.2); call
                        with Sequoia counsel, E. Gilad re Sequoia
                        sale objection (.2); correspond with K.
                        Hansen, I. Gilad re same (.2); review
                        Committee emails re same (.2)
06/26/2023   KH18       Correspond with E. Gilad and K. Pasquale               1.30   2,075.00    2,697.50
                        regarding Sequoia sale documents and UCC
                        response (.8); review supplemental
                        declaration regarding Sequoia sale (.2);
                        analyze issues regarding same (.3)
06/26/2023   MM57       Revise table of contents related to Sequoia            0.30    540.00       162.00
                        sale motion (.2); correspond with E. Gilad
                        regarding same (.1)
06/27/2023   KH18       Correspond with E. Gilad, G. Sasson and                0.50   2,075.00    1,037.50
                        K. Pasquale (PH) regarding Sequoia issues
                        and sale documents
06/27/2023   MEG9       Review E. Gilad summary of Sequoia                     0.20   1,425.00      285.00
                        settlement on default interest
06/28/2023   CD19       Correspond with I. Sasson re media                     0.30   1,125.00      337.50
                        objectors appeal of order to seal customer
                        information
             Subtotal: B190 Other Contested Matters(excl.                    135.10              190,131.50
                       assumption/rejections motions)




B191   General Litigation
06/01/2023   IS6        Meeting with L. Koch and Y. Park re                    1.30   1,290.00    1,677.00
                        section 363 case findings (.5); call with FTI,
                        K. Pasquale re next Delaware rescission (.6);
                        review Delaware law regarding same (.2)
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06/01/2023   KP17       Correspond with K. Hansen, I. Sasson re              1.10   1,875.00   2,062.50
                        [5036] litigation issues (.5); call with J. Yoch,
                        R. Poppiti, I. Sasson re [5036] Delaware law
                        issues (.6)
06/01/2023   LK19       Analyze statutes and case law regarding              3.40    855.00    2,907.00
                        rescission of contract based on fraud (2.7);
                        email Y. Park and I. Sasson regarding Rule
                        363 case law (0.2); conference with Y. Park
                        and I. Sasson regarding same (0.5)
06/01/2023   ML30       Litigation Update - Monitor pending                  1.20    540.00     648.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.9); review recent
                        filings and prepare end of day summary for
                        working group (.3)
06/02/2023   LK19       Analyze case law regarding rescission of             2.10    855.00    1,795.50
                        contracts based on fraud (2.0); emails with
                        I. Sasson and K. Catalano regarding same
                        (0.1)
06/02/2023   ML30       Litigation Update - Monitor pending                  1.20    540.00     648.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.9); review recent
                        filings and prepare end of day summary for
                        working group (.3)
06/05/2023   IS6        Review revised 5036 counter to settlement            0.20   1,290.00    258.00
                        structure
06/05/2023   KP17       Review latest [5036] settlement term sheet           0.40   1,875.00    750.00
                        (.2); emails with I. Sasson re same (.2)
06/05/2023   KC27       Analyze secondary sources regarding                  5.80    915.00    5,307.00
                        subordination pursuant to section 510(b) of
                        the Bankruptcy Code (.5); analyze case law
                        regarding subordination pursuant to section
                        510(b) of the Bankruptcy Code for fraud
                        claims (2.1); analyze case law regarding
                        subordination pursuant to section 510(b) of
                        the Bankruptcy Code for breach of contract
                        claims (3.2)
06/05/2023   LK19       Analyze case law regarding Bankruptcy                3.20    855.00    2,736.00
                        Code section 503(b) administrative claims
                        (3.1); emails with K. Catalano and I. Sasson
                        regarding same (0.1)
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06/05/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
06/06/2023   IS6        Analyze 5036 rescission and section 510(b)         2.30   1,290.00   2,967.00
                        case law
06/06/2023   KP17       Correspond with K. Hansen re [5036] issues         1.70   1,875.00   3,187.50
                        (.3); analyze [5036] claims analysis memos re
                        proposed settlement (1.4)
06/06/2023   KC27       Analyze case law regarding subordination           4.60    915.00    4,209.00
                        pursuant to section 510(b) of the
                        Bankruptcy Code (2.9); prepare summary of
                        same (1.7)
06/06/2023   LK19       Analyze case law regarding Bankruptcy              0.90    855.00     769.50
                        Code section 503 and equitable rescission
                        (0.5); email K. Pasquale and I. Sasson
                        regarding case findings (0.4)
06/06/2023   ML30       Litigation Update - Monitor pending                2.10    540.00    1,134.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3); prepare reference
                        materials for 6.8.23 hearing (.2); correspond
                        with I. Sasson re certain case documents
                        (.1); research and prepare same for C. Diaz
                        (.2); review deposition documents regarding
                        M. Edgar (.2); update pending litigation
                        deadlines (.2); correspond with I. Sasson re
                        same (.1)
06/07/2023   ML30       Litigation Update - Monitor pending                1.60    540.00     864.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3); prepare documents and
                        arrange hearing lines for 6.8.23 hearing (.3);
                        review deposition documents regarding P.
                        Greaves (.2)
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06/08/2023   BK12       Review updated term sheet re: proposal for         0.40   1,625.00    650.00
                        [5036] investment (.3); correspond with I.
                        Sasson re: same (.1)
06/08/2023   EG18       Review and comment on JPL memo from                0.50   1,875.00    937.50
                        S&C
06/08/2023   FM7        Correspond with I. Sasson regarding 5036           0.20   1,875.00    375.00
                        litigation settlement
06/08/2023   KP17       Review revised 5036 terms sheet (.2); emails       0.40   1,875.00    750.00
                        with B. Glueckstein re same (.2)
06/08/2023   LK19       Prepare summary for K. Pasquale and I.             0.70    855.00     598.50
                        Sasson of adversary complaint filed by
                        Leslie Stuart
06/08/2023   LK19       Email I. Sasson and E. Gilad regarding             0.20    855.00     171.00
                        updated litigation memo
06/08/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
06/09/2023   BL10       Review Sequoia documents in preparation            1.80   1,290.00   2,322.00
                        for Sequoia litigation
06/09/2023   IS6        Analyze UCC objection to Sequoia sale              0.70   1,290.00    903.00
                        motion
06/09/2023   KP17       Review Sequoia sale motion (.8); emails            1.70   1,875.00   3,187.50
                        with B. Levine, B. Kelly re same (.3); emails
                        with B. Glueckstein re Sequoia sale motion
                        discovery (.2); analyze potential litigation
                        strategy re same (.4)
06/09/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
06/10/2023   KP17       Emails with K. Hansen, Jefferies re [5005]         1.60   1,875.00   3,000.00
                        (.2); analyze additional [5089] information re
                        prospective litigation (1.4)
06/11/2023   IS6        Analyze Bahamas intervention and                   1.20   1,290.00   1,548.00
                        mediation issues
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06/11/2023   IS6        Analyze 5036 potential claims against the           1.20   1,290.00   1,548.00
                        estate and related authority
06/11/2023   KP17       Emails with R. Poppiti re Bahamas                   0.40   1,875.00    750.00
                        intervention process (.2); email with White
                        & Case re Bahamas intervention (.2)
06/12/2023   IS6        Analyze JPL intervention issues                     0.20   1,290.00    258.00
06/12/2023   KP17       Review Sequoia sale motion and contract re          0.40   1,875.00    750.00
                        releases
06/12/2023   KP17       Analyze intervention precedent re Bahamas           0.50   1,875.00    937.50
                        adversary proceeding
06/13/2023   IS6        Analyze 5036 claims and related documents           0.40   1,290.00    516.00
06/13/2023   KP17       Call with J. Zakia re Bahamas intervention          0.20   1,875.00    375.00
06/13/2023   KH18       Review Bahamas issues regarding pending             2.10   2,075.00   4,357.50
                        litigation, intervention, and retention of
                        expert (1.6); correspond with K. Pasquale
                        regarding same (.5)
06/14/2023   IS6        Second level review of 5036 documents.              1.80   1,290.00   2,322.00
06/14/2023   KP17       Review [5036] financial information re              1.10   1,875.00   2,062.50
                        litigation evaluation of proposed transaction
06/14/2023   KP17       Emails with B. Glueckstein re Bahamas               0.20   1,875.00    375.00
                        issues
06/14/2023   KP17       Review and comment on debtors' draft                1.20   1,875.00   2,250.00
                        amended complaint re Bahamas
06/14/2023   LK19       Review and comment on draft amended                 0.30    855.00     256.50
                        complaint against JPLs of FTX DM (0.2);
                        emails with I. Sasson regarding same (0.1)
06/15/2023   IS6        Review and comment on draft intervention            0.70   1,290.00    903.00
                        stipulation.
06/15/2023   KP17       Review as-filed amended Bahamas                     1.00   1,875.00   1,875.00
                        complaint (.5); calls with J. Zakia re
                        Bahamas intervention (.2); review and revise
                        draft intervention stipulation re Bahamas
                        (.3)
06/16/2023   BL10       Prepare notes, comments on Sequoia                  0.40   1,290.00    516.00
                        diligence in connection with Sequoia
                        litigation prep
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06/16/2023   IS6        Analyze Sequoia documents re potential             1.70   1,290.00   2,193.00
                        litigation claims
06/16/2023   KP17       Analyze select produced documents re               3.10   1,875.00   5,812.50
                        [5089] section 363 motion (1.9); evaluate
                        litigation issues re [5089] (1.2)
06/16/2023   KP17       Call with [Bahamas counsel] re expert              0.20   1,875.00    375.00
                        retention
06/16/2023   KP17       Analyze public and produced documents re           1.40   1,875.00   2,625.00
                        Bahamian target [5114]
06/16/2023   MM57       Review transcript of SBF hearing (.1);             0.60    540.00     324.00
                        correspond with D. Laskin and YCST re:
                        Third Circuit admissions (.1); draft forms
                        and request certificates of good standing re:
                        same (.4)
06/16/2023   MM57       Research re: Debtors' Bahamian counsel             0.40    540.00     216.00
                        (.3); correspond with G. Sasson, I. Sasson
                        and K. Pasquale re: same (.1)
06/17/2023   IS6        Analyze Sequoia production                         1.20   1,290.00   1,548.00
06/17/2023   KP17       Review and revise draft [5089] section 363         0.50   1,875.00    937.50
                        objection
06/18/2023   KP17       Emails with E. Gilad re [5089] motion              0.20   1,875.00    375.00
06/19/2023   KP17       Analyze Debtors' draft complaint and               2.80   1,875.00   5,250.00
                        underlying documents re [5040]
06/20/2023   IS6        Review and comment on 5040 draft                   1.70   1,290.00   2,193.00
                        adversary complaint
06/20/2023   KP17       Review JPLs' comments to draft                     0.30   1,875.00    562.50
                        intervention order (.2); emails with I. Sasson
                        re same (.1)
06/20/2023   KP17       Analyze [5040] documents and claims in             3.30   1,875.00   6,187.50
                        connection with draft complaint
06/20/2023   ML30       Litigation Update - Monitor pending                0.80    540.00     432.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.5); review recent
                        filings and update working group re same
                        (.3)
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06/20/2023   MM57       Correspond with I. Sasson re: Third Circuit        0.80    540.00     432.00
                        admission (.1); correspond with D. Laskin
                        re: Third Circuit admissions for PH
                        attorneys (.2); complete forms and filings re:
                        same (.5)
06/21/2023   IS6        Draft comments to 5040 adversary                   0.90   1,290.00   1,161.00
                        complaint
06/21/2023   KP17       Emails with B. Glueckstein re [5040] draft         0.20   1,875.00    375.00
                        complaint
06/21/2023   KP17       Review JPLs second interim report re               0.50   1,875.00    937.50
                        Bahamas litigation
06/21/2023   KP17       Analyze 2009 class action motion to dismiss        0.40   1,875.00    750.00
                        re customer claims
06/21/2023   KP17       Continued analysis of certain [5040]               2.80   1,875.00   5,250.00
                        documents in connection with draft
                        complaint
06/21/2023   LK19       Emails with I. Sasson regarding second             1.00    855.00     855.00
                        report of the JPLs on Bahamas litigation
                        (0.2); analyze second report of the JPLs on
                        Bahamas litigation (0.8)
06/21/2023   ML30       Litigation Update - Monitor pending                0.80    540.00     432.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.5); review recent
                        filings and update working group re same
                        (.3)
06/21/2023   MM57       Review and prepare Third Circuit                   0.40    540.00     216.00
                        admissions for J. Iaffaldano and I. Sasson
06/22/2023   FM7        Review Kives/ K5 draft complaint                   0.30   1,875.00    562.50
06/22/2023   GS13       Review class action complaints (.9); meeting       2.40   1,625.00   3,900.00
                        with class action plaintiffs' lawyers and K.
                        Pasquale regarding same (1.2); follow-up
                        correspondence with K. Pasquale regarding
                        same (.3)
06/22/2023   IS6        Analyze draft 5040 adversary complaint             0.30   1,290.00    387.00
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Date         Initials   Description                                       Hours      Rate    Amount
06/22/2023   KP17       Review certain class action complaints in          4.50   1,875.00   8,437.50
                        prep for meeting with MDL plaintiffs'
                        attorneys (1.1); meeting with MDL
                        plaintiffs’ attorneys (R. Lieff, J. Saveri, J.
                        Swanson) and G. Sasson re same and
                        updates (1.2); analyze jurisdictional and
                        related legal issues re same (1.8); review and
                        revise draft email to Committee re K5
                        complaint (.4)
06/22/2023   KP17       Finalize Bahamas intervention order (.1);          0.60   1,875.00   1,125.00
                        emails with I. Sasson re same (.2); review
                        and revise Bahamas expert engagement
                        letter (.3)
06/22/2023   KP17       Review as-filed K5 complaint                       0.40   1,875.00    750.00
06/22/2023   LK19       Review and comment on intervention order           0.20    855.00     171.00
                        regarding adversary proceeding against FTX
                        DM
06/22/2023   LK19       Review adversary complaint against K5 filed        1.80    855.00    1,539.00
                        by the Debtors (1.2); prepare summary of
                        same for K. Pasquale and I. Sasson (0.6)
06/22/2023   ML30       Litigation Update - Monitor pending                0.90    540.00     486.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.5); review recent
                        filings and update working group re same
                        (.4)
06/23/2023   KP17       Analyze MDL pleadings (2.2); evaluate,             4.50   1,875.00   8,437.50
                        analyze precedent and litigation strategies re
                        same (2.3)
06/23/2023   ML30       Litigation Update - Monitor pending                1.90    540.00    1,026.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.5); review recent
                        filings and update working group re same
                        (.3); correspond with K. Pasquale, I. Sasson
                        re secondary MDL docket in FLSD (.3);
                        review filings and update working group re
                        same (.8)
06/25/2023   MM57       Correspond with I. Sasson regarding Third          0.20    540.00     108.00
                        Circuit appearances
06/26/2023   IS6        Review and revise 5036 situation overview          1.10   1,290.00   1,419.00
                        presentation.
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Date         Initials   Description                                       Hours      Rate    Amount
06/26/2023   IS6        Analyze 3010 complaint.                            0.80   1,290.00   1,032.00
06/26/2023   KP17       Review precedent re 5036 settlement (1.8);         3.20   1,875.00   6,000.00
                        draft parts of Committee presentation re
                        [5036] settlement (1.4)
06/26/2023   KP17       Review and comment upon Debtors' draft             1.20   1,875.00   2,250.00
                        complaint v. [3010]
06/26/2023   KP17       Review Debtors' revised draft document             0.40   1,875.00    750.00
                        demands re Bahamas
06/26/2023   LK19       Revise 5036 documents for 06/28/23                 1.90    855.00    1,624.50
                        Committee meeting (1.4); correspond with
                        K. Pasquale regarding in pari delicto case
                        law (0.3); review issues regarding same (0.2)
06/26/2023   MM57       Correspond with R. Poppiti and D. Laskin           0.60    540.00     324.00
                        (YCST) regarding Third Circuit filings (.2);
                        execute filing of same (.4)
06/27/2023   IS6        Review and comment on Debtors' draft               1.10   1,290.00   1,419.00
                        document requests to the Bahamas JPLs
06/27/2023   KP17       Further review and revise draft document           0.60   1,875.00   1,125.00
                        demands to JPLs/Bahamas
06/27/2023   LK19       Revise presentation for the Committee              1.30    855.00    1,111.50
                        regarding 5036 (0.2); review recent filings in
                        pending adversary proceedings for
                        upcoming deadlines (0.4); email I. Sasson
                        regarding same (0.2); review and comment
                        on 3010 complaint (0.5)
06/27/2023   LK19       Review and comment on Debtors' RFPs to             1.00    855.00     855.00
                        JPLs (0.8); emails with I. Sasson and K.
                        Pasquale regarding same (0.2)
06/28/2023   IS6        Revise email to Debtors re Committee 5036          0.50   1,290.00    645.00
                        proposal (.3); review and comment on draft
                        email to the Committee re 3010 complaint
                        (.2)
06/28/2023   KP17       Analyze [5036] information per Committee           2.10   1,875.00   3,937.50
                        inquiries (1.7); email S&C re same (.4)
06/28/2023   KC27       Review Alameda complaint against 3010              1.80    915.00    1,647.00
                        (.6); summarize same (1.2)
06/28/2023   LM20       Review and summarize SDNY decision on              0.40    855.00     342.00
                        SBF's motion to dismiss criminal case
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Date         Initials   Description                                      Hours       Rate      Amount
06/28/2023   LK19       Correspond with K. Pasquale regarding              0.10    855.00         85.50
                        5036
06/28/2023   LK19       Analyze Debtors' requests for production to        0.40    855.00       342.00
                        JPLs of FTX Digital Markets (0.3); email I.
                        Sasson regarding same (0.1)
06/29/2023   IS6        Analyze Bitvo rule 9019 settlement                 0.30   1,290.00      387.00
                        agreement
06/29/2023   KP17       Review Debtors' Bitvo settlement motion            0.60   1,875.00     1,125.00
                        (.2); emails with G. Sasson, E. Gilad re
                        same (.1); analyze 4004 discovery demand
                        and issues list re FTX claims (.3)
06/29/2023   KP17       Review Bahamas discovery to Debtors                0.20   1,875.00      375.00
06/29/2023   LK19       Analyze Bitvo/Pateno settlement motion             2.50    855.00      2,137.50
                        (1.7); prepare summary of same for K.
                        Hansen, K. Pasquale, E. Gilad, G. Sasson
                        (0.8)
06/30/2023   KP17       Review documents regarding litigation              1.60   1,875.00     3,000.00
                        claims between Debtors, 4004 (1.1); analyze
                        and prepare notes regarding same (.5)
             Subtotal: B191 General Litigation                           125.60              166,499.00




B195   Non-Working Travel
06/08/2023   KP17       Non-working portion of travel to NY from           1.00    937.50       937.50
                        Wilmington after court hearings (Bill at 1/2
                        rate)
06/09/2023   IS6        Travel to Delaware from NY for hearings            2.50    645.00      1,612.50
                        on JPL lift stay motion and sealing motion
                        (Bill at 1/2 rate)
06/09/2023   KP17       Non-working portion of travel from                 1.20    937.50      1,125.00
                        Wilmington to NY after hearing on sealing
                        motion (Bill at 1/2 rate)
             Subtotal: B195 Non-Working Travel                             4.70                3,675.00




B210   Business Operations
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Date         Initials   Description                                      Hours      Rate    Amount
06/01/2023   KP17       Revise draft Committee meeting minutes            0.30   1,875.00    562.50
06/01/2023   LK19       Revise charters for ventures, coin, and           0.20    855.00     171.00
                        reboot subcommittees
06/01/2023   LK19       Draft minutes of 05/31/23 Committee               1.10    855.00     940.50
                        meeting (0.7); email G. Sasson regarding
                        same (0.1); correspond with K. Pasquale
                        regarding 05/31/23 Committee meeting
                        minutes (0.3)
06/02/2023   FM7        Analyze cash flow roll and budget transfers       0.30   1,875.00    562.50
06/07/2023   LK19       Draft minutes of 06/07/23 Committee               0.80    855.00     684.00
                        meeting
06/09/2023   FM7        Analyze FTI budget update                         0.20   1,875.00    375.00
06/12/2023   KP17       Revise draft Committee meeting minutes            0.20   1,875.00    375.00
06/18/2023   LK19       Draft minutes of 06/09/23 coin                    0.60    855.00     513.00
                        subcommittee meeting
06/19/2023   LK19       Revise minutes of 06/09/23 coin                   1.60    855.00    1,368.00
                        subcommittee meeting (0.5); draft minutes
                        of 06/14/23 Committee meeting (1.0);
                        email G. Sasson regarding same (0.1)
06/20/2023   FM7        Review FTX prepetition vendor payment             0.20   1,875.00    375.00
                        report
06/20/2023   KP17       Revise Committee meeting minutes                  0.20   1,875.00    375.00
06/20/2023   LK19       Revise minutes from 06/14/23 Committee            0.30    855.00     256.50
                        meeting (0.2); correspond with G. Sasson
                        and K. Pasquale regarding same (0.1)
06/21/2023   KC27       Revise monetization subcommittee minutes          0.30    915.00     274.50
                        (.2); correspond with K. Hansen, K.
                        Pasquale and E. Gilad regarding same (.1)
06/21/2023   LK19       Email K. Catalano regarding minutes from          0.10    855.00      85.50
                        06/09/23 coin subcommittee meeting
06/22/2023   LK19       Review notes from 06/21/23 Committee              0.90    855.00     769.50
                        meeting (0.2); draft minutes of 06/21/23
                        Committee meeting (0.7)
06/26/2023   FM7        Analyze cash flow roll                            0.20   1,875.00    375.00
06/26/2023   KP17       Review and revise draft Committee meeting         0.20   1,875.00    375.00
                        minutes
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Date         Initials   Description                                      Hours      Rate    Amount
06/27/2023   KC27       Prepare minutes for coin subcommittee             0.60    915.00      549.00
                        meeting held 6/22/23 (.5); correspond with
                        G. Sasson on same (.1)
06/29/2023   KC27       Revise coin subcommittee meeting minutes          1.60    915.00     1,464.00
                        from May 18, June 9, June 12, and June 22
                        (1.5); correspond with G. Sasson regarding
                        same (.1)
06/29/2023   LK19       Draft minutes of 06/28/23 Committee               1.30    855.00     1,111.50
                        meeting (1.2); email G. Sasson regarding
                        same (0.1)
06/30/2023   GS13       Review and revise minutes for committee           1.20   1,625.00    1,950.00
                        and subcommittee telephone conferences
                        (.9); emails with L. Koch regarding same
                        (.3)
06/30/2023   LK19       Revise minutes of 06/28/23 Committee              0.90    855.00      769.50
                        meeting (0.7); emails with G. Sasson and K.
                        Pasquale regarding same (0.2)
             Subtotal: B210 Business Operations                          13.30              14,281.50




B211   Financial Reports (Monthly Operating Reports)
06/20/2023   FM7        Review Emergent monthly operating report          0.20   1,875.00     375.00
06/29/2023   FM7        Analyze Debtors' sixth interim financial          0.30   1,875.00     562.50
                        update
             Subtotal: B211 Financial Reports (Monthly                    0.50                937.50
                       Operating Reports)




B215   Regulatory Matters
06/01/2023   AAN1       Analyze monetization practices under UCC          3.10   1,235.00    3,828.50
                        regulations (2.9); prepare outline regarding
                        same (0.2)
06/01/2023   AAN1       Analyze FTI consulting deck regarding             3.40   1,235.00    4,199.00
                        monetization of tokens (1.7); prepare inserts
                        to same (0.9); prepare comments on same
                        (0.8)
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Date         Initials   Description                                       Hours      Rate    Amount
06/01/2023   EG18       Analyze FTX 2.0 terms and process (.9);            1.10   1,875.00   2,062.50
                        comment on strategy for same (.2)
06/01/2023   FM7        Analyze Jefferies reboot outreach summary          0.20   1,875.00    375.00
06/02/2023   AAN1       Continue to analyze FTI consulting deck            3.60   1,235.00   4,446.00
                        regarding pre-trade approvals (2.9); prepare
                        comments on same (0.4); prepare inserts to
                        same (0.3)
06/02/2023   LED        Correspond with Z. Silvers regarding               0.30   1,425.00    427.50
                        banking matters
06/02/2023   LK19       Email G. Sasson and S. Williams                    0.10    855.00      85.50
                        (Philadelphia Indemnity Insurance Co.)
                        regarding surety bonds
06/02/2023   ZS1        Correspond with L. Greenbacker regarding           0.20   1,175.00    235.00
                        banking and uniform depository agreement
06/05/2023   CD5        Call with G. Sasson and S. Williams                0.40   1,700.00    680.00
                        (Philadelphia Indemnity Insurance Co.)
                        regarding indemnity, surety bonds
06/05/2023   GS13       Telephone conference with C. Daniel and S.         0.80   1,625.00   1,300.00
                        Williams (Philadelphia Indemnity Insurance
                        Company) regarding surety bonds (.4);
                        review and comment on surety bond issues
                        (.4)
06/05/2023   KH18       Review insurance indemnity issues                  0.80   2,075.00   1,660.00
06/05/2023   KH18       Review 2.0 process updates and terms               0.80   2,075.00   1,660.00
06/05/2023   LED        Correspond with S&C and G. Sasson                  0.50   1,425.00    712.50
                        regarding banking arrangement
06/06/2023   KH18       Review insurance indemnity issues                  0.90   2,075.00   1,867.50
06/06/2023   KH18       Review and comment on 2.0 updates and              0.90   2,075.00   1,867.50
                        process
06/07/2023   FM7        Review PWP (Cofsky) correspondence                 0.10   1,875.00    187.50
                        regarding reboot and related telephone
                        conference
06/07/2023   LED        Correspond with S&C regarding banking              0.20   1,425.00    285.00
                        matters
06/08/2023   AAN1       Analyze digital assets named as securities in      3.70   1,235.00   4,569.50
                        Coinbase and 4000 enforcement actions
                        (3.3); prepare notes regarding same (0.4)
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Date         Initials   Description                                      Hours      Rate    Amount
06/09/2023   AAN1       Further analyze digital assets named as           1.80   1,235.00   2,223.00
                        securities in Coinbase and 4000
                        enforcement actions (1.4); prepare notes
                        regarding same (0.4)
06/13/2023   CD5        Conference with LK Greenbacker regarding          0.30   1,700.00    510.00
                        FTX Europe and perfection of collateral at
                        bank
06/13/2023   CX3        Telephone conference with K. Hansen, E.           0.50    915.00     457.50
                        Gilad, F. Merola, G. Sasson and Jefferies re
                        FTX 2.0
06/13/2023   EG18       Telephone conference with Jefferies, K.           0.50   1,875.00    937.50
                        Hansen, G. Sasson, F. Merola, and C. Xu
                        regarding 2.0 process
06/13/2023   FM7        Review E. Gilad correspondence with               0.60   1,875.00   1,125.00
                        Jefferies regarding reboot (0.1); telephone
                        conference with Jefferies, K. Hansen, E.
                        Gilad, G. Sasson, C. Xu regarding reboot
                        and 5005 (0.5)
06/13/2023   GS13       Review 2.0 RFP documents (.4); telephone          0.90   1,625.00   1,462.50
                        conference with E. Gilad, K. Hansen, F.
                        Merola, C. Xu, and M. O'Hara regarding 2.0
                        (.5)
06/13/2023   KH18       Review 2.0 RFP documents (.4); telephone          0.90   2,075.00   1,867.50
                        conference with Jefferies, E. Gilad, F.
                        Merola, G. Sasson, C. Xu re 2.0 (.5)
06/13/2023   LED        Call with C. Daniel regarding FTX                 0.90   1,425.00   1,282.50
                        regulatory matters and related action items
                        (.3); correspond with A. Srivastava
                        regarding FTX Europe (.2); correspond
                        with G. Sasson regarding Western Alliance
                        (.2); review correspondence from UCC
                        members regarding 5005 (.2)
06/14/2023   EG18       Correspond with Jefferies in advance of 2.0       0.20   1,875.00    375.00
                        telephone conference with Debtors
06/14/2023   FM7        Analyze Hultgren correspondence regarding         0.20   1,875.00    375.00
                        Project Focus VDR
06/14/2023   FM7        Correspond with B. Kelly regarding ICA            0.20   1,875.00    375.00
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Date         Initials   Description                                     Hours      Rate    Amount
06/14/2023   LED        Review correspondence from FTI regarding         0.60   1,425.00    855.00
                        5005 (.4); review correspondence from FTI
                        regarding monetization matters (.2)
06/14/2023   MEG9       Review emails between L. Greenbacker and         0.20   1,425.00    285.00
                        A. Srivastava regarding CySEC
06/15/2023   CD5        Conference with G. Sasson and M. Griffin         0.50   1,700.00    850.00
                        regarding custody agreement changes, FTX
                        EU, and FTX 2.0 (.4); follow up review of
                        Western Alliance issues (.1)
06/15/2023   EG18       Review FTX 2.0 update deck from PWP              0.50   1,875.00    937.50
                        (.4); review updated 2.0 process letter
                        received from PWP (0.1)
06/15/2023   FM7        Review PWP reboot outreach summary               0.60   1,875.00   1,125.00
                        (0.3); correspond with M. Zuppone
                        regarding tokenized equity (0.3)
06/15/2023   GS13       Review custody agreement changes (.3);           0.70   1,625.00   1,137.50
                        telephone conference with C. Daniel and
                        M. Griffin regarding same (.4)
06/15/2023   GS13       Review 2.0 RFP documents                         0.40   1,625.00    650.00
06/15/2023   KH18       Review exchange issues and 2.0 process           0.30   2,075.00    622.50
06/15/2023   LED        Review FTX 2.0 documents                         0.40   1,425.00    570.00
06/15/2023   MEG9       Call with G. Sasson and C. Daniel regarding      0.60   1,425.00    855.00
                        custody agreement changes (.4); review
                        bank markup of custody agreement (.2)
06/16/2023   BK12       Call with R. Hamilton, K. Hansen, F.             0.50   1,625.00    812.50
                        Merola and E. Gilad re: reboot
06/16/2023   EG18       Telephone conferences with Jefferies, K.         0.50   1,875.00    937.50
                        Hansen, F. Merola, B. Kelly re 2.0 process
06/16/2023   ECS3       Review reboot exchange and recovery right        1.00   1,550.00   1,550.00
                        token terms (.8); prepare comments on
                        same (.2)
06/16/2023   FM7        Telephone conference with Jefferies, K.          0.80   1,875.00   1,500.00
                        Hansen, E. Gilad, B. Kelly regarding reboot
                        (0.5); review E. Gilad correspondence
                        regarding reboot outreach (0.3)
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Date         Initials   Description                                       Hours      Rate    Amount
06/16/2023   KH18       Prepare notes and questions for 2.0 meeting        1.00   2,075.00   2,075.00
                        (.3); telephone conference with Jefferies, E.
                        Gilad, B. Kelly, F. Merola regarding 2.0 (.5);
                        correspond with E. Gilad re 2.0 outreach
                        (.2)
06/16/2023   LED        Correspond with G. Sasson and S&C                  0.20   1,425.00    285.00
                        regarding banking arrangement
06/16/2023   SAQ        Prepare correspondence to L. Greenbacker           0.20   1,125.00    225.00
                        regarding FTX 2.0 term sheet
06/19/2023   CD5        Call with L. Kaplan, L. Greenbacker, M.            0.80   1,700.00   1,360.00
                        Griffin, S. Sepinuck, Z. Silvers regarding
                        U.S. Trustee's perfected security interest in
                        bank
06/19/2023   LED        Review banking documents (.4); attend call         2.40   1,425.00   3,420.00
                        with C. Daniel, S. Sepinuck, L. Kaplan, Z.
                        Silvers, and M. Griffin regarding same (.8);
                        correspond with L. Kaplan regarding related
                        research query (.4); prepare analysis of
                        banking matters (.8)
06/19/2023   LED        Correspond with C. Daniel regarding                0.20   1,425.00    285.00
                        banking matters
06/19/2023   LDK3       Telephone conference with S. Sepinuck, C.          1.30   1,700.00   2,210.00
                        Daniel, L. Greenbacker, Z. Silvers, M.
                        Griffin regarding bank/US Trustee
                        agreement (.8); review collateralization
                        issues and FDIA preferences (.5)
06/19/2023   MEG9       Call with L. Kaplan, C. Daniel, L.                 0.80   1,425.00   1,140.00
                        Greenbacker, S. Sepinuck, Z. Silvers
                        regarding titling of account at Western
                        Alliance
06/19/2023   SS54       Call with L. Kaplan, LK Greenbacker, C.            0.80   1,365.00   1,092.00
                        Daniel, Z. Silvers and M. Griffin regarding
                        effect of Uniform Depositary Agreement
                        on security interest
06/19/2023   SS54       Analyze perfection of security interest            0.80   1,365.00   1,092.00
                        under Uniform Depositary Agreement
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Date         Initials   Description                                       Hours      Rate    Amount
06/19/2023   ZS1        Participate in call with L. Kaplan, C. Daniel,     0.90   1,175.00   1,057.50
                        L. Greenbacker, S. Sepinuck, and M. Griffin
                        regarding perfection of security interest in
                        collateral held at Reserve Bank (.8); prepare
                        follow up notes regarding same (.1)
06/20/2023   EG18       Telephone conference with prospective 2.0          1.10   1,875.00   2,062.50
                        investor and G. Sasson
06/20/2023   EG18       Telephone conference with Jefferies                0.50   1,875.00    937.50
                        regarding FTX 2.0
06/20/2023   GS13       Call with bidder, E. Gilad re: FTX 2.0             1.10   1,625.00   1,787.50
06/20/2023   KH18       Analyze 2.0 options and prospective                0.90   2,075.00   1,867.50
                        investor
06/21/2023   CD5        Conference with LK Greenbacker regarding           0.40   1,700.00    680.00
                        banking issues, surety bonds and FTX EU
06/21/2023   FM7        Analyze PWP agenda regarding reboot                0.30   1,875.00    562.50
                        telephone conference (0.2); review Jefferies
                        correspondence regarding reboot telephone
                        conference with K. Cofsky (PWP) (0.1)
06/21/2023   KH18       Correspond with E. Gilad and F. Merola             0.90   2,075.00   1,867.50
                        (PH) regarding 2.0 (.6); review and
                        comment on updated 2.0 documents and
                        terms (.3)
06/21/2023   LED        Attend call with C. Daniel on FTX                  0.40   1,425.00    570.00
                        regulatory matters
06/22/2023   FM7        Analyze reboot outreach summary                    0.20   1,875.00    375.00
06/22/2023   LED        Review and comment on banking analysis             1.40   1,425.00   1,995.00
                        (.8); correspond with G. Sasson and E.
                        Gilad regarding open Fintech/regulatory
                        matters and next steps (.6)
06/22/2023   MEG9       Review and mark up banking agreement               1.00   1,425.00   1,425.00
06/26/2023   AS61       Review Sullivan & Cromwell                         0.70   1,900.00   1,330.00
                        correspondence regarding call with CySEC
                        (.3); prepare email to S&C regarding same
                        (.3); correspond with G. Sasson regarding
                        same (.1)
06/26/2023   FM7        Review Jefferies news run regarding reboot         0.20   1,875.00    375.00
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06/27/2023   AS61       Review CySec talking points and questions          1.60   1,900.00   3,040.00
                        (1.4); correspond with N. Moffatt to
                        prepare for call on same (.2)
06/28/2023   CA14       Correspond with E. Sibbitt and G. Khoury           1.00   1,235.00   1,235.00
                        regarding proposals for FTX 2.0 (.2); review
                        and comment on proposals for FTX 2.0 (.8)
06/28/2023   CD5        Conference with N. Moffatt, F. Merola, G.          0.40   1,700.00    680.00
                        Sasson, L. Greenbacker regarding FTX
                        Europe
06/28/2023   EG18       Review debtor version of FTI deck on               0.50   1,875.00    937.50
                        monetization
06/28/2023   EG18       Review 2.0 indications of interest (1.4);          2.20   1,875.00   4,125.00
                        outline strategy considerations regarding
                        same (.8)
06/28/2023   EG18       Pre-telephone conference with Jefferies, K.        0.30   1,875.00    562.50
                        Pasquale regarding 2.0
06/28/2023   FM7        Review FTX reboot indications of interest          1.50   1,875.00   2,812.50
06/28/2023   FM7        Telephone conference with G. Sasson, N.            0.40   1,875.00    750.00
                        Moffatt, L. Greenbacker, and C. Daniel
                        regarding FTX Europe
06/28/2023   GS13       Review Debtors' documents regarding FTX            2.60   1,625.00   4,225.00
                        Europe (2.2); telephone conference with C.
                        Daniel, F. Merola, L. Greenbacker, and N.
                        Moffatt regarding FTX Europe issues (.4)
06/28/2023   GK6        Analyze and compare proposals for FTX              3.60    915.00    3,294.00
                        2.0 (3.3); correspond with E. Sibbitt and C.
                        Anderson regarding initial proposals for
                        FTX 2.0 (0.3)
06/28/2023   KP17       Review project focus bids (.6); call with          0.90   1,875.00   1,687.50
                        Jefferies, E. Gilad re same (.3)
06/28/2023   LED        Attend call with N. Moffatt, G. Sasson, F.         0.40   1,425.00    570.00
                        Merola, and C. Daniel regarding FTX
                        Europe and CySEC
06/28/2023   LK19       Email S. Quattrocchi and K. Fedler                 1.00    855.00     855.00
                        regarding FTX 2.0 bids (0.4); analyze FTX
                        2.0 bids (0.6)
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06/28/2023   JM46       Attend call with G. Sasson, C. Daniel, F.           0.40   1,425.00    570.00
                        Merola, L. Greenbacker regarding CySec
                        issues and FTX Europe
06/28/2023   SAQ        Correspond with L. Koch regarding FTX               0.20   1,125.00    225.00
                        2.0 bid proposals
06/28/2023   SAQ        Correspond with L. Greenbacker regarding            0.20   1,125.00    225.00
                        FTX 2.0 bid proposals review
06/28/2023   SAQ        Review FTX 2.0 bid proposals                        0.20   1,125.00    225.00
06/29/2023   CD19       Review and evaluate indications of interest         0.40   1,125.00    450.00
                        re FTX 2.0
06/29/2023   CA14       Correspond with E. Sibbitt and G. Khoury            1.50   1,235.00   1,852.50
                        regarding 2.0 bids (.2); analyze 2.0 bids (.9);
                        prepare 2.0 bid summary chart (.4)
06/29/2023   CD5        Correspond with E. Sibbitt regarding 2.0            0.30   1,700.00    510.00
                        term sheet
06/29/2023   CD5        Call with LK Greenbacker regarding                  0.30   1,700.00    510.00
                        evaluating FTX 2.0 bids
06/29/2023   EG18       Analyze FTX 2.0 bid proposals (.9); outline         1.50   1,875.00   2,812.50
                        strategy considerations regarding same (.6)
06/29/2023   ECS3       Perform comparative analysis of 2.0 bids            1.50   1,550.00   2,325.00
06/29/2023   FM7        Review N. Moffatt correspondence                    0.50   1,875.00    937.50
                        regarding FTX Europe update (0.2); analyze
                        FTX EU deck (0.3)
06/29/2023   FM7        Review summary of initial reboot proposals          0.50   1,875.00    937.50
                        (0.3); analyze Rahmani (PWP)
                        correspondence regarding initial proposals
                        regarding reboot (0.2)
06/29/2023   GS13       Review 2.0 proposals (1.2); emails with             1.50   1,625.00   2,437.50
                        Jefferies regarding same (.3)
06/29/2023   GS13       Review and respond to correspondence                2.00   1,625.00   3,250.00
                        from N. Moffatt regarding FTX Europe
                        (.8); review documents from Debtors
                        regarding FTX Europe (.9); emails with K.
                        Hansen and K. Pasquale regarding FTX
                        Europe (.3)
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Date         Initials   Description                                        Hours      Rate      Amount
06/29/2023   GK6        Analyze and compare proposals for FTX               6.50    915.00      5,947.50
                        2.0 (6.2); correspond with E. Sibbitt and C.
                        Anderson regarding initial proposals for
                        FTX 2.0 (0.3)
06/29/2023   KP17       Review project focus proposals                      0.40   1,875.00      750.00
06/29/2023   LED        Review FTX 2.0 documents (.5); call with            1.20   1,425.00     1,710.00
                        C. Daniel regarding regulatory analysis of
                        2.0 bids and bidders (.3); attend call with S.
                        Quattrocchi regarding same (.4)
06/29/2023   LK19       Email G. Sasson and E. Gilad regarding              0.30    855.00       256.50
                        summary of FTX Europe situation
                        documents
06/29/2023   JM46       Attend meeting with CySec regarding FTX             4.00   1,425.00     5,700.00
                        Europe (2.5); prepare summary of meeting
                        (1.0); correspond with G. Sasson regarding
                        same (0.5)
06/29/2023   SAQ        Conference with L. Greenbacker regarding            0.40   1,125.00      450.00
                        regulatory review of FTX 2.0 bids
06/30/2023   CA14       Correspond with E. Sibbitt and G. Khoury            2.50   1,235.00     3,087.50
                        regarding initial FTX 2.0 bids (.2); review
                        initial FTX 2.0 bids (.9); prepare bid
                        summary chart regarding same (.5); review
                        and comment on plan term sheet with
                        respect to initial 2.0 bids (.9)
06/30/2023   FM7        Review summary of initial reboot proposals          0.30   1,875.00      562.50
06/30/2023   GK6        Analyze and compare initial proposals for           1.20    915.00      1,098.00
                        FTX 2.0 (1.0); correspond with E. Sibbitt
                        and C. Anderson regarding initial proposals
                        for FTX 2.0 (0.2)
06/30/2023   LK19       Analyze documents produced by the                   0.20    855.00       171.00
                        Debtors via VDR regarding FTX Europe
                        (0.1); summarize same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.1)
06/30/2023   SAQ        Correspond with P. Patel regarding                  0.10   1,125.00      112.50
                        FinCEN post-closing requirements
             Subtotal: B215 Regulatory Matters                             98.70              146,090.00
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Date         Initials   Description                                       Hours       Rate    Amount

B220   Employee Benefits/Pensions
06/01/2023   GS13       Review and comment on KEIP order (.8);             0.90    1,625.00   1,462.50
                        email with C. Diaz regarding same (.1)
06/10/2023   LK19       Analyze documents produced by the                  0.20     855.00     171.00
                        Debtors via VDR regarding bonuses (0.1);
                        prepare summary of same for K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson (0.1)
             Subtotal: B220 Employee Benefits/Pensions                      1.10              1,633.50




B230   Financing/Cash Collections
06/08/2023   EG18       Review updated cash management order               0.60    1,875.00   1,125.00
                        (.4); correspond with G. Sasson regarding
                        same (.2)
             Subtotal: B230 Financing/Cash Collections                     0.60               1,125.00




B240   Tax Issues
06/01/2023   GS15       Analyze basis for IRS tax claims                   1.40    1,600.00   2,240.00
06/02/2023   GS15       Analyze potential basis for IRS claims (.8);       1.00    1,600.00   1,600.00
                        call with N. Wong regarding same (.2)
06/02/2023   NKW1       Conference with G. Silber regarding S&C            0.30     855.00     256.50
                        theory and tax analysis needed for FICA
                        related purposes (.2); prepare notes on same
                        (.1)
06/06/2023   NKW1       Review Revenue Ruling 69-184 (.8); review          2.20     855.00    1,881.00
                        authority regarding services performed by a
                        nonpartner (.7); review Internal Revenue
                        Manual instructions regarding Form 8832
                        (.5); correspond with G. Silber regarding tax
                        findings (.2)
06/07/2023   EG18       Analyze FTX tax issues and related claims          0.30    1,875.00    562.50
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Date         Initials   Description                                      Hours      Rate    Amount
06/07/2023   GS15       Telephone conference with N. Wong (PH)            1.70   1,600.00   2,720.00
                        re authority for basis for IRS claims (.2);
                        telephone conference with S. Joffe (FTI) re
                        potential asset disposition tax consequences
                        and IRS process (.6); continue to analyze
                        basis for potential IRS claims (.9)
06/07/2023   NKW1       Review Herrmann v. United States, Internal        1.00    855.00     855.00
                        Revenue Manual 3.13.2.27, and secondary
                        sources regarding employee compensation
                        (.8); call with G. Silber regarding the same
                        (.2)
06/08/2023   GS15       Correspond with N. Wong re analysis of            0.40   1,600.00    640.00
                        potential IRS claims
06/08/2023   NKW1       Review Internal Revenue Code Sections             1.60    855.00    1,368.00
                        7215 and 7512, Tax Criminal Handbook,
                        and instructions for Form 8832 (1.3);
                        correspond with G. Silber regarding the
                        same (.3)
06/09/2023   GS15       Correspond with S. Joffe (FTI), E. Gilad          0.40   1,600.00    640.00
                        and G. Sasson re potential tax aspects of
                        MDL litigation (.2); correspond with N.
                        Wong re analysis of potential IRS claims (.2)
06/09/2023   NKW1       Review Criminal Tax Manual with respect           2.80    855.00    2,394.00
                        to embezzlement (.8); review 1958 Senate
                        report legislative history on Internal
                        Revenue Code Section 7215 (.5); review
                        United States v. Randolph case (.5); review
                        Treasury Regulation Sections 301.7701-1,
                        301.7701-2, and 301.7701-3 (.7); correspond
                        with G. Silber regarding findings (.3)
06/12/2023   GS13       Review IRS claims (1.0); telephone                1.80   1,625.00   2,925.00
                        conference with FTI and G. Silber
                        regarding same (.4); follow-up
                        correspondence with E. Gilad regarding
                        same (.4)
06/12/2023   GS15       Analyze authority regarding potential IRS         0.70   1,600.00   1,120.00
                        claims (.3); call with FTI and G. Sasson
                        regarding same (.4)
06/12/2023   KH18       Review and analyze tax claims                     1.50   2,075.00   3,112.50
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Date         Initials   Description                                       Hours      Rate     Amount
06/12/2023   NKW1       Correspond with G. Silber regarding FTX            0.50    855.00      427.50
                        silos and application of Section 382 of the
                        Internal Revenue Code (.2); analyze and
                        prepare notes regarding the same (.3)
06/14/2023   GS15       Analyze IRS theories for claims asserted           1.70   1,600.00    2,720.00
                        against FTX companies
06/15/2023   GS15       Telephone conference with S&C tax re IRS           1.20   1,600.00    1,920.00
                        claims and audit process (.7); follow-up
                        telephone conference with S. Joffe (FTI) re
                        same (.5)
06/15/2023   NKW1       Analyze case law regarding Section 382 of          1.00    855.00      855.00
                        the Internal Revenue Code
06/16/2023   GS15       Tax analysis of asserted IRS claims                1.40   1,600.00    2,240.00
06/26/2023   GS15       Telephone conference with S&C re update            1.70   1,600.00    2,720.00
                        on tax audit and claims process (.6); analyze
                        application of 4000 precedent to FTX (1.1)
06/29/2023   JPO2       Correspond with G. Silber regarding tax            0.30   1,975.00     592.50
                        issues
06/30/2023   GS15       Correspond with G. Sasson re open tax              2.00   1,600.00    3,200.00
                        issues (.4); analyze DOJ directives re fraud
                        victims (1.6)
             Subtotal: B240 Tax Issues                                    26.90              36,989.50




B261   Investigations
06/01/2023   AJGA       Update FTX investigation memorandum                0.60    855.00      513.00
                        for potential causes of action
06/01/2023   RJ1        Review documents produced by the                   0.70    855.00      598.50
                        Debtors regarding potential claims by 5036
06/01/2023   RJ1        Review documents produced by the                   1.40    855.00     1,197.00
                        Debtors regarding potential claims by 5036
06/01/2023   RJ1        Participate in meeting with I. Sasson, L.          0.30    855.00      256.50
                        Miliotes, L. Koch, E. Oakley, N. John
                        regarding UCC investigation update
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Date         Initials   Description                                      Hours      Rate    Amount
06/01/2023   EJO        Review part of investigation memo (.4);           0.70    855.00     598.50
                        attend telephone conference with I. Sasson,
                        L. Miliotes, L. Koch, C. Jackson, N. John
                        regarding investigation update and next
                        steps (.3)
06/01/2023   IS6        Call with L. Miliotes, L. Koch, E. Oakley,        0.30   1,290.00    387.00
                        N. John, C. Jackson re outstanding
                        investigation topics
06/01/2023   LM20       Telephone conference with I. Sasson, E.           2.50    855.00    2,137.50
                        Oakley, L. Koch, R. Jackson, N. John re
                        investigative document review (0.3); draft
                        investigative memorandum re 5077/5077
                        investment (0.9); review documents
                        produced by FTX re potential causes of
                        action related to 5077/5077 (1.3)
06/01/2023   LK19       Conference with I. Sasson, L. Miliotes, E.        0.30    855.00     256.50
                        Oakley, R. Jackson, N. John regarding UCC
                        investigation update
06/01/2023   LK19       Review documents produced by the                  0.30    855.00     256.50
                        Debtors via VDR regarding 5036 (.1);
                        prepare summary of same for K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson (.2)
06/01/2023   LPD        Review documents produced by FTX for              2.90    855.00    2,479.50
                        potential causes of action re: 5009
06/01/2023   MOL        Prepare documents for review regarding            0.50    375.00     187.50
                        review of FTX third party productions
06/01/2023   NJ2        Attend call with I. Sasson, L. Miliotes, L.       0.30    855.00     256.50
                        Koch, E. Oakley, C. Jackson re: new targets
                        for investigation
06/02/2023   AJGA       Update FTX investigation memorandum               1.00    855.00     855.00
                        for potential causes of action
06/02/2023   RJ1        Correspond with L. Koch regarding 5036            0.20    855.00     171.00
                        documents produced by the Debtors
06/02/2023   EJO        Review documents produced by the                  3.70    855.00    3,163.50
                        Debtors for investigation of 5039
06/02/2023   IS6        Outline outstanding 5036 investigation            0.30   1,290.00    387.00
                        issues
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06/02/2023   KP17       Emails with Quinn Emanuel [2009] re Rule          0.40   1,875.00    750.00
                        2004 requests (.2); review regulatory order
                        re [2009] (.2)
06/02/2023   LM20       Correspond with L. Koch re UCC                    0.20    855.00     171.00
                        investigations and related document review
06/02/2023   LK19       Correspond with R. Klute (PH) regarding           0.30    855.00     256.50
                        UCC investigation (0.1); emails with I.
                        Sasson and L. Miliotes regarding same (0.2)
06/02/2023   LPD        Review documents produced by FTX for              5.80    855.00    4,959.00
                        potential causes of action re: 5009
06/02/2023   NMN        Update FTX investigation memorandum               1.60    915.00    1,464.00
                        for potential causes of action based on L.
                        Tsao's feedback
06/04/2023   RJ1        Review documents regarding 5036                   2.80    855.00    2,394.00
                        produced by the Debtors
06/04/2023   LM20       Review documents produced by FTX                  4.90    855.00    4,189.50
                        relevant to causes of action against
                        5077/5077
06/04/2023   LK19       Emails with I. Sasson and R. Jackson              0.10    855.00      85.50
                        regarding 5036 investigation
06/04/2023   LPD        Review documents produced by FTX for              6.00    855.00    5,130.00
                        potential causes of action re: 5009
06/05/2023   AJGA       Update FTX investigation memorandum               2.10    855.00    1,795.50
                        for potential causes of action
06/05/2023   RJ1        Review documents produced by the debtors          1.30    855.00    1,111.50
                        for potential claims by 5036 (1.2); follow up
                        correspondence with UnitedLex about same
                        (.1)
06/05/2023   EJO        Review documents produced by the                  2.70    855.00    2,308.50
                        Debtors for investigation of 5039
06/05/2023   LM20       Review documents produced by the Debtor           3.40    855.00    2,907.00
                        in connection with 5077/5077 investment
                        (1.2); draft investigative memorandum re
                        same (2.2)
06/05/2023   LK19       Emails with UnitedLex regarding document          0.10    855.00      85.50
                        productions from the Debtors
06/05/2023   LPD        Review documents produced by FTX for              4.10    855.00    3,505.50
                        potential causes of action re: 5009
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06/05/2023   NMN        Update FTX investigation memorandum                0.40    915.00     366.00
                        for potential causes of action
06/05/2023   NJ2        Review documents in data room re: Layer            1.00    855.00     855.00
                        Zero for potential causes of action
06/06/2023   RJ1        Prepare 5036 roundup regarding 5119                1.70    855.00    1,453.50
                        Prepare summary roundup regarding 5119
                        for K. Pasquale and I. Sasson
06/06/2023   RJ1        Review documents for potential causes of           1.20    855.00    1,026.00
                        action in connection with 5119
06/06/2023   EJO        Review documents produced by the                   4.00    855.00    3,420.00
                        Debtors for investigation of 5039
06/06/2023   LPD        Review documents produced by FTX for               4.90    855.00    4,189.50
                        potential causes of action re: 5009
06/06/2023   MOL        Prepare documents from debtors for PH              0.80    375.00     300.00
                        investigative review
06/06/2023   NMN        Update FTX investigation memorandum                5.40    915.00    4,941.00
                        for potential causes of action
06/06/2023   NJ2        Review documents in data room re: 5046             5.20    855.00    4,446.00
                        for potential causes of action
06/07/2023   RJ1        Review documents produced by FTX                   1.20    855.00    1,026.00
                        regarding 5119 for potential causes of
                        action
06/07/2023   RJ1        Review documents produced by FTX for               1.10    855.00     940.50
                        potential causes of action re FTX
06/07/2023   EJO        Review documents produced by the                   2.50    855.00    2,137.50
                        Debtors for investigation of 5039
06/07/2023   LM20       Review documents produced by the                   2.60    855.00    2,223.00
                        Debtors related to their investment in 5107
06/07/2023   LT9        Review and revise investigative                    0.50   1,525.00    762.50
                        memorandum (.3); comment on
                        investigative next steps and new targets (.2)
06/07/2023   LT9        Telephone conference with N. Nicholson             0.30   1,525.00    457.50
                        Gaviria on investigation plans
06/07/2023   LK19       Emails with L. Duffy, E. Oakley, R.                0.80    855.00     684.00
                        Jackson, and N. John regarding UCC
                        investigation (0.3); update Rule 2004 tracker
                        (0.5)
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06/07/2023   LPD        Review documents produced by FTX for             11.80    855.00    10,089.00
                        potential causes of action re: 5009
06/07/2023   MOL        Prepare documents received for PH                 0.50    375.00      187.50
                        investigative review
06/07/2023   NMN        Conference with L. Tsao regarding updates         0.30    915.00      274.50
                        to investigation plan
06/07/2023   NMN        Update FTX investigation memorandum               6.20    915.00     5,673.00
                        for potential causes of action
06/07/2023   NJ2        Review documents in data room re: 5046            2.00    855.00     1,710.00
06/08/2023   AJGA       Update FTX investigation memorandum               2.80    855.00     2,394.00
                        for potential causes of action
06/08/2023   RJ1        Review documents produced by FTX                  2.80    855.00     2,394.00
                        regarding 5119 for potential causes of
                        action
06/08/2023   EJO        Review documents produced by the                  2.60    855.00     2,223.00
                        Debtors for investigation of 5039
06/08/2023   KH18       Review investigations update and related          0.90   2,075.00    1,867.50
                        UCC report
06/08/2023   LM20       Review documents produced by the                  2.60    855.00     2,223.00
                        Debtors regarding their investments in the
                        5107 (2.2); review additional documents and
                        comments re same (.4)
06/08/2023   LK19       Email I. Sasson and D. O'Hara (S&C)               0.20    855.00      171.00
                        regarding third party productions from
                        3001 and 3003
06/08/2023   LPD        Review documents produced by FTX for              3.80    855.00     3,249.00
                        potential causes of action re: 5009
06/08/2023   NMN        Update FTX investigation memorandum               0.40    915.00      366.00
                        for potential causes of action
06/08/2023   NJ2        Review documents in data room re: 5046            3.00    855.00     2,565.00
                        for potential causes of action
06/09/2023   AJGA       Update FTX investigation memorandum               1.20    855.00     1,026.00
                        for potential causes of action
06/09/2023   EJO        Review documents produced by the                  1.20    855.00     1,026.00
                        Debtors for investigation of 5039
06/09/2023   IS6        Analysis re outstanding discovery requests        0.30   1,290.00     387.00
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Date         Initials   Description                                       Hours      Rate    Amount
06/09/2023   KP17       Emails with Quinn Emanuel, Rule 2004               0.40   1,875.00    750.00
                        targets re Rule 2004 compliance
06/09/2023   LM20       Draft investigative memorandum re the              3.60    855.00    3,078.00
                        Debtors' investment in 5107
06/09/2023   LM20       Update investigations and litigation               1.30    855.00    1,111.50
                        presentation to the Committee (0.6);
                        correspond with L. Koch re same (0.2);
                        correspond with A. Gomez Abreu re 5056
                        investigative memorandum (0.5)
06/09/2023   LK19       Draft litigation and investigation update for      1.00    855.00     855.00
                        06/14/23 Committee meeting (0.6); emails
                        with L. Miliotes and I. Sasson regarding
                        same (0.1); emails to K. Pasquale and I.
                        Sasson regarding 5065 investigation (0.1);
                        emails with M. Lopez and UnitedLex
                        regarding productions from 3005, 3001, and
                        3003 (0.2)
06/09/2023   LPD        Review documents produced by FTX for               2.60    855.00    2,223.00
                        potential causes of action re: 5009
06/09/2023   MOL        Prepare documents received for PH                  0.50    375.00     187.50
                        investigative review
06/09/2023   NMN        Update FTX investigation memorandum                4.70    915.00    4,300.50
                        for potential causes of action
06/10/2023   KP17       Analyze additional information re [5065]           1.60   1,875.00   3,000.00
                        investigation (.8); emails with [5065] counsel
                        re Rule 2004 production (.2); review open
                        investigation matters (.4); emails with Quinn
                        Emanuel re same (.2)
06/10/2023   LM20       Correspond with K. Pasquale re 5101                0.60    855.00     513.00
                        investment (0.3); correspond with K.
                        Pasquale re investigation memoranda
                        update and next steps (0.2); correspond
                        with L. Tsao re same (0.1)
06/10/2023   LT9        Review and revise memorandum of                    0.60   1,525.00    915.00
                        investigative next steps
06/10/2023   LT9        Review Department of Justice remission             0.50   1,525.00    762.50
                        program (0.3); draft correspondence to K.
                        Pasquale and I. Sasson regarding same (0.2)
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Date         Initials   Description                                      Hours      Rate    Amount
06/10/2023   LK19       Revise Rule 2004 application to 5065 (0.3);       0.40    855.00     342.00
                        email I. Sasson and K. Pasquale regarding
                        same (0.1)
06/10/2023   LPD        Review documents produced by FTX for              4.60    855.00    3,933.00
                        potential causes of action re: 5009
06/10/2023   NMN        Update FTX investigation memorandum               0.30    915.00     274.50
                        for potential causes of action based on L.
                        Tsao's comments
06/11/2023   IS6        Analyze outstanding third party discovery         0.80   1,290.00   1,032.00
                        issues (.6); prepare summary of same for K.
                        Pasquale (.2)
06/11/2023   LM20       Correspond with L. Tsao, N. Nicolson              0.20    855.00     171.00
                        Gaviria, and A. Gomes-Abreu re
                        investigation next steps
06/11/2023   LPD        Review documents produced by FTX for              0.50    855.00     427.50
                        potential causes of action re: 5009
06/12/2023   RJ1        Review documents produced by FTX                  1.80    855.00    1,539.00
                        regarding 5119 for potential causes of
                        action
06/12/2023   EJO        Review documents produced by the                  3.80    855.00    3,249.00
                        Debtors for investigation of 5039
06/12/2023   KP17       Review memo re SBF criminal case                  3.60   1,875.00   6,750.00
                        developments (.2); analyze select documents
                        from Debtors' recent productions (2.8);
                        review and revise draft investigations deck
                        for Committee (.6)
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Date         Initials   Description                                      Hours      Rate    Amount
06/12/2023   LK19       Prepare inserts to Committee investigations       2.10    855.00    1,795.50
                        and litigation presentation (0.7); correspond
                        with K. Pasquale, I. Sasson, and L. Miliotes
                        regarding same (0.4); correspond with K.
                        Pasquale and I. Sasson regarding
                        outstanding Rule 2004 discovery (0.2);
                        correspond with K. Pasquale and J.
                        Palmerson (QE) regarding Rule 2004
                        discovery requests (0.3); correspond with
                        UnitedLex regarding third party
                        productions from 1005 and 1000 (0.2);
                        review document production from 3001
                        (0.1); correspond with K. Pasquale
                        regarding document production from 3001
                        (0.2)
06/12/2023   LPD        Review documents produced by FTX for              2.30    855.00    1,966.50
                        potential causes of action re: 5009
06/12/2023   MM57       Research criminal proceedings dockets re          0.90    540.00     486.00
                        seizure notices for K. Pasquale
06/12/2023   NJ2        Review documents in data room re: 5046            4.00    855.00    3,420.00
                        for potential causes of action
06/13/2023   AJGA       Update FTX investigation memorandum               1.70    855.00    1,453.50
                        for potential causes of action
06/13/2023   RJ1        Review documents produced by the                  1.10    855.00     940.50
                        Debtors regarding Apollo for potential
                        causes of action
06/13/2023   EJO        Review documents produced by the                  2.00    855.00    1,710.00
                        Debtors for investigation of 5039
06/13/2023   IS6        Attend Rule 2004 meet & confer with A.            0.50   1,290.00    645.00
                        Alden (QE), J. Palmerson (QE), L. Koch
                        and BNK
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Date         Initials   Description                                        Hours      Rate     Amount
06/13/2023   KP17       Analyze information in additional [5065]            6.30   1,875.00   11,812.50
                        documents from Debtors (1.1); analyze
                        information re [3008/5103] re creditor
                        inquiry (1.6); meet & confer with Quinn
                        Emanuel, [2006], L. Koch re Rule 2004
                        requests (.5); review select documents re
                        same (.6); prepare notes for [2009] meet &
                        confer (.2); meet & confer with Quinn
                        Emanuel, [2009], L. Koch re Rule 2004
                        requests (.3); review select documents re
                        same (.4); call with L. Kaplan, L. Koch, M.
                        Griffin re [2008] Rule 2004 issues (.2);
                        analyze select documents re exchange
                        transfer inquiries (1.4)
06/13/2023   LM20       Revise and incorporate comments to                  2.10    855.00     1,795.50
                        investigative memoranda on 5001, 5013,
                        5016, 5020, 5065, 5077, and V.Y. Funds
06/13/2023   LDK3       Analyze right to financial privacy issues (.5);     0.70   1,700.00    1,190.00
                        telephone conference with K. Pasquale, M.
                        Griffin, and L. Koch on 2008 and privacy
                        act issues (.2)
06/13/2023   LK19       Emails with L. Duffy, C. Jackson, N. John,          0.20    855.00      171.00
                        E. Oakley regarding UCC investigation
06/13/2023   LK19       Attend Rule 2004 meet & confer with A.              5.50    855.00     4,702.50
                        Alden (QE), J. Palmerson (QE), K.
                        Pasquale, and 2006 (0.5); attend Rule 2004
                        meet & confer with A. Alden (QE), J.
                        Palmerson (QE), K. Pasquale, and 2009
                        (0.3); conference with M. Griffin, L.
                        Kaplan, K. Pasquale regarding Privacy Act
                        in connection with Rule 2004 discovery
                        (0.2); attend Rule 2004 meet & confer with
                        A. Alden (QE), J. Palmerson (QE), I.
                        Sasson and BNK (0.5); emails with J.
                        Palmerson and K. Pasquale regarding Rule
                        2004 discovery (0.3); analyze documents
                        regarding 5065 (1.8); draft memorandum
                        regarding UCC's investigation of 5065 (1.6);
                        correspond with I. Sasson regarding same
                        (0.1); emails with UnitedLex and M. Lopez
                        regarding production from the Debtors and
                        third parties (0.2)
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Date         Initials   Description                                      Hours      Rate    Amount
06/13/2023   MOL        Prepare documents received for PH                 0.50    375.00     187.50
                        investigative review
06/13/2023   MEG9       Call with K. Pasquale, L. Kaplan, L. Koch         0.40   1,425.00    570.00
                        on 2008 and privacy act issues (0.2);
                        respond to emails from I. Sasson regarding
                        same (0.2)
06/13/2023   NJ2        Review documents in data room re: 5046            1.00    855.00     855.00
                        for potential causes of action
06/14/2023   CD19       Review N. Gaviria summary re recent               0.30   1,125.00    337.50
                        developments re SBF's criminal case
06/14/2023   RJ1        Correspond with UnitedLex regarding               2.80    855.00    2,394.00
                        certain document productions and related
                        review (.2); review documents regarding
                        5043 (2.6)
06/14/2023   EJO        Review documents produced by the                  4.90    855.00    4,189.50
                        Debtors for investigation of 5039
06/14/2023   IS6        Review and analyze recent SBF criminal            2.00   1,290.00   2,580.00
                        filings.
06/14/2023   JI2        Review and revise summary of SBF criminal         1.40   1,125.00   1,575.00
                        pleadings (.8); emails with N. Nicholson re
                        same (.3); review SBF criminal docket re
                        same (.2); emails with I. Sasson re same (.1)
06/14/2023   KP17       Review and revise draft Rule 2004 requests        1.40   1,875.00   2,625.00
                        to [5059] entities (.6); review certain
                        produced documents re same (.8)
06/14/2023   KH18       Analyze and comment on updated                    0.80   2,075.00   1,660.00
                        investigation targets and topics
06/14/2023   LM20       Call with L. Tsao and N. Nicholson Gaviria        0.10    855.00      85.50
                        re 5103 investigation
06/14/2023   LT9        Review authority regarding new cause of           0.20   1,525.00    305.00
                        action (.1); telephone conference with N.
                        Nicholson Gaviria and L. Miliotes on
                        additional cause of action in UCC
                        investigation (.1)
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Date         Initials   Description                                       Hours      Rate    Amount
06/14/2023   LK19       Email UnitedLex regarding productions              1.00    855.00     855.00
                        from 5065 (0.2); email R. Jackson, N. John,
                        E. Oakley, L. Duffy regarding UCC
                        investigation update (0.1); review
                        documents produced by 5065 (0.5);
                        correspond with K. Pasquale regarding
                        interview of PWP regarding 5065 (0.2)
06/14/2023   LK19       Email B. Glueckstein (S&C) and S. Fulton           0.30    855.00     256.50
                        (S&C) regarding 5065 investigation (0.2);
                        correspond with K. Pasquale regarding
                        same (0.1)
06/14/2023   LPD        Review documents produced by FTX for               1.50    855.00    1,282.50
                        potential causes of action re: 5009
06/14/2023   MEG9       Review email from N. Nicholson re: S.              0.20   1,425.00    285.00
                        Bankman Fried criminal docket
06/14/2023   NMN        Conference with L. Tsao and L. Miliotes            0.10    915.00      91.50
                        regarding potential cause of action
06/14/2023   NMN        Analyze case law regarding potential cause         2.20    915.00    2,013.00
                        of action
06/15/2023   RJ1        Review documents regarding 5043 for                0.70    855.00     598.50
                        potential causes of action
06/15/2023   RJ1        Attend meeting with L. Koch, L. Miliotes,          0.30    855.00     256.50
                        N. John, E. Oakley regarding investigative
                        update and ongoing document review
06/15/2023   EJO        Review documents produced by the                   2.10    855.00    1,795.50
                        Debtors for investigation of 5039
06/15/2023   EJO        Review documents produced by the                   3.10    855.00    2,650.50
                        Debtors for investigation of 5082
06/15/2023   EJO        Attend telephone conference with L. Koch,          0.50    855.00     427.50
                        L. Miliotes, R. Jackson, N. John regarding
                        UCC investigation and next steps (.3);
                        follow up correspondence with L. Koch
                        regarding same (.2)
06/15/2023   KP17       Analyze select documents produced by               1.80   1,875.00   3,375.00
                        [5065] re claims investigation (1.6); emails
                        with I. Sasson, L. Koch re same (.2)
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Date         Initials   Description                                      Hours      Rate    Amount
06/15/2023   LM20       Call with L. Koch, E. Oakley, R. Jackson,         0.50    855.00     427.50
                        N. John re document review and
                        investigation updates (.3); correspond with
                        I. Sasson re 5107 investment (.2)
06/15/2023   LT9        Review analysis on potential claims against       0.40   1,525.00    610.00
                        3008 and 5103
06/15/2023   LT9        Correspond with N. Nicholson Gaviria on           0.20   1,525.00    305.00
                        potential claims against 3008 and 5103
06/15/2023   LK19       Attend meet-and-confer with 2007 (0.5);           4.70    855.00    4,018.50
                        meeting with L. Miliotes, R. Jackson, N.
                        John, E. Oakley regarding UCC
                        investigation and plan for same (0.3);
                        correspond with E. Oakley regarding same
                        (0.2); review documents produced by 5065
                        (0.7); emails with I. Sasson and K. Pasquale
                        regarding same (0.2); prepare questions for
                        interview regarding 5065 (1.9); emails with
                        UnitedLex regarding production from 5065
                        (0.4); review and prepare document
                        production regarding 5089 for UnitedLex
                        (0.3); emails with K. Pasquale and I. Sasson
                        regarding document production regarding
                        5089 (0.2)
06/15/2023   LPD        Review documents produced by FTX for              4.20    855.00    3,591.00
                        potential causes of action re: 5009
06/15/2023   NMN        Draft criminal docket update re: S.               0.80    915.00     732.00
                        Bankman-Fried
06/15/2023   NJ2        Attend meeting with L. Koch, L. Miliotes,         0.50    855.00     427.50
                        R. Jackson, E. Oakley re: UCC
                        investigations and next steps (.3); review
                        new investigation topics (.2)
06/16/2023   CD19       Review summary of updates in SBF                  0.60   1,125.00    675.00
                        criminal case
06/16/2023   RJ1        Correspond with UnitedLex regarding               0.50    855.00     427.50
                        document review related to UCC
                        investigations
06/16/2023   EJO        Review documents produced by the                  2.80    855.00    2,394.00
                        Debtors for investigation of 5082
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Date         Initials   Description                                      Hours      Rate    Amount
06/16/2023   IS6        Call with L. Koch re outstanding document         0.80   1,290.00   1,032.00
                        review (.3); review 3008 token issues (.5)
06/16/2023   KP17       Call with Quinn Emanuel, E. Goodman               1.10   1,875.00   2,062.50
                        (FDIC counsel), L. Koch re 2008 Rule 2004
                        issues (.4); review proposed protective order
                        from FDIC re same (.3); review memo re
                        investigation target [3008/5103] (.4)
06/16/2023   LK19       Attend Rule 2004 meet & confer with K.            2.80    855.00    2,394.00
                        Pasquale, S. Rand (QE), J. Palmerson (QE),
                        and A. Alden (QE) and 2008 (0.4); meeting
                        with I. Sasson regarding UCC investigation
                        (0.3); draft timeline of key events regarding
                        5065 (0.9); draft questions for interview
                        regarding 5065 investigation (1.2)
06/16/2023   NMN        Draft criminal docket update re: S.               1.60    915.00    1,464.00
                        Bankman-Fried
06/16/2023   NMN        Conference with M. Carlisle regarding             0.20    915.00     183.00
                        additional potential cause of action for
                        analysis
06/16/2023   NJ2        Review documents in virtual data room as          1.50    855.00    1,282.50
                        part of investigation re: 5046
06/17/2023   KP17       Review and revise [5065] outline for witness      1.20   1,875.00   2,250.00
                        interviews, timeline of key events (.9);
                        review pertinent documents in connection
                        with same (.3)
06/17/2023   LPD        Review documents produced by FTX for              1.90    855.00    1,624.50
                        potential causes of action re: 5009
06/18/2023   LPD        Review documents produced by FTX for              3.00    855.00    2,565.00
                        potential causes of action re: 5009
06/19/2023   EJO        Review documents produced by the                  5.80    855.00    4,959.00
                        Debtors for investigation of 5082
06/19/2023   IS6        Review 5065 discovery timeline (.6); revise       1.40   1,290.00   1,806.00
                        draft questions to PWP re same (.8)
06/19/2023   KP17       Revise and draft parts of outline for witness     2.60   1,875.00   4,875.00
                        interviews regarding [5065] (.8); review
                        select hot documents from recent Rule
                        2004 productions (1.8)
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06/19/2023   LT9        Analyze authority regarding 3008 causes of        0.40   1,525.00    610.00
                        action
06/19/2023   LK19       Analyze documents produced by the                 1.50    855.00    1,282.50
                        Debtors regarding 5089 (0.8); summarize
                        same for K. Pasquale and I. Sasson (0.4);
                        emails with I. Sasson and K. Pasquale
                        regarding 5065 investigation (0.3)
06/19/2023   NMN        Correspond with L. Tsao re: analysis for          0.30    915.00     274.50
                        additional potential cause of action
06/19/2023   NJ2        Review data room and data room                    5.00    855.00    4,275.00
                        documents regarding 5046 for potential
                        causes of action
06/20/2023   AJGA       Update FTX investigation memorandum               3.30    855.00    2,821.50
                        for potential causes of action
06/20/2023   EJO        Review documents produced by the                  3.90    855.00    3,334.50
                        Debtors for investigation of 5082
06/20/2023   KP17       Emails with Quinn Emanuel re Rule 2004            2.40   1,875.00   4,500.00
                        update (.2); review select recently produced
                        documents from Rule 2004 targets (2.2)
06/20/2023   KP17       Emails to B. Glueckstein re [5065], [5040]        0.30   1,875.00    562.50
06/20/2023   KH18       Review updates regarding 5065                     0.90   2,075.00   1,867.50
                        investigation
06/20/2023   LM20       Prepare parts of investigative memos on           1.90    855.00    1,624.50
                        5077, 5065, and MPL (1.2); review
                        documents produced by the Debtors re
                        investment in 5101 (.7)
06/20/2023   LK19       Email J. Palmerson regarding Rule 2004            0.40    855.00     342.00
                        meet & confer regarding 2010 (0.1); email
                        E. Oakley regarding UCC investigation (0.3)
06/20/2023   LPD        Review documents produced by FTX for              0.50    855.00     427.50
                        potential causes of action re: 5009 (.4);
                        prepare summary in connection with same
                        (.1)
06/20/2023   MOL        Prepare documents received for PH                 0.50    375.00     187.50
                        investigative review
06/20/2023   NJ2        Review documents of interest in data room         3.00    855.00    2,565.00
                        re: 5046 for UCC investigation
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Date         Initials   Description                                      Hours      Rate    Amount
06/21/2023   AJGA       Update FTX investigation memorandum               1.60    855.00    1,368.00
                        for potential causes of action
06/21/2023   EJO        Correspond with I. Sasson, K. Pasquale,           0.60    855.00     513.00
                        and L. Koch regarding certain 5082
                        documents identified in review of
                        documents produced by Debtors
06/21/2023   EJO        Review documents produced by the                  2.10    855.00    1,795.50
                        Debtors for investigation of 5082
06/21/2023   KP17       Meet & confer call with Quinn Emanuel,            1.40   1,875.00   2,625.00
                        [1000] re Rule 2004 requests (.3); review
                        select documents re [1000] (1.1)
06/21/2023   KH18       Correspond with K. Pasquale and I. Sasson         0.70   2,075.00   1,452.50
                        regarding UCC investigations and additional
                        targets, topics (.4); analyze and comment on
                        same (.3)
06/21/2023   LK19       Email UnitedLex regarding third party             0.30    855.00     256.50
                        production from 2009
06/21/2023   LPD        Review documents produced by FTX for              2.90    855.00    2,479.50
                        potential causes of action re: 5009 (2.7);
                        prepare summary in connection with same
                        (.2)
06/21/2023   NJ2        Review documents in data room re: 5046            2.30    855.00    1,966.50
                        for FTX investigation
06/22/2023   KP17       Meet & confer call with Quinn Emanuel,            1.10   1,875.00   2,062.50
                        [2010] re Rule 2004 requests (.5); review and
                        prepare notes re investigations update,
                        progress, and next steps (.4); review and
                        revise draft PWP email re [5065] (.2)
06/22/2023   LPD        Review documents produced by FTX for              1.00    855.00     855.00
                        potential causes of action re: 5009 (.9);
                        prepare summary in connection with same
                        (.1)
06/22/2023   NJ2        Review documents of interest in data room         2.00    855.00    1,710.00
                        re: 5046 for FTX investigation
06/23/2023   GS13       Review Debtors' report on commingling             1.10   1,625.00   1,787.50
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Date         Initials   Description                                      Hours      Rate    Amount
06/23/2023   LK19       Review and comment on draft Rule 2004             1.70    855.00    1,453.50
                        requests to 5059, 5059, and 5059 (0.8);
                        prepare inserts to investigations and
                        litigation presentation for UCC (0.4); emails
                        with R. Poppiti (YCST) and L. Miliotes
                        regarding same (0.3); emails with K.
                        Pasquale, I. Sasson, and UnitedLex
                        regarding third party production from 1000
                        (0.2)
06/23/2023   NJ2        Review documents of interest in data room         3.00    855.00    2,565.00
                        re: 5046 for UCC investigation
06/24/2023   KP17       Analyze documents, information re [5065]          1.20   1,875.00   2,250.00
                        investigation
06/24/2023   LK19       Review and comment on rule 2004 request           0.90    855.00     769.50
                        (0.5); correspond with K. Pasquale and O.
                        Yeffet (QE) regarding same (0.2);
                        correspond with K. Pasquale and J.
                        Palmerson (QE) regarding Rule 2004
                        request to 2003 (0.2)
06/24/2023   LPD        Review documents produced by FTX for              3.60    855.00    3,078.00
                        potential causes of action re: 5009 (3.4);
                        prepare summary of same (.2)
06/25/2023   LM20       Correspond with L. Tsao, N. Nicholson             0.80    855.00     684.00
                        Gaviria, and A. Gomes-Abreu re
                        investigation memoranda and next steps
                        (.6); call with L. Tsao regarding UCC
                        investigation presentation (.2)
06/25/2023   LT9        Telephone conference with L. Miliotes on          0.20   1,525.00    305.00
                        investigation plan presentation for UCC
06/25/2023   LK19       Update litigation and investigation               0.40    855.00     342.00
                        presentation for 06/28/23 Committee
                        meeting (0.3); emails with L. Miliotes
                        regarding same (0.1)
06/25/2023   NMN        Update FTX investigation memorandum               0.20    915.00     183.00
                        for potential causes of action
06/25/2023   NJ2        Review documents of interest in data room         2.00    855.00    1,710.00
                        re: 5046 for FTX investigation
06/26/2023   AJGA       Update FTX investigation memorandum               1.20    855.00    1,026.00
                        for potential causes of action
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Date         Initials   Description                                       Hours      Rate    Amount
06/26/2023   EJO        Review documents produced by the                   3.70    855.00    3,163.50
                        Debtors for investigation of 5039
06/26/2023   KP17       Correspond with K. Hansen, I. Sasson re            3.50   1,875.00   6,562.50
                        [5065] and open investigation matters (.8);
                        review and revise investigation/litigation
                        deck for Committee (.6); analyze certain
                        investigation information re same (1.7);
                        emails with Quinn Emanuel re Rule 2004
                        requests (.4)
06/26/2023   LM20       Prepare parts of presentation re pending           0.90    855.00     769.50
                        investigations for UCC meeting
06/26/2023   LK19       Prepare parts of investigations and                1.70    855.00    1,453.50
                        litigations update presentation for 06/28/23
                        Committee meeting (1.5); email UnitedLex
                        regarding productions from 1005 (0.2)
06/26/2023   LPD        Review documents produced by FTX for               2.20    855.00    1,881.00
                        potential causes of action re: 5009 (2.0);
                        prepare summary in connection with same
                        (.2)
06/26/2023   NMN        Update FTX investigation memorandum                0.40    915.00     366.00
                        for potential causes of action
06/26/2023   NJ2        Review documents of interest in data room          6.00    855.00    5,130.00
                        re: 5046 for FTX investigation
06/27/2023   RJ1        Correspond with UnitedLex regarding                0.30    855.00     256.50
                        Apollo documents/data
06/27/2023   KP17       Analyze documents, information re                  4.60   1,875.00   8,625.00
                        potential fiduciary targets (2.8); analyze
                        certain documents re [3010] complaint (1.8)
06/27/2023   LK19       Correspond with UnitedLex regarding third          0.90    855.00     769.50
                        party production from 1005 (0.2); revise
                        investigations and litigation presentation for
                        06/28/23 Committee meeting (0.4);
                        correspond with K. Pasquale, I. Sasson, and
                        L. Miliotes regarding same (0.2); correspond
                        with L. Duffy regarding UCC investigation
                        (0.1)
06/27/2023   LPD        Review documents produced by FTX for               2.90    855.00    2,479.50
                        potential causes of action re: 5009
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06/27/2023   NJ2        Review documents of interest in data room           4.50    855.00      3,847.50
                        re: 5046 for FTX investigation
06/28/2023   CD19       Review and revise summary re                        1.40   1,125.00     1,575.00
                        memorandum opinion in USA v. Samuel
                        Bankman-Fried
06/28/2023   KP17       Analyze documents, information re claims            2.50   1,875.00     4,687.50
                        target [5062]
06/28/2023   KC27       Review decision on S. Bankman-Fried's               1.30    915.00      1,189.50
                        motions to dismiss (.4); revise L. Miliotes
                        summary on same (.9)
06/28/2023   LPD        Review documents produced by FTX for                0.60    855.00       513.00
                        potential causes of action re: 5009
06/28/2023   MOL        Prepare documents received for PH                   0.50    375.00       187.50
                        investigative review
06/28/2023   NJ2        Review documents of interest in data room           1.00    855.00       855.00
                        re: 5046 for FTX investigation
06/29/2023   KP17       Analyze select documents, information re            3.00   1,875.00     5,625.00
                        investigation targets [5062; 5039] (2.2);
                        revise draft email to Rule 2004 party [2010]
                        (.2); draft issues list for meeting with
                        Debtors re investigations (.6)
06/30/2023   AJGA       Update FTX investigation memorandum                 0.20    855.00       171.00
                        for potential causes of action
06/30/2023   KP17       Draft agenda/topic list for meeting with            2.70   1,875.00     5,062.50
                        S&C re investigations (.7); analyze hot
                        documents re same (2.0)
06/30/2023   LK19       Emails with J. Palmerson (QE) regarding             0.40    855.00       342.00
                        production from 1007 (0.2); emails with
                        UnitedLex regarding production from 1007
                        (0.2)
06/30/2023   NMN        Update FTX investigation memorandum                 0.60    915.00       549.00
                        for potential causes of action
             Subtotal: B261 Investigations                                361.90              364,699.50




B310   Claims Administration and Objections
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06/06/2023   GS13       Review and revise customer bar date              1.20   1,625.00   1,950.00
                        motion (.8); review precedent regarding
                        same (.4)
06/07/2023   CD19       Correspond with G. Sasson, E. Gilad and I.       1.10   1,125.00   1,237.50
                        Sasson re bar date motion (.4); revise same
                        (.7)
06/07/2023   EG18       Review and comment on customer bar date          1.10   1,875.00   2,062.50
                        motion mark up
06/09/2023   EG18       Draft inserts to and revise customer bar         0.90   1,875.00   1,687.50
                        date order and customer claim procedures
                        (.8); correspond with G. Sasson regarding
                        same (.1)
06/10/2023   EG18       Review and revise customer bar date              2.90   1,875.00   5,437.50
                        order/customer claim procedures
06/11/2023   CD19       Review and revise bar date order (4.2);          4.60   1,125.00   5,175.00
                        correspond with E. Gilad, G. Sasson and I.
                        Sasson re same (.4)
06/11/2023   EG18       Draft inserts to and revise customer bar         4.20   1,875.00   7,875.00
                        date order (3.8); correspond with G. Sasson
                        regarding same (.4)
06/11/2023   GS13       Review and revise customer bar date order        1.40   1,625.00   2,275.00
                        (1.1); email with E. Gilad regarding same
                        (.3)
06/12/2023   GS13       Review and revise bar date order (.9);           1.30   1,625.00   2,112.50
                        correspond with E. Gilad regarding same
                        (.4)
06/13/2023   EG18       Review and comment on claims                     0.40   1,875.00    750.00
                        presentation (.3); correspond with FTI
                        regarding same (.1)
06/13/2023   EG18       Review and comment on updated bar date           0.80   1,875.00   1,500.00
                        order (.5); call with G. Sasson regarding
                        same (.3)
06/13/2023   GS13       Review and revise bar date motion and            2.30   1,625.00   3,737.50
                        order (1.8); telephone conference with E.
                        Gilad regarding same (.3); correspond with
                        K. Catalano regarding same (.2)
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Date         Initials   Description                                      Hours      Rate    Amount
06/13/2023   IS6        Correspond with G. Sasson and A.                  1.00   1,290.00   1,290.00
                        Kranzley re Debtors' changes to claims bar
                        date order (.3); review and revise bar date
                        order re customer guarantee claim
                        information (.7)
06/13/2023   IS6        Analyze potential Sequoia claim objection         1.30   1,290.00   1,677.00
06/13/2023   KC27       Review proof of claim form (.2); revise           6.10    915.00    5,581.50
                        same (.5); correspond with G. Sasson
                        regarding same (.1); correspond with
                        debtors' counsel regarding same (.1); review
                        updated customer bar date motion and
                        order (.8); revise same (1.6); prepare
                        comparison and comments on same in
                        connection with prior version (.1); review
                        G. Sasson and E. Gilad comments to
                        revised customer bar date order (.5);
                        correspond with G. Sasson regarding same
                        (.1); incorporate comments from G. Sasson
                        and E. Gilad into same (1.8); correspond
                        with debtors' counsel regarding same (.1);
                        review emails between G. Sasson, I. Sasson,
                        and E. Gilad regarding same (.2)
06/14/2023   CD19       Review comments to bar date motion and            2.70   1,125.00   3,037.50
                        order from S&C, G. Sasson, E. Gilad (.2);
                        revise same to incorporate comments (1.6);
                        call with E. Gilad and G. Sasson re same
                        (.5); review and revise ancillary bar date
                        motion documents (.4)
06/14/2023   EG18       Telephone conference with G. Sasson and           0.50   1,875.00    937.50
                        C. Diaz regarding customer bar date motion
06/14/2023   EG18       Review and comment on updated customer            1.50   1,875.00   2,812.50
                        bar date order and procedures (1.3);
                        correspond with G. Sasson regarding same
                        (.2)
06/14/2023   GS13       Review revised customer bar date motion           1.60   1,625.00   2,600.00
                        and related documents (1.1); telephone
                        conference with E. Gilad and C. Diaz
                        regarding same (.5)
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Date         Initials   Description                                      Hours      Rate    Amount
06/14/2023   KC27       Review revised customer bar date order (.6);      3.80    915.00    3,477.00
                        revise same (1.3); correspond with debtors'
                        counsel regarding same (.1); review emails
                        from E. Gilad and G. Sasson regarding
                        same (.1); review publication notice for
                        same (.5); revise same (.4); correspond with
                        G. Sasson regarding same (.2); review bar
                        date notice (.3); review postcard notice for
                        bar dates (.2); correspond with debtors'
                        counsel regarding same (.1)
06/15/2023   KH18       Analyze options claims and related                0.90   2,075.00   1,867.50
                        documents in respect of claims issues
06/16/2023   GS13       Review Debtors' Schedules and SOFAs in            0.50   1,625.00    812.50
                        connection with claims assessment
06/16/2023   KP17       Review Debtors' customer claims bar date          1.30   1,875.00   2,437.50
                        motion (.9); correspond with K. Catalano,
                        C. Diaz re same (.4)
06/16/2023   KH18       Continue to analyze options claims (.6);          0.90   2,075.00   1,867.50
                        prepare comments on same (.3)
06/18/2023   EG18       Review and comment on derivative claims           0.30   1,875.00    562.50
                        issues and customer schedule issues
06/19/2023   EG18       Telephone conference with creditor counsel        0.50   1,875.00    937.50
                        regarding customer bar date motion
06/19/2023   GS13       Review and revise customer bar date               1.40   1,625.00   2,275.00
                        motion and related documents (.9); call with
                        creditor re: same (.5)
06/19/2023   KH18       Review customer bar date issues (.8);             1.30   2,075.00   2,697.50
                        correspond with E. Gilad and G. Sasson
                        (PH) regarding same (.5)
06/20/2023   CD19       Correspond with K. Catalano re customer           0.30   1,125.00    337.50
                        claims bar date
06/20/2023   EG18       Correspond with G. Sasson and I. Sasson           0.70   1,875.00   1,312.50
                        regarding bar date motion
06/20/2023   GS13       Review and revise customer bar date order         1.60   1,625.00   2,600.00
                        and related documents
06/20/2023   KH18       Review and comment on customer bar date           1.30   2,075.00   2,697.50
                        motion and order
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Date         Initials   Description                                      Hours      Rate    Amount
06/20/2023   KC27       Review customer bar date motion (.4);             0.60    915.00     549.00
                        prepare comments on and redline of
                        customer bar date motion (.1); correspond
                        with G. Sasson regarding same (.1)
06/21/2023   EG18       Correspond with I. Sasson and G. Sasson           0.30   1,875.00    562.50
                        regarding bar date and claim procedures
06/21/2023   IS6        Review and comment on revised customer            0.30   1,290.00    387.00
                        bar date motion.
06/21/2023   KP17       Review draft revised customer bar date            0.50   1,875.00    937.50
                        order (.3); correspond with I. Sasson, G.
                        Sasson re same (.2)
06/22/2023   FM7        Review FTI correspondence regarding               0.20   1,875.00    375.00
                        claims portal screens
06/22/2023   GS13       Review and comment on bar date                    0.90   1,625.00   1,462.50
                        documents (.6); emails with A. Kranzley
                        regarding same (.3)
06/22/2023   KC27       Review pdf of proof of claim portal for           0.40    915.00     366.00
                        customers from S&C (.3); correspond with
                        G. Sasson on same (.1)
06/23/2023   EG18       Telephone conference with G. Sasson               0.40   1,875.00    750.00
                        regarding bar date issues and documents
06/23/2023   GS13       Review and comment on bar date                    1.90   1,625.00   3,087.50
                        documents (1.2); emails with A. Kranzley
                        regarding same (.3); telephone conference
                        with E. Gilad regarding same (.4)
06/24/2023   LK19       Review U.S. Trustee's objection to                0.20    855.00     171.00
                        customer bar date (0.1); email G. Sasson
                        regarding same (0.1)
06/25/2023   GS13       Review and comment on revised bar date            1.30   1,625.00   2,112.50
                        documents (1.1); emails with S&C regarding
                        same (.2)
06/25/2023   KP17       Review U.S. Trustee objection to claims bar       0.40   1,875.00    750.00
                        date
06/26/2023   CD19       Correspond with S&C re customer claims            0.30   1,125.00    337.50
                        and identification code (.1); correspond
                        with L. Koch re same (.2)
06/26/2023   CD19       Review Debtors' reply to customer bar date        0.30   1,125.00    337.50
                        motion
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Date         Initials   Description                                       Hours      Rate     Amount
06/26/2023   EG18       Analyze and prepare comments on                    0.70   1,875.00    1,312.50
                        customer bar date and claims procedures
06/26/2023   GS13       Review and comment on claims portal and            2.10   1,625.00    3,412.50
                        bar date pleadings
06/26/2023   KC27       Review documents related to customer bar           1.20    915.00     1,098.00
                        date, proof of form claim, and order (1.0);
                        correspond with G. Sasson regarding same
                        (.2)
06/26/2023   LK19       Review Debtors' schedules regarding                0.70    855.00      598.50
                        customer claims and identifying information
                        (0.4); emails with G. Sasson regarding same
                        (0.3)
06/27/2023   CD19       Review and comment on revised bar date             1.70   1,125.00    1,912.50
                        documents (1.2); correspond with G.
                        Sasson re same (.2); correspond with S&C
                        re same (.3)
06/27/2023   KC27       Review documents regarding customer bar            1.20    915.00     1,098.00
                        date (1.1); correspond with G. Sasson
                        regarding same (.1)
             Subtotal: B310 Claims Administration and                     67.30              99,235.50
                       Objections




B320   Plan and Disclosure Statement (including Business Plan)
06/01/2023   EG18       Analyze updated waterfall analysis (.9); calls     1.60   1,875.00    3,000.00
                        with G. Sasson regarding same (.5); prepare
                        comments on same for FTI (.2)
06/01/2023   EG18       Analyze FTX plan terms/structure and               1.50   1,875.00    2,812.50
                        related UCC concerns (1.3); comment on
                        strategy for same (0.2)
06/01/2023   GS13       Review and comment on plan waterfall               2.30   1,625.00    3,737.50
                        presentation (1.8); telephone conferences
                        with E. Gilad regarding same (.5)
06/01/2023   IS6        Analyze Debtors' white paper re potential          3.20   1,290.00    4,128.00
                        plan constructs (1.3); draft issues list re
                        same (1.9)
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Date         Initials   Description                                       Hours      Rate    Amount
06/01/2023   KP17       Analyze issues re: Debtors' proposed plan          2.20   1,875.00   4,125.00
                        structure (1.2); review draft FTI strawman
                        plan analyses (.8); emails with S&C, ad hoc
                        group re plan issues (.2)
06/02/2023   BK12       Correspond with M. Zuppone re: securities          1.80   1,625.00   2,925.00
                        law considerations related to plan structure
                        (.2); call with M. Zuppone and F. Merola
                        regarding same (.4); prepare notes re:
                        securities law considerations (.3); review
                        documents regarding same (.9)
06/02/2023   EG18       Analyze S&C plan memo (0.6); review and            0.90   1,875.00   1,687.50
                        comment on I. Sasson's plan issues list (0.3)
06/02/2023   EG18       Review and revise FTI waterfall analysis           3.90   1,875.00   7,312.50
                        (2.3); correspond with I. Sasson and FTI
                        regarding same (1.0); call with G. Sasson, I.
                        Sasson and FTI regarding same (.6)
06/02/2023   FM7        Review plan term sheet re: M&A issues              0.50   1,875.00    937.50
06/02/2023   FM7        Correspond with B. Kelly regarding                 0.50   1,875.00    937.50
                        securities law considerations regarding
                        reorganized entity (.1); telephone
                        conference with M. Zuppone and B. Kelly
                        regarding securities law considerations
                        regarding reorganized entity (.4)
06/02/2023   GS13       Review and comment on plan term sheet              2.80   1,625.00   4,550.00
                        (1.4); review precedent regarding same (.8);
                        telephone conference with FTI, E. Gilad, I.
                        Sasson regarding same (.6)
06/02/2023   IS6        Review and revise plan waterfall analysis          1.90   1,290.00   2,451.00
                        (1.3); call with B. Bromberg, G. Sasson and
                        E. Gilad re same (.6)
06/02/2023   KP17       Review and revise plan issues list re              0.40   1,875.00    750.00
                        Debtors' proposed plan structure
06/02/2023   MLZ        Call with B. Kelly and F. Merola to discuss        0.50   1,925.00    962.50
                        reorganized debtor structure and related
                        analysis/considerations under Exchange
                        Act and Investment Company Act (.4);
                        analyze follow up questions (.1)
06/03/2023   FM7        Review FTI plan structure and illustrative         0.80   1,875.00   1,500.00
                        recovery analysis
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06/03/2023   IS6        Review and revise updated draft waterfall          0.90   1,290.00   1,161.00
                        analysis (.7); email FTI re same (.2)
06/03/2023   KP17       Review updated FTI analysis re plan                0.70   1,875.00   1,312.50
                        waterfalls
06/04/2023   BK12       Review FTI draft plan structure and                1.90   1,625.00   3,087.50
                        recovery deck (0.6); call with S. Simms, K.
                        Hansen, E. Gilad, K. Pasquale, G. Sasson,
                        E. Sibbitt, F. Merola, L. Koch, I. Sasson, J.
                        Iaffaldano, R. Hamilton (Jefferies) re: same
                        (1.3)
06/04/2023   EG18       Review and revise updated FTI waterfall            1.10   1,875.00   2,062.50
                        analysis
06/04/2023   EG18       Participate in telephone conference                1.30   1,875.00   2,437.50
                        regarding FTI waterfall analysis with FTI,
                        Jefferies, K. Hansen, K. Pasquale, G.
                        Sasson, B. Kelly, E. Sibbitt, F. Merola, L.
                        Koch, I. Sasson, J. Iaffaldano
06/04/2023   ECS3       Call with FTI, Jefferies, K. Hansen, K.            1.30   1,550.00   2,015.00
                        Pasquale, E. Gilad, G. Sasson, B. Kelly, F.
                        Merola, L. Koch, I. Sasson, J. Iaffaldano
                        regarding plan structure and recovery
06/04/2023   FM7        Telephone conference with FTI, Jefferies,          1.30   1,875.00   2,437.50
                        K. Hansen, K. Pasquale, E. Gilad, G.
                        Sasson, B. Kelly, E. Sibbitt, L. Koch, I.
                        Sasson, J. Iaffaldano regarding plan analysis
06/04/2023   GS13       Review plan waterfall analysis (.8);               2.10   1,625.00   3,412.50
                        telephone conference with FTI, Jefferies, K.
                        Hansen, K. Pasquale, E. Gilad, B. Kelly, E.
                        Sibbitt, F. Merola, L. Koch, I. Sasson, J.
                        Iaffaldano regarding same (1.3)
06/04/2023   IS6        Call with Jefferies, FTI, K. Hansen, K.            1.80   1,290.00   2,322.00
                        Pasquale, E. Gilad, G. Sasson, E. Sibbitt, B.
                        Kelly, F. Merola, L. Koch, J. Iaffaldano re
                        revised plan waterfalls (1.3); follow up
                        analysis re plan recoveries (.5)
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06/04/2023   JI2        Call with FTI, Jefferies, K. Hansen, K.             2.00   1,125.00   2,250.00
                        Pasquale, E. Gilad, G. Sasson, E. Sibbitt, B.
                        Kelly, F. Merola, L. Koch, I. Sasson re
                        waterfall analysis (1.3); review FTI
                        presentation and prepare notes regarding
                        same (.7)
06/04/2023   KP17       Call with FTI, K. Hansen, E. Gilad, G.              1.30   1,875.00   2,437.50
                        Sasson, B. Kelly, E. Sibbitt, F. Merola, L.
                        Koch, I. Sasson, J. Iaffaldano re plan
                        waterfalls
06/04/2023   KH18       Review and comment on plan structure                2.70   2,075.00   5,602.50
                        options (1.4); conference with K. Pasquale,
                        E. Gilad, G. Sasson, E. Sibbitt, F. Merola,
                        B. Kelly, L. Koch, I. Sasson, J. Iaffaldano
                        regarding same (1.3)
06/04/2023   LK19       Attend plan structure meeting with K.               1.30    855.00    1,111.50
                        Hansen, K. Pasquale, E. Gilad, G. Sasson,
                        E. Sibbitt, F. Merola, B. Kelly, I. Sasson, J.
                        Iaffaldano, Jefferies and FTI
06/05/2023   FM7        Review revised plan structure analysis re:          0.80   1,875.00   1,500.00
                        venture and M&A issues
06/05/2023   IS6        Review and revise plan waterfall analysis           2.00   1,290.00   2,580.00
                        (1.1); review and comment on Ad Hoc
                        Committee plan issues (.9)
06/05/2023   KH18       Analyze Ad Hoc Committee plan issues                0.90   2,075.00   1,867.50
06/05/2023   LED        Review FTI plan waterfall presentation              0.50   1,425.00    712.50
06/05/2023   LK19       Review and comment on illustrative plan             2.30    855.00    1,966.50
                        presentation for the Committee (1.7);
                        correspond with K. Hansen, K. Pasquale,
                        E. Gilad, G. Sasson regarding same (0.5);
                        correspond with M. Dawson (FTI)
                        regarding revisions to illustrative plan
                        presentation for the Committee (0.1)
06/06/2023   GS13       Review and comment on plan waterfall                2.60   1,625.00   4,225.00
                        deck (1.4); supplement plan issues list (1.2)
06/06/2023   IS6        Analyze waterfall and plan elements                 1.30   1,290.00   1,677.00
06/06/2023   KP17       Analyze issues regarding proposed plan              0.60   1,875.00   1,125.00
                        with K. Hansen
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Date         Initials   Description                                        Hours      Rate    Amount
06/06/2023   KH18       Review plan structures and waterfall                2.20   2,075.00   4,565.00
                        analysis
06/06/2023   LK19       Review crypto plan precedents (4000, 4001,          1.00    855.00     855.00
                        4002, 4004, 4005) to inform FTX plan
                        analysis
06/07/2023   EG18       Review plan precedents (1.1); draft inserts         3.20   1,875.00   6,000.00
                        to and revise plan term sheet (2.1)
06/07/2023   EG18       Post-UCC meeting telephone conference               0.90   1,875.00   1,687.50
                        with K. Hansen, K. Pasquale, I. Sasson to
                        discuss plan term sheet
06/07/2023   GS13       Draft parts of plan issues list                     1.20   1,625.00   1,950.00
06/07/2023   IS6        Call with K. Hansen, E. Gilad, K. Pasquale          2.00   1,290.00   2,580.00
                        re plan structure and term sheet issues in
                        follow up to committee call (.9); prepare
                        plan issues list and preliminary terms re
                        same (1.1)
06/07/2023   JI2        Draft parts of plan term sheet (4.4);               4.60   1,125.00   5,175.00
                        correspond with G. Sasson and E. Gilad re
                        same (.2)
06/07/2023   KP17       Call with K. Hansen, E. Gilad, I. Sasson re         1.30   1,875.00   2,437.50
                        plan issues (.9); review and comment on
                        plan term sheet (.4)
06/07/2023   KH18       Review plan issues and waterfall analysis           1.40   2,075.00   2,905.00
06/07/2023   KH18       Post-Committee call with E. Gilad, K.               0.90   2,075.00   1,867.50
                        Pasquale, I. Sasson regarding plan term
                        sheet
06/07/2023   ML30       Correspond with E. Gilad re crypto plan             1.30    540.00     702.00
                        precedent (.2); research regarding confirmed
                        plans in crypto cases (.9); follow up
                        correspondence with E. Gilad re same (.2)
06/08/2023   EG18       Review and analyze litigation memo for              0.50   1,875.00    937.50
                        plan purposes
06/08/2023   EG18       Analyze plan issues regarding claims,               4.30   1,875.00   8,062.50
                        distribution (2.2); draft inserts to and revise
                        plan term sheet (2.1)
06/08/2023   GS13       Review and revise waterfall scenario analysis       3.30   1,625.00   5,362.50
                        (1.2); prepare parts of plan issues list and
                        highlight related legal questions (2.1)
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Date         Initials   Description                                        Hours      Rate    Amount
06/08/2023   IS6        Analyze plan issues list across certain             1.10   1,290.00   1,419.00
                        scenarios per UCC request
06/08/2023   JI2        Correspond with G. Sasson and L. Koch re            1.10   1,125.00   1,237.50
                        plan documents (.3); review certain plan
                        documents presented to Committee (.8)
06/08/2023   LK19       Emails with G. Sasson regarding documents           0.30    855.00     256.50
                        provided to the Committee on plan issues
06/09/2023   EG18       Analyze plan terms, issues (.7); analyze            1.10   1,875.00   2,062.50
                        related cases and precedent (.4)
06/09/2023   GS13       Draft parts of plan issues list (2.1); review       3.10   1,625.00   5,037.50
                        waterfall analysis (1.0)
06/09/2023   JI2        Review disclosure statement scheduling              2.60   1,125.00   2,925.00
                        issues (1.6); correspond with B. Beller
                        (S&C) re BlockFi disclosure statement
                        issues (.3); call with B. Beller (S&C) re same
                        (.4); correspond with K. Pasquale and I.
                        Sasson re same (.3)
06/11/2023   KP17       Review analysis and memo re plan issues             0.50   1,875.00    937.50
06/12/2023   EG18       Plan waterfall telephone conference with            0.60   1,875.00   1,125.00
                        FTI, K. Pasquale, G. Sasson, L. Koch
                        (portion), I. Sasson
06/12/2023   EG18       Analyze plan related distribution issues and        3.10   1,875.00   5,812.50
                        precedent plan structures
06/12/2023   EG18       Draft parts of and revise plan term sheet           1.10   1,875.00   2,062.50
                        structure
06/12/2023   GS13       Draft parts of plan issues list (1.7);              2.30   1,625.00   3,737.50
                        telephone conference with FTI, E. Gilad,
                        K. Pasquale, L. Koch (portion), and I.
                        Sasson regarding plan waterfall (.6)
06/12/2023   IS6        Call with FTI, K. Pasquale, E. Gilad, G.            2.50   1,290.00   3,225.00
                        Sasson, L. Koch (portion) re revised
                        waterfall analysis (.6); analyze case law and
                        statutory authority re plan issues (1.9)
06/12/2023   JI2        Analyze plan term sheet (1.3); prepare              2.70   1,125.00   3,037.50
                        sections of same (.8); correspond with G.
                        Sasson and E. Gilad re same (.3); call with
                        L. Koch re same (.3)
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Date         Initials   Description                                       Hours      Rate    Amount
06/12/2023   KP17       Call with FTI, E. Gilad, G. Sasson, I.             0.60   1,875.00   1,125.00
                        Sasson, L. Koch (portion) re strawman plan
                        waterfall scenarios
06/12/2023   KH18       Review plan related concept (.9); review           1.90   2,075.00   3,942.50
                        related diligence questions from committee
                        member (.8); consider and comment on
                        same (.2)
06/12/2023   LK19       Telephone call with J. Iaffaldano regarding        0.80    855.00     684.00
                        plan term sheet (0.3); emails with E. Gilad,
                        G. Sasson, I. Sasson, and J. Iaffaldano
                        regarding same (0.2); attend portion of call
                        with K. Pasquale, E. Gilad, G. Sasson, I.
                        Sasson and FTI regarding plan structure
                        (0.3)
06/13/2023   EG18       Analyze plan related issue, substantive            3.40   1,875.00   6,375.00
                        consolidation, and plan structure (1.7);
                        review case findings and precedent
                        regarding same (.8); draft inserts to and
                        revise plan term sheet (.9)
06/13/2023   EG18       Telephone conference with I. Sasson                0.50   1,875.00    937.50
                        regarding plan issues and UCC strategy for
                        same
06/13/2023   IS6        Draft analysis of plan legal issues per            5.30   1,290.00   6,837.00
                        scenario requested by Committee (3.9);
                        analyze authority related to same (1.4)
06/13/2023   IS6        Strategy call with E. Gilad re plan and next       0.50   1,290.00    645.00
                        steps
06/14/2023   BK12       Correspond with E. Gilad and M. Zuppone            2.70   1,625.00   4,387.50
                        re: securities law considerations in
                        connection with FTX restructuring (0.5);
                        review related documents (1.4); follow-up
                        correspondence with E. Gilad, M. Zuppone
                        and E. Sibbitt regarding same (0.8)
06/14/2023   EG18       Analyze securities laws-related issues with        1.10   1,875.00   2,062.50
                        respect to potential plan structures
06/14/2023   EG18       Analyze plan related distributions                 0.60   1,875.00   1,125.00
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Date         Initials   Description                                       Hours      Rate    Amount
06/15/2023   BK12       Call with M. Zuppone, E. Gilad, and E.             0.50   1,625.00    812.50
                        Sibbitt re: securities law considerations
                        related to post-exit securities law
                        considerations
06/15/2023   EG18       Analyze post-exit venture investment issues        1.10   1,875.00   2,062.50
                        (.6); call with B. Kelly, E. Sibbitt and M.
                        Zuppone regarding same (.5)
06/15/2023   ECS3       Telephone conference with M. Zuppone, E.           0.50   1,550.00    775.00
                        Gilad, B. Kelly to discuss securities law
                        considerations for reboot
06/15/2023   GS13       Prepare parts of plan issues list (1.8);           2.10   1,625.00   3,412.50
                        correspond with I. Sasson regarding same
                        (.3)
06/15/2023   IS6        Revise plan issues list presentation for UCC       1.60   1,290.00   2,064.00
06/15/2023   MLZ        Correspond with E. Sibbitt, B. Kelly, G.           0.80   1,925.00   1,540.00
                        Sasson and E. Gilad on reorganization
                        structure and securities law considerations
                        (.3); call with E. Sibbitt, E. Gilad, and B.
                        Kelly to review securities law structuring
                        considerations (.5)
06/16/2023   BK12       Call with M. Zuppone, G. Sasson, E. Gilad,         1.90   1,625.00   3,087.50
                        F. Merola and E. Sibbitt re: securities law
                        considerations related to plan and reboot
                        (0.8); and follow-up research re: same (1.1)
06/16/2023   EG18       Telephone conference with M. Zuppone,              0.80   1,875.00   1,500.00
                        G. Sasson, E. Sibbitt, B. Kelly, F. Merola
                        regarding plan considerations
06/16/2023   ECS3       Telephone conference with M. Zuppone, E.           0.80   1,550.00   1,240.00
                        Gilad, G. Sasson, B. Kelly, F. Merola to
                        discuss securities law considerations of
                        reboot
06/16/2023   FM7        Telephone conference with M. Zuppone,              0.80   1,875.00   1,500.00
                        G. Sasson, B. Kelly, E. Gilad, E. Sibbitt
                        regarding security law considerations related
                        to reorganization plan structures
06/16/2023   GS13       Telephone conference with M. Zuppone, E.           0.80   1,625.00   1,300.00
                        Gilad, B. Kelly, E. Sibbitt, and F. Merola
                        regarding securities/regulatory issues in
                        relation to reorganization plan
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Date         Initials   Description                                        Hours      Rate    Amount
06/16/2023   MLZ        Conference with G. Sasson, B. Kelly, E.             0.80   1,925.00   1,540.00
                        Gilad, E. Sibbitt and F. Merola regarding
                        reorganization plan structuring and related
                        securities law considerations
06/18/2023   IS6        Analyze FTI's revised waterfall analysis            0.30   1,290.00    387.00
06/18/2023   KP17       Review revised FTI plan recovery model              0.60   1,875.00   1,125.00
06/19/2023   EG18       Telephone conference with FTI, K.                   0.90   1,875.00   1,687.50
                        Pasquale, G. Sasson, I. Sasson regarding
                        updated plan waterfall
06/19/2023   GS13       Review waterfall analyses (.6); call with FTI,      1.50   1,625.00   2,437.50
                        K. Pasquale, E. Gilad, I. Sasson re: same
                        (.9)
06/19/2023   IS6        Call with FTI, K. Pasquale, E. Gilad, G.            2.60   1,290.00   3,354.00
                        Sasson re revised waterfall analysis and
                        A&M comments (.9); revise potential plan
                        objections presentation per K. Hansen
                        comments (1.7)
06/19/2023   KP17       Call with FTI, E. Gilad, G. Sasson, I.              1.60   1,875.00   3,000.00
                        Sasson re plan analyses (.9); analyze FTI
                        deck and issues re same (.7)
06/19/2023   KH18       Analyze plan options and issues                     2.40   2,075.00   4,980.00
06/19/2023   LK19       Review and revise plan objection                    1.20    855.00    1,026.00
                        presentation for 06/21/23 Committee
                        meeting
06/20/2023   EG18       Telephone conference with K. Hansen, K.             1.10   1,875.00   2,062.50
                        Pasquale, G. Sasson, I. Sasson regarding
                        UCC plan issues and related strategy
06/20/2023   EG18       Review PH plan analysis presentation                0.30   1,875.00    562.50
06/20/2023   EG18       Analyze A&M plan presentation and S&C               1.10   1,875.00   2,062.50
                        plan term sheet
06/20/2023   ECS3       Analyze debtor proposed term sheet and              1.50   1,550.00   2,325.00
                        treatment of NFTs (1.2); prepare comments
                        on same (.3)
06/20/2023   FM7        Review Debtors' initial plan discussion             0.70   1,875.00   1,312.50
                        documents and term sheet re: sale and
                        M&A issues
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Date         Initials   Description                                        Hours      Rate    Amount
06/20/2023   GS13       Draft parts of and revise plan objections           3.30   1,625.00   5,362.50
                        issues deck for committee (2.2); meet with
                        K. Hansen, K. Pasquale, E. Gilad, I. Sasson
                        to review and revise same (1.1)
06/20/2023   IS6        Call with K. Hansen, K. Pasquale, E. Gilad,         3.30   1,290.00   4,257.00
                        and G. Sasson re potential plan structure
                        objections (1.1); draft analysis of updated
                        plan scenario and related objection (1.8);
                        meeting with L. Koch re crypto plan
                        precedents (.4)
06/20/2023   KP17       Call with K. Hansen, I. Sasson, G. Sasson,          1.60   1,875.00   3,000.00
                        and E. Gilad re plan analyses (1.1); revise
                        plan issues presentation for Committee (.3);
                        review revised FTI documents for
                        Committee (.2)
06/20/2023   KH18       Analyze plan options and issues                     1.60   2,075.00   3,320.00
06/20/2023   KH18       Call with E. Gilad, K. Pasquale, G. Sasson,         1.10   2,075.00   2,282.50
                        I. Sasson regarding plan analysis and UCC
                        strategy regarding same
06/20/2023   LK19       Meeting with I. Sasson regarding plan               5.50    855.00    4,702.50
                        precedents from crypto bankruptcies (0.4);
                        analyze plan precedents from crypto
                        bankruptcies (4000, 4001, 4002, 4004, and
                        4005) (3.7); prepare plan objection
                        presentation for 06/21/23 Committee
                        meeting (1.4)
06/20/2023   ML30       Correspond with J. Iaffaldano re plan,              0.80    540.00     432.00
                        disclosure statement precedent needed (.1);
                        research re same (.7)
06/21/2023   ECS3       Correspond with E. Gilad regarding debtor           0.50   1,550.00    775.00
                        plan terms
06/21/2023   IS6        Analyze Debtors' proposed plan term sheet           1.20   1,290.00   1,548.00
                        and related waterfall analysis (1.0); call with
                        K. Pasquale re same (.2)
06/21/2023   KP17       Analyze Debtors' draft plan term sheet and          0.90   1,875.00   1,687.50
                        related documents (.7); call with I. Sasson re
                        same (.2)
06/21/2023   KC27       Attend meeting with L. Koch regarding               0.80    915.00     732.00
                        plan precedent
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Date         Initials   Description                                       Hours      Rate    Amount
06/21/2023   LK19       Meeting with K. Catalano regarding crypto          4.60    855.00    3,933.00
                        plan precedents (0.8); analyze plans filed in
                        4001, 4002, and 4004 to inform UCC plan
                        strategy (1.4); update crypto plan reference
                        chart for E. Gilad (1.4); analyze plan term
                        sheet provided by the Debtors and
                        supporting documents (1.0)
06/22/2023   EG18       Review claims portal deck (.4); correspond         0.50   1,875.00    937.50
                        with I. Sasson and G. Sasson regarding bar
                        date and claim procedures (.1)
06/22/2023   GS13       Review precedent crypto plans                      1.20   1,625.00   1,950.00
06/22/2023   IS6        Analyze Debtors' plan term sheet and               1.30   1,290.00   1,677.00
                        accompanying A&M presentation (1.1);
                        email FTI re updated plan scenarios (.2)
06/22/2023   JI2        Analyze plan precedents from crypto                4.80   1,125.00   5,400.00
                        bankruptcy cases
06/22/2023   LK19       Analyze plan filed in Genesis bankruptcy           2.10    855.00    1,795.50
                        case (1.8); summarize same for E. Gilad
                        (0.3)
06/22/2023   MLZ        Prepare reorganization diagram in                  3.00   1,925.00   5,775.00
                        connection with securities law analysis (1.0);
                        preparation of discussion draft regarding
                        securities law considerations (2.0)
06/23/2023   EG18       Analyze plan issues and terms (1.4); draft         3.00   1,875.00   5,625.00
                        inserts to and revise plan term sheet (1.6)
06/23/2023   EG18       Telephone conference with G. Sasson                0.60   1,875.00   1,125.00
                        regarding plan issues and terms
06/23/2023   GS13       Review precedent crypto plan summaries             3.20   1,625.00   5,200.00
                        (2.6); telephone conference with E. Gilad
                        regarding same and FTX plan terms (.6)
06/23/2023   IS6        Analyze plan term sheet and trust structures       2.80   1,290.00   3,612.00
                        (2.3); prepare notes regarding same (.5)
06/23/2023   JI2        Prepare summary of certain provisions in           7.60   1,125.00   8,550.00
                        precedent crypto chapter 11 plans (1.1);
                        draft parts of FTX plan term sheet (6.2);
                        correspond with I. Sasson re same (.3)
06/23/2023   KH18       Analyze plan alternatives and recovery             1.10   2,075.00   2,282.50
                        scenarios
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06/23/2023   LK19       Analyze plan filed in Genesis bankruptcy            2.70    855.00    2,308.50
                        case (1.6); summarize same for E. Gilad
                        (0.9); emails with J. Iaffaldano and K.
                        Catalano regarding same (0.2)
06/23/2023   MLZ        Continue preparing issues list regarding            1.00   1,925.00   1,925.00
                        reorganization securities law considerations
06/24/2023   JI2        Draft parts of plan term sheet (2.9); email I.      3.10   1,125.00   3,487.50
                        Sasson and E. Gilad re same (.2)
06/24/2023   LK19       Prepare summary of certain provisions in            2.50    855.00    2,137.50
                        precedent crypto chapter 11 plans (2.3);
                        correspond with K. Catalano regarding
                        same (0.2)
06/25/2023   EG18       Review FTI updated waterfall analysis (.8);         1.10   1,875.00   2,062.50
                        correspond with FTI regarding same (.3)
06/25/2023   FM7        Review FTI updated waterfall analysis               0.40   1,875.00    750.00
06/25/2023   KP17       Analyze FTI revised recovery analyses               0.40   1,875.00    750.00
06/25/2023   LK19       Analyze plans filed in Cred bankruptcy case         3.60    855.00    3,078.00
                        (1.0); supplement crypto plan precedent
                        summary chart (2.6)
06/26/2023   EG18       Analyze plan structure, distribution, and           5.20   1,875.00   9,750.00
                        terms (1.6); conferences with G. Sasson
                        regarding same (.3); analyze related case
                        findings, precedent (1.1); draft inserts to
                        and revise plan term sheet (2.2)
06/26/2023   EG18       Telephone conferences with FTI, K.                  1.70   1,875.00   3,187.50
                        Pasquale, I. Sasson regarding updated plan
                        waterfall analysis (.7); follow up call with B.
                        Bromberg and I. Sasson regarding same (.4);
                        analyze impact of changes to waterfall (.6)
06/26/2023   FM7        Correspond with E. Gilad regarding plan             0.20   1,875.00    375.00
                        term sheet
06/26/2023   GS13       Review and revise plan term sheet (2.1);            3.50   1,625.00   5,687.50
                        conferences with E. Gilad regarding same
                        (.3); review and comment on revised
                        waterfall analysis (1.1)
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06/26/2023   IS6        Call with FTI, K. Pasquale, and E. Gilad re        3.20   1,290.00    4,128.00
                        revised waterfall analysis (.7); follow up call
                        with E. Gilad and B. Bromberg re same (.4);
                        analyze and comment on revised plan terms
                        and term sheet (2.1)
06/26/2023   KP17       Call with FTI, E. Gilad, I. Sasson re              0.70   1,875.00    1,312.50
                        hypothetical recovery analyses
06/26/2023   LK19       Supplement summary chart regarding                 2.30    855.00     1,966.50
                        certain provisions in crypto bankruptcy
                        plans (1.7); emails with I. Sasson, G. Sasson,
                        and E. Gilad regarding same (0.2); emails
                        with G. Sasson and E. Gilad regarding
                        crypto distributions in plans (0.4)
06/26/2023   MLZ        Continue preparing issues list regarding           1.00   1,925.00    1,925.00
                        reorganization securities law considerations
06/27/2023   EG18       Analyze plan issues and terms (3.1); review        7.60   1,875.00   14,250.00
                        certain crypto case findings and precedent
                        related to same (1.1); telephone conference
                        with G. Sasson, I. Sasson, K. Pasquale, E.
                        Sibbitt, L. Koch, F. Merola, and K. Hansen
                        regarding plan term sheet (.7); draft inserts
                        to and revise plan term sheet (2.7)
06/27/2023   EG18       Review and revise FTI short form plan              2.60   1,875.00    4,875.00
                        term sheet and waterfall analysis (1.1);
                        telephone conference with FTI, Jefferies, K.
                        Pasquale, I. Sasson regarding same (.8);
                        follow up telephone conference with K.
                        Pasquale, G. Sasson, I. Sasson regarding
                        same (.7)
06/27/2023   ECS3       Call with K. Hansen, E. Gilad, K. Pasquale,        0.70   1,550.00    1,085.00
                        G. Sasson, F. Merola, L. Koch, I. Sasson
                        regarding draft plan term sheet
06/27/2023   FM7        Revise draft plan term sheet re: M&A and           2.80   1,875.00    5,250.00
                        sale issues (1.6); telephone conference with
                        K. Hansen, K. Pasquale, E. Sibbitt, E.
                        Gilad, L. Koch, G. Sasson, I. Sasson
                        regarding draft plan term sheet (0.7); review
                        FTI comments to plan term sheet (0.2);
                        analyze revised plan term sheet (0.3)
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06/27/2023   GS13       Review and comment on plan term sheet               6.80   1,625.00   11,050.00
                        (3.1); telephone conference with K.
                        Pasquale, F. Merola, L. Koch, E. Gilad, E.
                        Sibbitt, I. Sasson and K. Hansen regarding
                        same (.7); review revised term sheet (1.1);
                        review FTI waterfall analysis (1.2);
                        conference with E. Gilad, K. Pasquale, I.
                        Sasson regarding same (.7)
06/27/2023   IS6        Analyze and comment on draft plan term              7.90   1,290.00   10,191.00
                        sheet (4.6); call with K. Hansen, K.
                        Pasquale, E. Gilad, L. Koch, G. Sasson, E.
                        Sibbitt, F. Merola regarding draft plan term
                        sheet (.7); call with E. Gilad, K. Pasquale,
                        G. Sasson re same (.7); call with FTI,
                        Jefferies, K. Pasquale, E. Gilad re revised
                        waterfall analysis (.8); review and comment
                        on draft revised waterfall presentation (1.1)
06/27/2023   KP17       Call with FTI, Jefferies, E. Gilad, I. Sasson       3.00   1,875.00    5,625.00
                        re plan concepts and waterfall (.8); review
                        draft plan term sheet (.8); call with K.
                        Hansen, E. Gilad, I. Sasson, G. Sasson, E.
                        Sibbitt, F. Merola, L. Koch re draft plan
                        term sheet (.7); call with E. Gilad, I. Sasson,
                        G. Sasson re same (.7)
06/27/2023   KH18       Analyze UCC plan term sheet (.8);                   1.50   2,075.00    3,112.50
                        telephone conference with E. Gilad, E.
                        Sibbitt, K. Pasquale, F. Merola, G. Sasson,
                        L. Koch, and I. Sasson regarding UCC plan
                        term sheet (.7)
06/27/2023   LK19       Review and comment on UCC plan term                 4.70    855.00     4,018.50
                        sheet (2.7); correspond with I. Sasson and
                        K. Pasquale regarding same (1.3); telephone
                        conference with E. Gilad, K. Hansen, E.
                        Sibbitt, K. Pasquale, F. Merola, G. Sasson,
                        and I. Sasson regarding UCC plan term
                        sheet (0.7)
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Date         Initials   Description                                       Hours      Rate    Amount
06/27/2023   MLZ        Further analyze securities law                     3.50   1,925.00   6,737.50
                        considerations related to reorganization
                        plan and plan term sheet (1.7); continue
                        preparing issues list regarding
                        reorganization securities law considerations
                        (1.8)
06/28/2023   EG18       Call with I. Sasson regarding plan issues (.4);    1.90   1,875.00   3,562.50
                        analyze same and related crypto case
                        findings, precedent (1.5)
06/28/2023   GS13       Review and comment on plan term sheet              2.30   1,625.00   3,737.50
                        (1.1); review FTI waterfall analysis (.9);
                        correspond with I. Sasson regarding same
                        (.3)
06/28/2023   IS6        Prepare list of legal issues with Debtors'         2.00   1,290.00   2,580.00
                        proposed plan structure (1.6); call with E.
                        Gilad re same (.4)
06/28/2023   KH18       Analyze and comment on Debtors' plan               1.00   2,075.00   2,075.00
                        structure and UCC plan term sheet (.6);
                        correspond with E. Gilad, K. Pasquale, G.
                        Sasson and I. Sasson (PH) regarding same
                        (.4)
06/28/2023   LK19       Revise Committee's plan term sheet (3.6);          4.10    855.00    3,505.50
                        email I. Sasson and E. Gilad regarding same
                        (0.5)
06/28/2023   MM57       Research re: precedent plans and                   0.80    540.00     432.00
                        confirmation orders (.7); correspond with
                        E. Gilad, I. Sasson and G. Sasson re: same
                        (.1)
06/29/2023   EG18       Review and revise updated waterfall analysis       0.60   1,875.00   1,125.00
                        (.5); correspond with I. Sasson regarding
                        same (.1)
06/29/2023   EG18       Analyze plan issues, structure, distribution       2.10   1,875.00   3,937.50
                        (1.5); outline strategy considerations for
                        same (.6)
06/29/2023   FM7        Correspond with E. Gilad regarding plan /          0.80   1,875.00   1,500.00
                        sale issues (0.2); review revised plan term
                        sheet (0.6)
06/29/2023   GS15       Review and prepare comments on tax                 0.50   1,600.00    800.00
                        aspects of draft plan term sheet
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Date         Initials   Description                                        Hours      Rate    Amount
06/29/2023   IS6        Analyze issues and related case law                 2.20   1,290.00   2,838.00
                        regarding Debtors' plan term sheet
06/29/2023   KP17       Review FTI plan analyses, as revised (.4);          2.10   1,875.00   3,937.50
                        review certain precedent re plan structure
                        (.9); review issues list in preparation for plan
                        call with Debtors (.8)
06/29/2023   KH18       Analyze and comment on plan related                 0.60   2,075.00   1,245.00
                        issues
06/30/2023   BK12       Correspond with E. Sibbitt, E. Gilad re:            1.10   1,625.00   1,787.50
                        reorganization securities law considerations
                        (0.6); call with M. Zuppone, E. Gilad, and
                        E. Sibbitt re: same (0.5)
06/30/2023   EG18       Analyze tax issues in connection with plan          0.60   1,875.00   1,125.00
                        structure
06/30/2023   EG18       Draft internal memo regarding plan update           0.30   1,875.00    562.50
                        and plan issues
06/30/2023   EG18       Review and analyze plan structure proposal          1.10   1,875.00   2,062.50
                        from UCC member (.8); review related
                        authority, precedent for same (.3)
06/30/2023   EG18       Telephone conference with E. Sibbitt, M.            0.50   1,875.00    937.50
                        Zuppone, B. Kelly regarding plan issues
06/30/2023   ECS3       Review and comment on securities law                0.50   1,550.00    775.00
                        implications of potential plan for E. Gilad
06/30/2023   ECS3       Telephone conference with B. Kelly, M.              0.50   1,550.00    775.00
                        Zuppone, E. Gilad regarding plan securities
                        analysis
06/30/2023   FM7        Correspond with E. Gilad regarding plan             0.50   1,875.00    937.50
                        specialists (0.2); review plan discussion
                        outline (0.3)
06/30/2023   GS13       Review and revise plan term sheet                   2.10   1,625.00   3,412.50
06/30/2023   IS6        Prepare agenda/outline for call with                2.40   1,290.00   3,096.00
                        Debtors re outstanding plan issues (.6);
                        follow up analysis re same (.4); review and
                        revise draft UCC plan term sheet (1.4)
06/30/2023   KP17       Analyze plan issues following related calls         2.20   1,875.00   4,125.00
                        with Debtors and Committee chairs
06/30/2023   KH18       Analyze and comment on plan related                 0.70   2,075.00   1,452.50
                        issues
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Date           Initials   Description                                         Hours            Rate       Amount
06/30/2023     LK19       Analyze 4002 disclosure statement to                  3.80       855.00         3,249.00
                          inform FTX approach (1.3); summarize
                          same for K. Hansen, K. Pasquale, E. Gilad,
                          G. Sasson (0.8); analyze revised BlockFi
                          plan and disclosure statement to inform
                          FTX approach (0.8); summarize same for
                          K. Hansen, K. Pasquale, E. Gilad, G.
                          Sasson (0.7); revise UCC plan term sheet
                          (0.2)
06/30/2023     MLZ        Further analyze securities law                        8.50     1,925.00       16,362.50
                          considerations related to reorganization
                          plan and plan term sheet (4.7); supplement
                          issues list regarding reorganization securities
                          law considerations (2.2); conference with E.
                          Sibbitt, E. Gilad, and B. Kelly regarding
                          same (.5); review 4002 bankruptcy
                          precedent in connection with same (1.1)
06/30/2023     NKW1       Review tax implications of plan term sheet            1.20       855.00         1,026.00
                          (.9); correspond with G. Silber regarding
                          same (.3)
               Subtotal: B320 Plan and Disclosure Statement                   328.50                   502,307.50
                         (including Business Plan)



       Total                                                                 2,261.30                 3,103,943.50

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                       Hours               Rate                  Fee
KH18    Kris Hansen                     Partner                     143.00        2,075.00              296,725.00
JPO2    Joseph P. Opich                 Partner                       0.30        1,975.00                  592.50
MLZ     Michael L. Zuppone              Partner                      19.10        1,925.00               36,767.50
AS61    Arun Srivastava                 Partner                       2.30        1,900.00                4,370.00
EG18    Erez Gilad                      Partner                     209.30        1,875.00              392,437.50
FM7     Frank Merola                    Partner                      95.70        1,875.00              179,437.50
KP17    Ken Pasquale                    Partner                     245.00        1,875.00              459,375.00
KP17    Ken Pasquale                    Partner                       2.20          937.50                2,062.50
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CD5     Chris Daniel           Partner                     13.10    1,700.00         22,270.00
JM59    Jaime Madell           Partner                      2.70    1,700.00          4,590.00
GS13    Gabe Sasson            Partner                 172.80       1,625.00     280,800.00
BK12    Brian Kelly            Partner                     76.40    1,625.00     124,150.00
ECS3    Eric C. Sibbitt        Partner                     39.00    1,550.00         60,450.00
LT9     Leo Tsao               Partner                      3.30    1,525.00          5,032.50
LDK3    Lawrence D. Kaplan     Of Counsel                   2.00    1,700.00          3,400.00
GS15    Gary Silber            Of Counsel                  15.70    1,600.00         25,120.00
EML1    Eric M. Levine         Of Counsel                   2.70    1,475.00          3,982.50
LED     Lauren-Kelly E. D.     Of Counsel                  21.70    1,425.00         30,922.50
        Greenbacker
MEG9    Meagan E. Griffin      Of Counsel                  14.70    1,425.00         20,947.50
JM46    Nina Moffatt           Of Counsel                   4.40    1,425.00          6,270.00
KAT2    Katherine A. Traxler   Of Counsel                   5.00    1,025.00          5,125.00
IS6     Isaac Sasson           Associate               160.40       1,290.00     206,916.00
IS6     Isaac Sasson           Associate                    2.50     645.00           1,612.50
BL10    Bob Levine             Associate                   47.10    1,290.00         60,759.00
CA14    Chris Anderson         Associate                    5.50    1,235.00          6,792.50
AAN1    Andrew A. Nizamian     Associate                   52.40    1,235.00         64,714.00
ZS1     Zach Silvers           Associate                    1.10    1,175.00          1,292.50
CD19    Caroline Diaz          Associate                   74.10    1,125.00         83,362.50
JI2     Jack Iaffaldano        Associate                   77.70    1,125.00         87,412.50
SAQ     Sarah A. Quattrocchi   Associate                    7.80    1,125.00          8,775.00
EHG     Elena Gold Burns       Associate                    3.40    1,125.00          3,825.00
CX3     Christine Xu           Associate                   71.80     915.00          65,697.00
GK6     Gabriel Khoury         Associate                   26.30     915.00          24,064.50
KC27    Kristin Catalano       Associate                   39.20     915.00          35,868.00
MM51    Muaaz Maksud           Associate                   12.90     915.00          11,803.50
NMN     Natasha M. Nicholson   Associate                   32.10     915.00          29,371.50
        Gaviria
LPD     Logan P. Duffy         Associate                   73.60     855.00          62,928.00
NKW1    Nicole K. Wong         Associate                   10.60     855.00           9,063.00
AJGA    Adam J. Gomes-Abreu    Associate                   15.70     855.00          13,423.50
LK19    Leonie Koch            Associate               211.00        855.00      180,405.00
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LM20    Lanie Miliotes         Associate                   28.60        855.00         24,453.00
EJO     Erik J. Oakley         Associate                   53.20        855.00         45,486.00
NJ2     Nina John              Associate                   47.30        855.00         40,441.50
RJ1     Chala Jackson          Associate                   22.20        855.00         18,981.00
SS54    Stephen Sepinuck       Attorney                     1.60      1,365.00           2,184.00
ML30    Mat Laskowski          Paralegal                   50.50        540.00         27,270.00
DM26    David Mohamed          Paralegal                    0.90        540.00            486.00
MM57    Michael Magzamen       Paralegal                   37.60        540.00         20,304.00
MOL     Mayra O. Lopez         Other                        3.80        375.00           1,425.00
                               Timekeeper

Costs incurred and advanced

Date        Description                                            Quantity   Rate       Amount
06/01/2023 Photocopy Charges                                         40.00    0.08          3.20
06/07/2023 Photocopy Charges (Color)                                395.00    0.50       197.50
06/07/2023 Photocopy Charges (Color)                                 79.00    0.50         39.50
06/13/2023 Photocopy Charges (Color)                                415.00    0.50       207.50
06/14/2023 Photocopy Charges                                        282.00    0.08         22.56
06/21/2023 Photocopy Charges (Color)                                312.00    0.50       156.00
06/26/2023 Photocopy Charges                                        871.00    0.08         69.68
05/02/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                     20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           67 dated 05/07/2023; Number of People: 1;
           Restaurant: Akura Sushi; Leonie Koch; Location:
           New York; Dinner; Order # 669922391418866
           dated 05/02/2023
05/02/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                     20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           67 dated 05/07/2023; Number of People: 1;
           Caroline Diaz; Restaurant: Kati Roll Company (39th
           st); Location: New York; Dinner; Order
           #898022391622714 dated 05/02/2023
05/31/2023 UnitedLex Invoices - Unitedlex Corp, Invoice#                               46,034.50
           086065 Dated 05/31/23, UnitedLex – DSAI May
           2023 Charges – Outside Professional Services
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05/31/2023 Westlaw Business - Courtlink Use - Charges for May                         23.38
           2023
06/01/2023 UPS/Courier Service - UPS (USD)(JPMPCARD);                                 33.90
           Invoice # 00000A6T163223; 06/01/2023; Evidence
           Management; UnitedLex Corporation; 11501
           Outlook Street; Leawood, KS 662111809 ;
           1ZA6T1630190347173 (MAN)
06/01/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           69 dated 06/04/2023; Number of People: 1; Isaac
           Sasson; Restaurant: 2nd Ave Deli; Location: New
           York; work late; Order # 212422690840445 dated
           06/01/2023
06/01/2023 Westlaw                                                                    21.01
06/02/2023 Westlaw                                                                    21.01
06/05/2023 Lexis/On Line Search                                                      112.55
06/05/2023 Lexis/On Line Search                                                       81.00
06/05/2023 Westlaw                                                                    21.01
06/05/2023 Westlaw                                                                    48.37
06/05/2023 Westlaw                                                                    70.19
06/06/2023 Westlaw                                                                    33.71
06/08/2023 Postage/Express Mail - First Class - US;                                     4.50
06/09/2023 Court Reporting Services - Magna Legal Services,                         1,000.40
           Invoice# 1077573 Dated 06/09/23, Professional
           services rendered regarding: Certified Copy of
           Transcript
06/09/2023 Court Reporting Services - Magna Legal Services,                         1,383.66
           Invoice# 1075960 Dated 06/09/23, Professional
           services rendered regarding: Certified copy of
           transcript
06/09/2023 Westlaw                                                                    21.01
06/09/2023 Westlaw                                                                    42.02
06/12/2023 Westlaw                                                                    14.98
06/12/2023 Westlaw                                                                    90.39
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06/13/2023 Lodging - Isaac Sasson; 06/08/2023; Hotel: Hotel                           350.00
           Dupont ; City: Wilmington, DE; Check-in date:
           06/07/2023; Check-out date: 06/08/2023; Travel
           expenses incurred for travel to Wilmington,
           Delaware for client hearings
06/13/2023 Taxi/Ground Transportation - Ken Pasquale;                                 216.00
           06/08/2023; From/To: Wilmington, DE/New
           York, NY; Travel expenses incurred (train fare) for
           travel to Wilmington, Delaware for client hearings
06/13/2023 Taxi/Ground Transportation - Isaac Sasson;                                 216.00
           06/08/2023; From/To: Wilmington, DE/New
           York, NY; Travel expenses incurred (train fare) for
           travel to Wilmington, Delaware for client hearings
06/13/2023 Taxi/Ground Transportation - Isaac Sasson;                                  62.65
           06/09/2023; From/To: Office/Home; Service
           Type: Lyft; Travel expenses incurred for travel to
           Wilmington, Delaware for client hearings
06/13/2023 Taxi/Ground Transportation - Isaac Sasson;                                  69.98
           06/08/2023; From/To: Office/Train Station ;
           Service Type: Lyft; Travel expenses incurred for
           travel to Wilmington, Delaware for client hearings
06/13/2023 Local - Mileage - Isaac Sasson; 06/08/2023; Travel                         163.75
           expenses incurred for travel to Wilmington,
           Delaware for client hearings
06/13/2023 Vendor Expense - Isaac Sasson; 06/09/2023; Travel                           13.17
           expenses incurred for travel to Wilmington,
           Delaware for client hearings; Toll Fee
06/13/2023 Vendor Expense - Isaac Sasson; 06/09/2023; Travel                           13.17
           expenses incurred for travel to Wilmington,
           Delaware for client hearings; Toll Fee
06/13/2023 Vendor Expense - Isaac Sasson; 06/09/2023; Travel                            6.55
           expenses incurred for travel to Wilmington,
           Delaware for client hearings; Toll Fee
06/13/2023 Vendor Expense - Isaac Sasson; 06/09/2023; Travel                            6.55
           expenses incurred for travel to Wilmington,
           Delaware for client hearings; Toll Fee
06/13/2023 Vendor Expense - Isaac Sasson; 06/09/2023; Travel                            7.38
           expenses incurred for travel to Wilmington,
           Delaware for client hearings; Toll Fee
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06/13/2023 Lexis/On Line Search                                                        27.00
06/13/2023 Westlaw                                                                     21.01
06/14/2023 Local - Taxi - Erez Gilad; 05/24/2023; From/To:                             79.99
           Office/Home; Service Type: Uber; Taxi expense for
           car ride home from late-night work; 22:57
06/14/2023 Westlaw                                                                     21.01
06/14/2023 Westlaw                                                                     55.70
06/15/2023 Westlaw                                                                     69.87
06/16/2023 Westlaw                                                                     21.01
06/19/2023 Lexis/On Line Search                                                        15.06
06/20/2023 Westlaw                                                                     42.02
06/20/2023 Westlaw                                                                     42.02
06/20/2023 Westlaw                                                                     90.88
06/21/2023 Local - Taxi - Isaac Sasson; 06/01/2023; From/To:                           90.22
           office/home; Service Type: Taxi; Taxi expense for
           car ride home from late-night work; 21.44
06/21/2023 Lexis/On Line Search                                                        28.42
06/21/2023 Lexis/On Line Search                                                        28.42
06/21/2023 Lexis/On Line Search                                                        56.84
06/21/2023 Westlaw                                                                     10.10
06/21/2023 Westlaw                                                                     84.04
06/22/2023 Court Reporting Services - Veritext, Invoice#                              141.60
           6660404 Dated 06/22/23, Certified Transcript for
           Genesis taken on 6/15/2023
06/22/2023 Westlaw                                                                     21.33
06/22/2023 Westlaw                                                                     41.99
06/26/2023 Taxi/Ground Transportation - Ken Pasquale & I.                             432.00
           Sasson; 06/07/2023; train fare expense for travel to
           Wilmington, DE from New York, NY for witness
           prep meeting and court hearing with I. Sasson
06/26/2023 Vendor Expense - Michael Magzamen; 06/16/2023;                             201.00
           Court reporters expense for copy of transcript;
           Court Reporting Services
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06/27/2023 Lodging - Caroline Diaz; 06/08/2023; Hotel: Hotel                         350.00
           Dupont ; City: Wilmington, DE; Check-in date:
           06/07/2023; Check-out date: 06/08/2023; Hotel
           expense in connection with client hearings.
06/27/2023 Lodging - Ken Pasquale; 06/08/2023; Hotel: Hotel                          350.00
           du Pont; City: Wilmington, DE; Check-in date:
           06/07/2023; Check-out date: 06/08/2023; Hotel
           lodging expense while in Wilmington, DE for client
           witness prep on 6/7 and court hearing on 6/8
06/27/2023 Taxi/Ground Transportation - Caroline Diaz;                               194.00
           06/06/2023; From/To: New York,
           NY/Wilmington, DE; Train fare expense in
           connection with client hearings
06/27/2023 Taxi/Ground Transportation - Caroline Diaz;                               216.00
           06/08/2023; From/To: Wilmington, DE/New
           York, Ny; Train fare expense in connection with
           client hearings
06/30/2023 UnitedLex Invoices - Unitedlex Corp, Invoice#                        122,612.65
           087197 Dated 06/30/23, UnitedLex – DSAI June
           Charges – Outside Professional Services
06/30/2023 Vendor Expense - Michael Magzamen; 06/21/2023;                            228.00
           Filing Fee; Merchant: Third Circuit Court Location:
           267-299-4208, PA 19106-0000 , Statement Date:
           06/30/2023, Post Date: 06/22/2023; Service
           Charge
06/30/2023 Vendor Expense - Michael Magzamen; 06/21/2023;                            228.00
           Filing Fee; Merchant: Third Circuit Court Location:
           267-299-4208, PA 19106-0000 , Statement Date:
           06/30/2023, Post Date: 06/22/2023; Service
           Charge
Total Costs incurred and advanced                                               $176,738.91

            Current Fees and Costs                                           $3,280,682.41
            Total Balance Due - Due Upon Receipt                             $3,280,682.41
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                                            EXHIBIT B


                                 Expense Summary for the Fee Period

                                     Category                           Amount
                                                                             $33.90
               Courier Service
                                                                          $1,277.31
               Computer Search
                                                                          $2,726.66
               Court Reporting Services
                                                                             $95.44
               In-house Reproduction Charges (1,193 copies at
               $0.08 per page)
                                                                            $600.50
               In-house Color Reproduction Charges (1,201 copies
               at $0.50 per page)
                                                                            $163.75
               Local-Mileage
                                                                          $1,050.00
               Lodging
                                                                             $60.00
               Meals
                                                                              $4.50
               Postage/Express Mail
                                                                        $168,647.15
               Outside Professional Services
                                                                          $1,576.84
               Taxi/Ground Transportation
                                                                            $456.00
               Filing Fee
                                                                             $46.82
               Travel Expense – Toll
                                                                        $176,738.97
               TOTAL:




30699837.1
